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                                                        EXECUTION VERSION




                      NINTH AMENDED AND RESTATED
                    RECEIVABLES PURCHASE AGREEMENT
                           dated as of November [●], 2019



                                       Among
                       DAIRY GROUP RECEIVABLES, L.P.,
                                 as a Seller,
                      DAIRY GROUP RECEIVABLES II, L.P.,
                                as a Seller,
                                  THE SERVICERS,
  each as a debtor and debtor-in-possession under Chapter 11 of the Bankruptcy Code,
                                 THE COMPANIES,
                        THE FINANCIAL INSTITUTIONS,
                                         and
           COÖPERATIEVE RABOBANK U.A., NEW YORK BRANCH,
                             as Agent




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                                NINTH AMENDED AND RESTATED
                              RECEIVABLES PURCHASE AGREEMENT
                  This Ninth Amended and Restated Receivables Purchase Agreement, dated as of
November [●], 2019, is among Dairy Group Receivables, L.P., a Delaware limited partnership (“Dairy
Group”), Dairy Group Receivables II, L.P., a Delaware limited partnership (“Dairy Group II” and,
together with Dairy Group, the “Sellers” and each a “Seller”), each of the parties listed on the signature
pages hereof as a Servicer and each a debtor and debtor-in-possession under Chapter 11 of the
Bankruptcy Code (the Servicers, together with the Sellers, the “Seller Parties,” and each a “Seller Party”),
the entities listed on Schedule A to this Agreement under the heading “Financial Institution” (together
with any of their respective successors and assigns hereunder, the “Financial Institutions”), the entities
listed on Schedule A to this Agreement under the heading “Company” (together with any of their
respective successors and assigns hereunder, the “Companies”), and Coöperatieve Rabobank U.A., New
York Branch, as issuer of Letters of Credit (together with its successors and assigns hereunder, the “LC
Bank”) and as agent for the Purchasers hereunder or any successor agent hereunder (together with its
successors and assigns hereunder, the “Agent”). Unless defined elsewhere herein, capitalized terms used
in this Agreement shall have the meanings assigned to such terms in Exhibit I.
                                    PRELIMINARY STATEMENTS
                WHEREAS, the Seller Parties, Financial Institutions, PNC, Companies and Agent are
parties to that certain Eighth Amended and Restated Receivables Purchase Agreement, dated as of
February 22, 2019, as amended (such agreement, as so amended, the “Existing Agreement”).
                WHEREAS, Dairy Group and Dairy Group II desire to continue to transfer and assign
Purchaser Interests to the Purchasers from time to time.
                WHEREAS, each Company may, in its absolute and sole discretion, purchase the
Purchaser Interests from the Sellers from time to time.
                WHEREAS, in the event that any Company declines to make any Purchase, such
Company’s Related Financial Institutions shall, at the request of the Administrative Seller, purchase
Purchaser Interests that such Company declined to purchase from time to time.
                WHEREAS, on November [●], 2019, Provider, the Originators and the Servicers and
certain of their affiliates (the “Filing Debtors”) each commenced cases under chapter 11 of the
Bankruptcy Code in the United States Bankruptcy Court for the Southern District of Texas, Houston
Division.
                  WHEREAS, PNC wishes to cease to be a party to the Existing Agreement upon and
subject to the terms and conditions thereof.
                WHEREAS, Coöperatieve Rabobank U.A., New York Branch has been requested and is
willing to continue to act as Agent on behalf of the Companies and the Financial Institutions in
accordance with the terms hereof.
                   WHEREAS, the parties hereto now desire to amend and restate the Existing Agreement
in its entirety to read as set forth herein.
                                              AGREEMENT
         NOW THEREFORE, in consideration of the foregoing and for other valuable consideration, the
receipt and adequacy of which are hereby acknowledged, the parties hereto hereby agree that, subject to
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satisfaction of the conditions precedent set forth in Section 6.1 hereof, the Existing Agreement is hereby
amended and restated in its entirety to read as follows:
                                           ARTICLE I
                                    PURCHASE ARRANGEMENTS
         Section 1.1    Purchase Facility.
                 (a)      Upon the terms and subject to the conditions hereof, each Seller may, at its
option, sell and assign Purchaser Interests to the Agent for the benefit of one or more of the Purchasers.
In accordance with the terms and conditions set forth herein, each Company may, at its option, instruct
the Agent to purchase on behalf of such Company, or if any Company shall decline to purchase, the
Agent shall purchase (together with each Company purchase, each a “Purchase”), on behalf of such
declining Company’s Related Financial Institutions, Purchaser Interests from time to time in an amount
not to exceed in the aggregate for all Sellers at such time (i) in the case of each Company and its Related
Financial Institutions, the Company’s Company Purchase Limit and (ii) in the aggregate, the lesser of (A)
the Purchase Limit and (B) the aggregate amount of the Commitments during the period from the date
hereof to but not including the Facility Termination Date.
                 (b)     Upon the terms and subject to the conditions hereof, each Seller may, at its
option, request that the LC Bank issue or cause the issuance of Letters of Credit, in each case subject to
the terms hereof. In accordance with the terms and conditions set forth herein, the LC Bank hereby
agrees to issue Letters of Credit in return for (and each LC Participant hereby severally agrees to make
Participation Advances in connection with any draws under such Letters of Credit equal to such LC
Participant’s LC Share of such draws), undivided percentage ownership interests with regard to the
Purchaser Interests from the Sellers from time to time from the date hereof to but not including the
Facility Termination Date.
                 (c)     Notwithstanding anything set forth in this Agreement to the contrary, under no
circumstances shall any Purchaser be obligated to make any Purchase or reinvestment (including, without
limitation, any Purchases deemed to have been requested by the Sellers pursuant to ‎Section 1.1(d)) or
issue any Letters of Credit hereunder, as applicable, if after giving effect to such Purchase:
                       (i)    Any event has occurred and is continuing, or would result from such
        Purchase, issuance or reinvestment, that constitutes an Amortization Event or a Potential
        Amortization Event;
                       (ii)    The Group Capital of such Purchaser’s Purchaser Group would exceed
        such Purchaser Group’s Group Capital Limit;
                       (iii)    The Aggregate Capital plus the LC Participation Amount would exceed
        the Purchase Limit;
                       (iv)  The LC Participation Amount would exceed the lesser of (A) the
        aggregate of the Maximum Available LC Commitments of the LC Participants and (B) the
        Maximum LC Amount; or
                        (v)     The Purchaser Interests would exceed the Maximum Purchaser Interest
        Percentage.
                The Sellers may, subject to this Section 1.1(c) and the other requirements and conditions
herein, use the proceeds of any Purchase by the Purchasers hereunder to satisfy its Reimbursement
Obligation to the LC Bank and the LC Participants (ratably, based on the outstanding amounts funded by
the LC Bank and each such LC Participant) pursuant to Section 1.9 below.


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                 (d)     In the event any Seller fails to reimburse the LC Bank for the full amount of any
drawing under any Letter of Credit on the applicable Drawing Date (out of its own funds available
therefor) pursuant to ‎Section 1.9, then such Seller shall, automatically (and without the requirement of
any further action on the part of any Person hereunder), be deemed to have requested an Incremental
Purchase from the Purchasers, on the terms and subject to the conditions hereof, in an amount equal to the
amount of such Reimbursement Obligation at such time. Subject to the limitations on funding set forth
in ‎Section 1.1(c) above and the other requirements and conditions herein, the Companies may, or if any
Company shall decline to purchase, its Related Financial Institutions shall, fund such deemed purchase
request and deliver the proceeds thereof directly to the Agent to be immediately distributed (ratably) to
the LC Bank and the applicable LC Participants in satisfaction of such Seller’s Reimbursement
Obligation pursuant to ‎Section 1.9 and ‎Section 1.11 below, to the extent of amounts permitted to be
funded by such Companies or Related Financial Institutions, as applicable, at such time, hereunder.
                 (e)      The Administrative Seller may, upon at least 10 Business Days’ notice to the
Agent, each Company and each Financial Institution, terminate in whole or reduce in part, ratably among
the Financial Institutions, the unused portion of the Purchase Limit (but not below the amount that would
cause the Aggregate Capital plus the LC Participation Amount to exceed the Purchase Limit or would
cause the Group Capital of any Purchaser Group to exceed its Group Capital Limit, in each case after
giving effect to such reduction); provided that (i) any such notice shall be irrevocable, (ii) each partial
reduction of the Purchase Limit shall be in an amount equal to $5,000,000 or an integral multiple thereof
and (iii) the aggregate of the Company Purchase Limits for all of the Companies shall also be terminated
in whole or reduced in part, ratably among the Companies, by an amount equal to such termination or
reduction in the Purchase Limit. In addition to and without limiting any other requirements for
termination, prepayment and/or the funding of the LC Collateral Account hereunder, in the case of a
termination of this Agreement or the Purchase Limit in whole, no such termination or reduction shall be
effective unless and until the amount on deposit in the LC Collateral Account is at least equal to the then
outstanding LC Participation Amount.
           Section 1.2     Increases. The Administrative Seller shall provide the Agent with at least two
Business Days’ prior notice in a form set forth as ‎Exhibit II hereto of each Incremental Purchase (a
“Purchase Notice”) to be made by a Seller. Each Purchase Notice shall be subject to ‎Section 6.1(c) hereof
and, except as set forth below, (i) shall be irrevocable and shall specify the requested Purchase Price
(which, in the case of the initial Incremental Purchase hereunder shall not be less than $10,000,000 and in
the case of subsequent Incremental Purchases shall not be less than $1,000,000), (ii) the date of purchase
(which, in the case of Incremental Purchases after the initial Incremental Purchase hereunder, shall not
exceed four per calendar month), (iii) in the case of an Incremental Purchase to be funded by any of the
Financial Institutions, the requested Discount Rate and Tranche Period and (iv) in the case of an
Incremental Purchase to be funded by any Pool Company (other than an Incremental Purchase funded by
such Pool Company substantially with Pooled Commercial Paper), the requested CP (Tranche) Accrual
Period. Following receipt of a Purchase Notice, the Agent will promptly notify each Company of such
Purchase Notice and the Agent will identify the Companies that agree to make the Purchase. If any
Company declines to make a proposed Purchase, the Administrative Seller may cancel the Purchase
Notice as to all Purchasers no later than 3:00 p.m. (New York time) on the Business Day immediately
prior to the date of Purchase specified in the Purchase Notice or, in the absence of such a cancellation, the
Incremental Purchase of the Purchaser Interest, which such Company has declined to purchase, will be
made by such declining Company’s Related Financial Institutions in accordance with the rest of
this ‎Section 1.2. If the proposed Incremental Purchase or any portion thereof is to be made by any of the
Financial Institutions, the Agent shall send notice of the proposed Incremental Purchase to the applicable
Financial Institutions concurrently by telecopier, telex or cable specifying (i) the date of such Incremental
Purchase, which date must be at least one Business Day after such notice is received by the applicable
Financial Institutions, (ii) each Financial Institution’s Pro Rata Share of the aggregate Purchase Price of


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the Purchaser Interests the Financial Institutions in such Financial Institution’s Purchaser Group are then
purchasing and (iii) the requested Discount Rate and Tranche Period. On the date of each Incremental
Purchase, upon satisfaction of the applicable conditions precedent set forth in ‎Article VI and the
conditions set forth in this ‎Section 1.2, the Companies and/or the Financial Institutions, as applicable,
shall use their reasonable best efforts to deposit to the Facility Account, in immediately available funds,
no later than 1:00 p.m. (New York time), and in any event no later than 3:00 pm (New York time), an
amount equal to (i) in the case of a Company that has agreed to make such Incremental Purchase, such
Company’s Pro Rata Share of the aggregate Purchase Price of the Purchaser Interests of such Incremental
Purchase or (ii) in the case of a Financial Institution, such Financial Institution’s Pro Rata Share of the
aggregate Purchase Price of the Purchaser Interests the Financial Institutions in such Financial
Institution’s Purchaser Group are then purchasing. Each Financial Institution’s Commitment hereunder
shall be limited to purchasing Purchaser Interests that the Company in such Financial Institution’ s
Purchaser Group has declined to purchase.
          Section 1.3     Decreases. The Administrative Seller shall provide the Agent with an
irrevocable prior written notice within one (1) Business Day of any proposed reduction of Aggregate
Capital from Collections and the Agent will promptly notify each Purchaser of such Reduction Notice
after Agent’s receipt thereof. Such Reduction Notice shall designate (i) the date (the “Proposed
Reduction Date”) upon which any such reduction of Aggregate Capital shall occur, and (ii) the amount of
Aggregate Capital to be reduced that shall be applied ratably to the Purchaser Interests of the Companies
and the Financial Institutions in accordance with the amount of Capital (if any) owing to the Companies
(ratably to each Company, based on the ratio of such Company’s Capital at such time to the Aggregate
Capital of all the Companies at such time), on the one hand, and the amount of Capital (if any) owing to
the Financial Institutions (ratably to each Financial Institution, based on the ratio of such Financial
Institution’s Capital at such time to the Aggregate Capital of all of the Financial Institutions at such time),
on the other hand (the “Aggregate Reduction”). Only one (1) Reduction Notice shall be outstanding at
any time. Concurrently with any reduction of Aggregate Capital pursuant to this Section, the Sellers shall
pay to the Agent, for distribution to the applicable Purchasers, all Broken Funding Costs arising as a
result of such reduction and any and all fees payable by the Sellers to the Agent in connection with such
reduction. Without the prior written consent of the Agent, no Aggregate Reduction will be made (x)
following the occurrence of the Amortization Date or (y) at any time any Reimbursement Obligations
remain outstanding on any Letters of Credit.
          Section 1.4     Payment Requirements. All amounts to be paid or deposited by any Seller Party
pursuant to any provision of this Agreement or any other Transaction Documents shall be paid or
deposited in immediately available funds in accordance with the terms hereof. Such Seller Party shall use
its reasonable best efforts to pay or deposit all such amounts no later than 1:00 p.m. (New York time) on
the day when due. Any such payment or deposit not received by 2:00 pm (New York time) shall be
deemed to be received on the next succeeding Business Day. If such amounts are payable to a Purchaser,
they shall be paid to the Agent for distribution to such Purchaser at the “Payment Address” specified for
such Purchaser on ‎Schedule A or such other address specified in writing to the Agent. If such amounts
are payable to the Agent, they shall be paid to the Agent at 245 Park Avenue, 36th Floor, New York, NY
10167 until otherwise notified by the Agent. Upon notice to the Administrative Seller, the Agent may
debit the Facility Account for all amounts due and payable hereunder. All computations of Yield, per
annum fees or discount calculated as part of any CP Costs, per annum fees hereunder and per annum fees
under any Fee Letter shall be made on the basis of a year of 360 days for the actual number of days
elapsed. If any amount hereunder or under any other Transaction Document shall be payable on a day
that is not a Business Day, such amount shall be payable on the next succeeding Business Day.
         Section 1.5     Obligations Several. Each Financial Institution’s and LC Participant’s obligation
shall be several, such that the failure of any Financial Institution or LC Participant to make available to
any Seller any funds in connection with any Purchase hereunder or drawing under any Letter of Credit

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hereunder, as the case may be, shall not relieve any other Financial Institution or LC Participant of its
obligation, if any, hereunder to make funds available on the date of such Purchase, but no Financial
Institution or LC Participant shall be responsible for the failure of any other Financial Institution or LC
Participant to make funds available in connection with any Purchase.
          Section 1.6     Letters of Credit. Subject to the terms and conditions hereof, the LC Bank shall
issue or cause the issuance of Letters of Credit on behalf of the Sellers (and, if applicable, on behalf of, or
for the account of, related Originators or Affiliates thereof in favor of such beneficiaries as such
Originators or Affiliates may elect with the consent of the applicable Seller); provided, however, that the
LC Bank will not be required to issue or cause to be issued any Letters of Credit to the extent that after
giving effect thereto the issuance of such Letters of Credit would then cause (A) the sum of (i) the
Aggregate Capital plus (ii) the LC Participation Amount to exceed the Purchase Limit or (B) the LC
Participation Amount to exceed the aggregate of the LC Amounts of the LC Participants (other than LC
Participants who are defaulting Purchasers). Each of the parties hereto acknowledges and agrees that (i)
each outstanding and uncancelled letter of credit issued by PNC on behalf of any such Seller (and, if
applicable, on behalf of, or for the account of, such related Originators or Affiliates thereof in favor of
such beneficiaries as such Originators or Affiliates may elect with the consent of the applicable Seller)
prior to the date hereof (“Existing Letters of Credit”), which such letters of credit are listed on Schedule
G hereto, shall be deemed for all purposes of this Agreement and the other Transaction Documents to not
be a Letter of Credit issued hereunder, (ii) the letter of credit issued by the LC Bank in favor of PNC
pursuant to the Letter of Credit Backstop Agreement in the aggregate face amount set forth therein (the
“Replacement Letter of Credit”) shall be deemed for all purposes of this Agreement and the other
Transaction Documents to be a Letter of Credit issued hereunder and (iii) each Purchaser’s LC
Participation Amount in respect of the Existing Letters of Credit shall instead be deemed to be an LC
Participation Amount in the Replacement Letter of Credit. All amounts drawn upon Letters of Credit
shall accrue Yield for each day such drawn amounts shall have not been reimbursed in the same manner
that Yield accrues for Financial Institutions in accordance with Article IV.

         Notwithstanding anything herein to the contrary, including any formulas or component
definitions set forth therein, if in connection with any replacement of an Existing Letter of Credit, a new
Letter of Credit shall be required to be issued hereunder, causing duplicates of such Existing Letter of
Credit and/or the Replacement Letter of Credit, for a period of 12 Business Days, to facilitate the Issuance
of such Letter of Credit and/or the corresponding adjustments to the Existing Letters of Credit and/or
Replacement Letter of Credit, the LC Participation Amount for such newly issued Letter of Credit shall
be deemed to be $0 (other than for purposes of calculating fees in respect of such Letters of Credit).
         Section 1.7     Issuance of Letters of Credit; Participations.
                 (a)     Each Seller may request the LC Bank, upon two Business Days’ prior written
notice submitted on or before 12:00 noon (New York time), to issue a Letter of Credit by delivering to the
LC Bank (with a copy to the Agent), the LC Bank’s form of Letter of Credit Application (the “Letter of
Credit Application”), substantially in the form of ‎Exhibit IX attached hereto and a Purchase Notice,
substantially in the form of ‎Exhibit II hereto, in each case completed to the satisfaction of the LC Bank;
and, such other certificates, documents and other papers and information as the LC Bank may reasonably
request. Each Seller also has the right to give instructions and make agreements with respect to any
Letter of Credit Application and the disposition of documents, and to agree with the LC Bank upon any
amendment or extension of any Letter of Credit.
                  (b)    Each Letter of Credit shall, among other things, (i) provide for the payment of
sight drafts or other written demands for payment when presented for honor thereunder in accordance
with the terms thereof and when accompanied by the documents described therein and (ii) have an expiry
date not later than twelve (12) months after such Letter of Credit’s date of issuance, extension or renewal,


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as the case may be, and in no event later than twelve (12) months after the Liquidity Termination Date
unless such Letter of Credit will be 105% cash collateralized as of the Liquidity Termination Date (for the
avoidance of doubt, giving effect to any extensions thereof provided hereunder). The terms of each Letter
of Credit may include customary “evergreen” provisions providing that such Letter of Credit’s expiry date
shall automatically be extended for additional periods not to exceed twelve (12) months unless, not less
than thirty (30) days (or such longer period as may be specified in such Letter of Credit) (the “Notice
Date”) prior to the applicable expiry date, the LC Bank delivers written notice to the beneficiary thereof
declining such extension; provided, however, that if (x) any such extension would cause the expiry date of
such Letter of Credit to occur after the date that is twelve (12) months after the Liquidity Termination
Date or (y) the LC Bank determines that any condition precedent (including, without limitation, those set
forth in ‎Section 1.1(c), ‎Article VI or ‎Schedule B) to issuing such Letter of Credit hereunder (as if such
Letter of Credit were then being first issued) are not satisfied (other than any such condition requiring the
Administrative Seller or the related Seller to submit a Purchase Notice or Letter of Credit Application in
respect thereof), then the LC Bank, in the case of clause (x) above, may (or, at the written direction of any
LC Participant, shall) or, in the case of clause (y) above, shall, use reasonable efforts in accordance with
(and to the extent permitted by) the terms of such Letter of Credit to prevent the extension of such expiry
date (including notifying the related Seller and the beneficiary of such Letter of Credit in writing prior to
the Notice Date that such expiry date will not be so extended). Each Letter of Credit shall be subject
either to the Uniform Customs and Practice for Documentary Credits (2007 Revision), International
Chamber of Commerce Publication No. 600, and any amendments or revisions thereof adhered to by the
LC Bank or the International Standby Practices (ISP98-International Chamber of Commerce Publication
Number 590), and any amendments or revisions thereof adhered to by the LC Bank, as determined by the
LC Bank; provided that each Letter of Credit issued by LC Bank shall be governed and construed in
accordance with the laws of the State of New York and the terms of the issuance thereof are further
subject to the policies of LC Bank then in effect.
                 (c)     The LC Bank shall promptly notify the Agent and each LC Participant, at such
Person’s address for notices hereunder, of the request by a Seller for a Letter of Credit hereunder, and
shall provide the Agent and the LC Participants with the Letter of Credit Application and Purchase Notice
delivered by such Seller pursuant to paragraph ‎(a), above, by the close of business on the day received or
if received on a day that is not a Business Day or on any Business Day after 12:00 noon (New York time)
on such day, on the next Business Day.
                (d)      Immediately upon the issuance by the LC Bank of any Letter of Credit (or any
amendment to a Letter of Credit increasing the amount thereof), the LC Bank shall be deemed to have
sold and transferred to each LC Participant, and each LC Participant shall be deemed irrevocably and
unconditionally to have purchased and received from the LC Bank, without recourse or warranty, an
undivided interest and participation, to the extent of such LC Participant’s LC Share, in such Letter of
Credit, each drawing made thereunder and the obligations of the related Seller hereunder with respect
thereto, and any security therefor or guaranty pertaining thereto. Upon any change in the Commitments
or LC Shares of the LC Participants pursuant to this Agreement, it is hereby agreed that, with respect to
all outstanding Letters of Credit and unreimbursed drawings thereunder, there shall be an automatic
adjustment to the participations pursuant to this clause ‎(d) to reflect the new LC Shares of the assignor
and assignee LC Participant or of all LC Participants with Commitments, as the case may be. In the event
that the LC Bank makes any payment under any Letter of Credit and the related Seller shall not have
reimbursed such amount in full to the LC Bank pursuant to ‎Section 1.9(b), each LC Participant shall be
obligated to make Participation Advances with respect to such Letter of Credit in accordance with ‎Section
1.9(c).
                (e)      With respect to each Letter of Credit, the applicable Sellers shall pay to the LC
Bank all fronting fees or similar fees as and when due and owing with respect to such Letter of Credit in
accordance with the Fee Letter (the “Fronting Fees”). The applicable Sellers shall pay to the LC Bank, in

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addition to all other amounts due hereunder, all customary expenses incurred by the LC Bank in
connection with each Letter of Credit issued by it or the maintenance thereof and its customary drawing,
amendment, renewal, extension, processing, transfer and other applicable customary fees (collectively,
“Other LC Fees”).
          Section 1.8  Requirements for Issuance of Letters of Credit. Each Seller shall authorize and
direct the LC Bank to name such Seller, a related Originator or an Affiliate thereof as the “Applicant” or
“Account Party” of each Letter of Credit issued on its behalf.
         Section 1.9    Disbursements, Reimbursement.
                (a)    Immediately upon the issuance of each Letter of Credit, each LC Participant shall
be deemed to, and hereby irrevocably and unconditionally agrees to, purchase from the LC Bank a
participation in such Letter of Credit and each drawing thereunder in an amount equal to such LC
Participant’s LC Share of the face amount of such Letter of Credit and the amount of such drawing,
respectively.
                  (b)     In the event of any request for a drawing under a Letter of Credit by the
beneficiary or transferee thereof, the LC Bank will promptly notify the Agent and the related Seller of
such request. Provided that it shall have received such notice, the related Seller shall reimburse the LC
Bank for the full amount of any such drawing (each such obligation, a “Reimbursement Obligation”) prior
to (i) 3:00 p.m. (New York time) on each date that an amount is paid by the LC Bank under any Letter of
Credit (each such date, a “Drawing Date”), if Seller shall have received notice of such drawing prior to
12:00 noon (New York time) on such Drawing Date or (ii) 12:00 noon (New York time) on the Business
Day immediately following the Drawing Date (or the date on which Seller shall have received such
notice), if Seller shall have received notice of such drawing after 12:00 noon (New York time) on the
Drawing Date (or such other date). In the event the related Seller fails to reimburse the LC Bank for the
full amount of any drawing under any Letter of Credit as and when required in accordance with the
foregoing sentence (including because the conditions precedent to a purchase deemed to have been
requested by such Seller pursuant to ‎Section 1.1(d) to reimburse the LC Bank shall not have been
satisfied), the LC Bank will promptly notify each LC Participant thereof. Any notice given by the LC
Bank pursuant to this Section may be oral if immediately confirmed in writing; provided that the lack of
such an immediate written confirmation shall not affect the conclusiveness or binding effect of such oral
notice.
                 (c)     Each LC Participant shall upon any notice pursuant to ‎Section 1.9(b) above make
available to the LC Bank an amount in immediately available funds equal to its LC Share of the amount
of the drawing (a “Participation Advance”), whereupon the LC Participants shall each be deemed to have
purchased additional Purchaser Interests in that amount. If any LC Participant so notified fails to make
available to the LC Bank the amount of such LC Participant’s LC Share of such amount by no later than
2:00 p.m. (New York time) on the Drawing Date, then interest shall accrue on such LC Participant’s
obligation to make such payment, from the Drawing Date to the date on which such LC Participant makes
such payment (i) at a rate per annum equal to the Federal Funds Effective Rate during the first three days
following the Drawing Date and (ii) at a rate per annum equal to the rate applicable to Capital on and after
the fourth day following the Drawing Date. The LC Bank will promptly give notice of the occurrence of
the Drawing Date, but failure of the LC Bank to give any such notice on the Drawing Date or in sufficient
time to enable any LC Participant to effect such payment on such date shall not relieve such LC
Participant from its obligation under this ‎Section 1.9(c), provided that such LC Participant shall not be
obligated to pay interest as provided in subclauses (i) and (ii) above until and commencing from the date
of receipt of notice from the LC Bank or the Agent of a drawing. Each LC Participant’s Commitment to
make Participation Advances shall continue until terminated in accordance with ‎Section 4.6 or the last to
occur of any of the following events: (A) the LC Bank ceases to be obligated to issue or cause to be


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issued Letters of Credit hereunder; (B) no Letter of Credit issued hereunder remains outstanding and
uncancelled or (C) all Persons (other than a Seller) have been fully reimbursed for all payments made
under or relating to Letters of Credit.
         Section 1.10   LC Collateral Account.
               (a)     The related Sellers or Administrative Seller, as applicable, shall deposit in such
LC Collateral Account:
                         (i)     pursuant to, but without duplication of, Sections ‎2.3 and ‎2.4 from and
        after the Facility Termination Date, the amount necessary to cash collateralize the LC
        Participation Amount with respect to all outstanding Letters of Credit until the amount of cash
        collateral held in the LC Collateral Account equals 100% of the LC Participation Amount plus
        the amount of all LC Fees and all “LC Participant Fees” (as defined in the Fee Letter) to accrue
        thereon through the scheduled expiration of the related Letters of Credit, in each case, as
        reasonably estimated by the LC Bank;
                        (ii)     on or before the date of the related reduction of the Purchase Limit, the
        amounts required to be deposited into the LC Collateral Account in connection with a termination
        or reduction pursuant to ‎Section 1.1(e); and
                         (iii)    on or before the related Termination Date, the amounts required to be
        deposited into the LC Collateral Account in connection with Terminating Financial Institutions
        pursuant to ‎Section 4.6.
                 (b)    Amounts on deposit in the LC Collateral Account shall be applied by the Agent
to reimburse the LC Bank for Reimbursement Obligations for which it has not been reimbursed or, if the
Amortization Date has occurred and all Letters of Credit have been terminated, shall be applied to satisfy
other Aggregate Unpaids. If on any Settlement Date, the balance in the LC Collateral Account exceeds
the amount required to be held therein as of such Settlement Date, then, unless an Amortization Event or
Potential Amortization Event shall exist and be continuing, the Agent shall release such excess to the
applicable Seller.
         Section 1.11   Repayment of Participation Advances.
                 (a)     Upon (and only upon) receipt by the LC Bank for its account of immediately
available funds from or for the account of the related Seller (i) in reimbursement of any payment made by
the LC Bank under a Letter of Credit with respect to which any LC Participant has made a Participation
Advance to the LC Bank, or (ii) in payment of Yield on the additional Purchaser Interests purchased or
deemed to have been purchased in connection with any such draw, the LC Bank will pay to each LC
Participant, ratably (based on the outstanding drawn amounts funded by each such LC Participant in
respect of such Letter of Credit), in the same funds as those received by the LC Bank; it being understood,
that the LC Bank shall retain a ratable amount of such funds that were not the subject of any payment in
respect of such Letter of Credit by any LC Participant.
                  (b)     If the LC Bank is required at any time to return to any Seller, or to a trustee,
receiver, liquidator, custodian, or any official in any Insolvency Proceeding, any portion of the payments
made by such Seller to the LC Bank pursuant to this Agreement in reimbursement of a payment made
under the Letter of Credit or interest or fee thereon, each LC Participant shall, on demand of the LC Bank,
forthwith return to the LC Bank the amount of its LC Share of any amounts so returned by the LC Bank
plus interest at the Federal Funds Effective Rate, from the date the payment was first made to such LC
Participant through, but not including, the date the payment is returned by such LC Participant.



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         Section 1.12 Documentation. Each Seller agrees to be bound by the terms of the Letter of
Credit Application and by the LC Bank’s interpretations of any Letter of Credit issued for such Seller and
by the LC Bank’s written regulations and customary practices relating to letters of credit, though the LC
Bank’s interpretation of such regulations and practices may be different from the Seller’s own. In the
event of a conflict between the Letter of Credit Application and this Agreement, this Agreement shall
govern. It is understood and agreed that, except in the case of gross negligence or willful misconduct by
the LC Bank, the LC Bank shall not be liable for any error, negligence and/or mistakes, whether of
omission or commission, in following any Seller’s instructions or those contained in the Letters of Credit
or any modifications, amendments or supplements thereto.
         Section 1.13 Determination to Honor Drawing Request. In determining whether to honor any
request for drawing under any Letter of Credit by the beneficiary thereof, the LC Bank shall be
responsible only to determine that the documents and certificates delivered under such Letter of Credit
have been delivered and that they comply on their face with the requirements of such Letter of Credit and
that any other drawing condition appearing on the face of such Letter of Credit has been satisfied in the
manner so set forth.
         Section 1.14 Nature of Participation and Reimbursement Obligations. Each LC Participant’s
obligation in accordance with this Agreement to make Participation Advances as a result of a drawing
under a Letter of Credit, and the obligations of the Seller to reimburse the LC Bank upon a draw under a
Letter of Credit, shall be absolute, unconditional and irrevocable, and shall be performed strictly in
accordance with the terms of this ‎Article I under all circumstances, including the following
circumstances:
                (a)    any set-off, counterclaim, recoupment, defense or other right which such LC
Participant may have against the LC Bank, the Agent, the Purchasers, the Seller Parties or any other
Person for any reason whatsoever;
                  (b)   the failure of the related Seller or any other Person to comply with the conditions
set forth in this Agreement for the making of a Purchase, reinvestments, requests for Letters of Credit or
otherwise, it being acknowledged that such conditions are not required for the making of Participation
Advances hereunder;
                (c)     any lack of validity or enforceability of any Letter of Credit or any set-off,
counterclaim, recoupment, defense or other right which a Seller, an Originator or any Affiliate thereof on
behalf of which a Letter of Credit has been issued may have against the LC Bank, the Agent, any
Purchaser or any other Person for any reason whatsoever;
                 (d)     any claim of breach of warranty that might be made by any Seller Party, the LC
Bank or any LC Participant against the beneficiary of a Letter of Credit, or the existence of any claim, set-
off, defense or other right which any Seller Party, the LC Bank or any LC Participant may have at any
time against a beneficiary, any successor beneficiary or any transferee of any Letter of Credit or the
proceeds thereof (or any Persons for whom any such transferee may be acting), the LC Bank, any LC
Participant, the Agent, any Purchaser or any other Person, whether in connection with this Agreement, the
transactions contemplated herein or any unrelated transaction (including any underlying transaction
between any Seller Party or any Affiliate of any Seller Party and the beneficiary for which any Letter of
Credit was procured);
                 (e)     the lack of power or authority of any signer of, or lack of validity, sufficiency,
accuracy, enforceability or genuineness of, any draft, demand, instrument, certificate or other document
presented under any Letter of Credit, or any such draft, demand, instrument, certificate or other document
proving to be forged, fraudulent, invalid, defective or insufficient in any respect or any statement therein
being untrue or inaccurate in any respect, even if the Agent or the LC Bank has been notified thereof;


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                 (f)      payment by the LC Bank under any Letter of Credit against presentation of a
demand, draft or certificate or other document which does not comply with the terms of such Letter of
Credit other than as a result of the gross negligence or willful misconduct of the LC Bank;
                  (g)     the solvency of, or any acts or omissions by, any beneficiary of any Letter of
Credit, or any other Person having a role in any transaction or obligation relating to a Letter of Credit, or
the existence, nature, quality, quantity, condition, value or other characteristic of any property or services
relating to a Letter of Credit;
                 (h)     any failure by the LC Bank or any of the LC Bank’s Affiliates to issue any Letter
of Credit in the form requested by the related Seller, unless the LC Bank has received written notice from
such Seller of such failure within three Business Days after the LC Bank shall have furnished such Seller
a copy of such Letter of Credit and such error is material and no drawing has been made thereon prior to
receipt of such notice and the beneficiary of such Letter of Credit has returned the same to the LC Bank;
                 (i)      any Material Adverse Effect on any Seller, any Originator or any Affiliates
thereof;
                 (j)      any breach of this Agreement or any Transaction Document by any party thereto;
                (k)     the occurrence or continuance of any bankruptcy, insolvency, reorganization or
similar proceeding with respect to any Seller, any Originator or any Affiliate thereof;
                (l)     the fact that an Amortization Event or a Potential Amortization Event shall have
occurred and be continuing;
               (m)      the fact that this Agreement or the obligations of any Seller Party hereunder shall
have been terminated; and
                (n)       any other circumstance or happening whatsoever, whether or not similar to any
of the foregoing.
          Section 1.15 Indemnity. In addition to other amounts payable hereunder, each Seller Party
hereby agrees to protect, indemnify, pay and save harmless the Agent, the LC Bank, each LC Participant
and any of the LC Bank’s Affiliates that have issued a Letter of Credit from and against any and all
claims, demands, liabilities, damages, penalties, interest, judgments, losses, costs, charges and expenses
(including reasonable attorneys’ fees) which the Agent, the LC Bank, any LC Participant or any of their
respective Affiliates may incur or be subject to as a consequence, direct or indirect, of the issuance of any
Letter of Credit, except to the extent resulting from (a) the gross negligence or willful misconduct of the
party to be indemnified as determined by a final judgment of a court of competent jurisdiction or (b) the
wrongful dishonor by the LC Bank of a proper demand for payment made under any Letter of Credit,
except if such dishonor resulted from any act or omission, whether rightful or wrongful, of any present or
future de jure or de facto Governmental Authority (all such acts or omissions herein called
“Governmental Acts”), and provided that no Servicer shall have any reimbursement obligation with
respect to any drawing under any Letter of Credit. This ‎Section 1.15 shall not apply with respect to Taxes
other than any Taxes that represent claims, demands, liabilities, damages, losses, costs, charges or other
expenses arising from any non-Tax claim.
           Section 1.16   Liability for Acts and Omissions.
                (a)     As between the Seller Parties, on the one hand, and the Agent, the LC Bank, the
LC Participants and the Purchasers, on the other, the Seller Parties assume all risks of the acts and
omissions of, or misuse of any Letter of Credit by, the respective beneficiaries of such Letter of Credit. In
furtherance and not in limitation of the respective foregoing, none of the Agent, the LC Bank, the LC


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Participants or the Purchasers shall be responsible for: (i) the form, validity, sufficiency, accuracy,
genuineness or legal effect of any document submitted by any party in connection with the application for
an issuance of any such Letter of Credit, even if it should in fact prove to be in any or all respects invalid,
insufficient, inaccurate, fraudulent or forged (even if the LC Bank or any LC Participant shall have been
notified thereof); (ii) the validity or sufficiency of any instrument transferring or assigning or purporting
to transfer or assign any such Letter of Credit or the rights or benefits thereunder or proceeds thereof, in
whole or in part, which may prove to be invalid or ineffective for any reason; (iii) the failure of the
beneficiary of any such Letter of Credit, or any other party to which such Letter of Credit may be
transferred, to comply fully with any conditions required in order to draw upon such Letter of Credit or
any other claim of any Seller Party against any beneficiary of such Letter of Credit, or any such
transferee, or any dispute between or among any Seller Party and any beneficiary of any Letter of Credit
or any such transferee; (iv) errors, omissions, interruptions or delays in transmission or delivery of any
messages, by mail, electronic mail, cable, telegraph, telex, facsimile or otherwise, whether or not they be
in cipher; (v) errors in interpretation of technical terms; (vi) any loss or delay in the transmission or
otherwise of any document required in order to make a drawing under any such Letter of Credit or of the
proceeds thereof; (vii) the misapplication by the beneficiary of any such Letter of Credit of the proceeds
of any drawing under such Letter of Credit; or (viii) any consequences arising from causes beyond the
control of the Agent, the LC Bank, the LC Participants and the Purchasers, including any Governmental
Acts, and none of the above shall affect or impair, or prevent the vesting of, any of the LC Bank’s rights
or powers hereunder. Nothing in the preceding sentence shall relieve the LC Bank from liability for its
gross negligence or willful misconduct, as determined by a final non-appealable judgment of a court of
competent jurisdiction, in connection with actions or omissions described in such clauses (i) through (viii)
of such sentence. In no event shall the Agent, the LC Bank, the LC Participants or the Purchasers or their
respective Affiliates, be liable to any Seller Party or any other Person for any indirect, consequential,
incidental, punitive, exemplary or special damages or expenses (including without limitation attorneys’
fees), or for any damages resulting from any change in the value of any property relating to a Letter of
Credit.
                 (b)      Without limiting the generality of the foregoing, the Agent, the LC Bank, the LC
Participants and the Purchasers and each of its Affiliates (i) may rely on any written communication
believed in good faith by such Person to have been authorized or given by or on behalf of the applicant
for a Letter of Credit; (ii) may honor any presentation if the documents presented appear on their face to
comply with the terms and conditions of the relevant Letter of Credit; (iii) may honor a previously
dishonored presentation under a Letter of Credit, whether such dishonor was pursuant to a court order, to
settle or compromise any claim of wrongful dishonor, or otherwise, and shall be entitled to
reimbursement to the same extent as if such presentation had initially been honored, together with any
interest paid by the LC Bank or its Affiliates; (iv) may honor any drawing that is payable upon
presentation of a statement advising negotiation or payment, upon receipt of such statement (even if such
statement indicates that a draft or other document is being delivered separately), and shall not be liable for
any failure of any such draft or other document to arrive, or to conform in any way with the relevant
Letter of Credit; (v) may pay any paying or negotiating bank claiming that it rightfully honored under the
laws or practices of the place where such bank is located; and (vi) may settle or adjust any claim or
demand made on the Agent, the LC Bank, the LC Participants or the Purchasers or their respective
Affiliates, in any way related to any order issued at the applicant’s request to an air carrier, a letter of
guarantee or of indemnity issued to a carrier or any similar document (each an “Order”) and may honor
any drawing in connection with any Letter of Credit that is the subject of such Order, notwithstanding that
any drafts or other documents presented in connection with such Letter of Credit fail to conform in any
way with such Letter of Credit.
                (c)      In furtherance and extension and not in limitation of the specific provisions set
forth above, any action taken or omitted by the LC Bank under or in connection with any Letter of Credit


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issued by it or any documents and certificates delivered thereunder, if taken or omitted in good faith and
without gross negligence or willful misconduct, as determined by a final non-appealable judgment of a
court of competent jurisdiction, shall not put the LC Bank under any resulting liability to any Seller Party,
any LC Participant or any other Person.
         Section 1.17 Intended Tax Treatment. All parties to this Agreement covenant and agree to
treat any purchase of Purchaser Interests and any drawing on a Letter of Credit under this Agreement as
debt for all federal income tax purposes. All parties to this Agreement agree not to take any position on
any tax return inconsistent with the foregoing.
                                          ARTICLE II
                                   PAYMENTS AND COLLECTIONS
          Section 2.1      Payments. Notwithstanding any limitation on recourse contained in this
Agreement, the Sellers shall immediately pay to the Agent or the LC Bank, as applicable, when due, for
the account of the Secured Parties on a full recourse basis, (i) such fees as set forth in each Fee Letter
(which fees collectively shall be sufficient to pay all fees owing to the Financial Institutions and other
Funding Sources), (ii) all CP Costs, (iii) all amounts payable as Yield, (iv) all amounts payable as
Deemed Collections (which shall be immediately due and payable by the Sellers and applied to reduce
outstanding Aggregate Capital hereunder in accordance with Sections ‎2.2 and ‎2.3 hereof), (v) all amounts
required pursuant to ‎Section 2.6, (vi) all amounts payable pursuant to ‎Article X, if any, (vii) all Servicer
costs and expenses, including the Servicing Fee, in connection with servicing, administering and
collecting the Receivables, (viii) all Broken Funding Costs (any request for reimbursement of which shall
be accompanied by a certificate in reasonable detail demonstrating the reasonable calculation of any such
amount), (ix) all Default Fees and (x) all Reimbursement Obligations (collectively, the “Obligations”). If
any Person fails to pay any of the Obligations (other than the Default Fee) when due, such Person agrees
to pay, on demand, the Default Fee in respect thereof until paid. Notwithstanding the foregoing, no
provision of this Agreement or any Fee Letter shall require the payment or permit the collection of any
amounts hereunder in excess of the maximum permitted by Applicable Law. If at any time any Seller
receives any Collections or is deemed to receive any Collections, such Seller shall immediately pay such
Collections or Deemed Collections to the applicable Servicer for application in accordance with the terms
and conditions hereof and, at all times prior to such payment, such Collections or Deemed Collections
shall be held in trust by such Seller for the exclusive benefit of the Purchasers and the Agent.
          Section 2.2    Collections Prior to Amortization. Prior to the Amortization Date, any
Collections and/or Deemed Collections received by each Servicer shall be set aside and held in trust by
such Servicer for the benefit of the Secured Parties for the payment of any accrued and unpaid Aggregate
Unpaids, for deposit into the LC Collateral Account or for a Reinvestment as provided in this ‎Section 2.2.
If at any time any Collections and/or Deemed Collections are received by any Servicer prior to the
Amortization Date, (i) such Servicer shall deposit any amounts required to be deposited by its related
Seller or Sellers to the LC Collateral Account pursuant to ‎Section 1.10, shall set aside the Termination
Percentage (hereinafter defined) of Collections and/or Deemed Collections evidenced by the Purchaser
Interests of each Terminating Financial Institution and of each Company in a Terminating Financial
Institution’s Purchaser Group, shall set aside Collections to be used to effect any Aggregate Reduction in
accordance with ‎Section 1.3 and shall set aside amounts necessary to pay Obligations due on the next
succeeding Settlement Date and (ii) subject to Sections 8.4 and 8.5(b), each Seller hereby requests and the
Purchasers (other than any Terminating Financial Institutions and, to the extent applicable, any Company
in a Terminating Financial Institution’s Purchaser Group) hereby agree to make, simultaneously with such
receipt, a reinvestment (each a “Reinvestment”) with that portion of the balance of each and every
Collection and Deemed Collection received by any Servicer that is part of any Purchaser Interest (other
than any Purchaser Interests of Terminating Financial Institutions and, to the extent applicable, of any
Company in a Terminating Financial Institution’s Purchaser Group), such that after giving effect to such


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Reinvestment, the amount of Capital of such Purchaser Interest immediately after such receipt and
corresponding Reinvestment shall be equal to the amount of Capital immediately prior to such receipt
(but giving effect to any ratable reduction thereof pursuant to application of an Aggregate Reduction);
provided, however, that if, after giving effect to any such Reinvestment, the Aggregate Capital plus the
Adjusted LC Participation Amount would exceed the Purchase Limit then in effect, then the Servicers
shall instead set aside and hold in trust for the Agent (for the benefit of the Purchasers), and shall, at the
request of the Agent, segregate in a separate account approved by the Agent, a portion of such Collections
and Deemed Collections that, together with the other Collections and Deemed Collections set aside
pursuant to this paragraph, shall equal the amount necessary to cause the Aggregate Capital plus the
Adjusted LC Participation Amount to not exceed such Purchase Limit (determined as if such Collections
and Deemed Collections set aside had been applied to reduce the Aggregate Capital at such time), which
amount shall be applied in accordance with ‎Section 1.3 as an Aggregate Reduction in respect of
Aggregate Capital on the following Settlement Date. Subject to Sections 8.4 and 8.5(b), on each
Settlement Date prior to the occurrence of the Amortization Date, the Servicers shall remit to the Agent’s
or applicable Purchaser’s account the amounts set aside during the preceding Settlement Period that have
not been subject to a Reinvestment or applied in respect of an Aggregate Reduction and apply such
amounts (if not previously paid in accordance with ‎Section 2.1) first, to reduce unpaid CP Costs, Yield
and other Obligations and second, to reduce the Capital of all Purchaser Interests of Terminating
Financial Institutions and, to the extent applicable, of each Company in a Terminating Financial
Institution’s Purchaser Group, applied ratably to such Terminating Financial Institution and each such
Company according to its respective Termination Percentage. If such Capital, CP Costs, Yield and other
Obligations shall be reduced to zero, any additional Collections received by any Servicer (i) if applicable,
shall be remitted to the Agent’s or applicable Purchaser’s account to the extent required to fund any
Aggregate Reduction on such Settlement Date, (ii) shall be deposited into the LC Collateral Account until
all amounts required to be deposited to the LC Collateral Account in accordance with ‎Section 1.10 have
been deposited therein, (iii) to pay any accrued and unpaid Servicing Fee, and (iv) any balance remaining
thereafter shall be remitted from such Servicer to the Sellers on such Settlement Date. Such Servicer shall
use its reasonable best efforts to remit all deposit amounts to the Agent’s or applicable Purchaser’s
account no later than 1:00 p.m. (New York time) on such Settlement Date. Any such amounts not
received by Agent or the applicable Purchaser by 2:00 pm (New York time) shall be deemed to be
received on the next succeeding Business Day. The Terminating Financial Institution and the Company
in such Terminating Financial Institution’s Purchaser Group shall be collectively allocated a ratable
portion of Collections from its Termination Date until, with respect to a Terminating Financial Institution,
such Terminating Financial Institution’s Capital, if any, shall be paid in full and, with respect to a related
Company (i) if any Related Financial Institution with respect to such Company continues to exist, the
Capital of such Company is equal to the Company Purchase Limit (as reduced pursuant to ‎Section 4.6(a))
of such Company or (ii) if there are no Related Financial Institutions with respect to such Company, the
Capital of such Company shall be paid in full. The applicable ratable portion shall be calculated, with
respect to any Terminating Financial Institution or applicable Company, on the Termination Date of each
Terminating Financial Institution or applicable Company as a percentage equal to (i) the Capital of such
Terminating Financial Institution or applicable Company outstanding on its Termination Date, divided by
(ii) the Aggregate Capital outstanding on such Termination Date (the “Termination Percentage”). Each
Terminating Financial Institution’s and applicable Company’s Termination Percentage shall remain
constant prior to the Amortization Date. On and after the Amortization Date, each Termination
Percentage shall be disregarded, and each Terminating Financial Institution’s and each applicable
Company’s Capital shall be reduced ratably with all Financial Institutions and Companies in accordance
with ‎Section 2.3.
          Section 2.3    Collections Following Amortization. On the Amortization Date and on each day
thereafter, the Servicers shall set aside and hold in trust, for the Secured Parties and the Servicers, all
Collections and/or Deemed Collections received on such day and an additional amount for the payment of


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any accrued and unpaid Aggregate Unpaids owed by the Sellers and not previously paid by the Sellers in
accordance with ‎Section 2.1. On and after the Amortization Date, the Servicers shall, at any time upon
the request from time to time by (or pursuant to standing instructions delivered thereafter from) the Agent
(i) remit to the Agent’s, the applicable Servicer’s or applicable Purchaser’s account the amounts set aside
pursuant to the preceding sentence, (ii) apply such amounts to reduce the Capital associated with each
such Purchaser Interest and any other Aggregate Unpaids and to pay any accrued and unpaid Servicing
Fee and (iii) deposit any amounts required to be deposited by its related Seller or Sellers to the LC
Collateral Account pursuant to ‎Section 1.10.
           Section 2.4     Application of Collections. If there shall be insufficient funds on deposit for the
Servicers to distribute funds in payment in full of the aforementioned amounts pursuant to ‎Section 2.2
or ‎2.3 (as applicable), the Servicers shall distribute funds to the applicable payee:
                first, to the payment of each Servicer’s reasonable actual out-of-pocket costs and
        expenses in connection with servicing, administering and collecting the Receivables, including
        the Servicing Fee, provided no Seller nor any of its Affiliates is then acting as a Servicer,
               second, to the reimbursement of the Agent’s and the Purchasers’ costs of collection and
        enforcement of this Agreement,
                third, ratably to the payment of all accrued and unpaid fees under the Fee Letter, CP
        Costs and Yield,
                fourth, (to the extent applicable) to the ratable reduction of the Aggregate Capital,
                fifth, for the ratable payment of all other unpaid Obligations, provided that to the extent
        such Obligations relate to the payment of Servicer costs and expenses, including the Servicing
        Fee, when any Seller or any of its Affiliates is acting as a Servicer, such costs and expenses will
        not be paid until clause seventh hereof,
                sixth, to the LC Collateral Account any amounts required to be deposited therein pursuant
        to Section 1.10,
                seventh, to pay all Servicer costs and expenses, including the Servicing Fee, to the extent
        not paid under clause first or fifth hereof, and
               eighth, after the Aggregate Unpaids have been indefeasibly reduced to zero, to the
        Administrative Seller for ratable distribution to the Sellers.
                 Collections applied to the payment of Aggregate Unpaids shall be distributed in
accordance with the aforementioned provisions, and, giving effect to each of the priorities set forth
in Section 2.4 above, shall be shared ratably (within each priority) among the Agent, the LC Bank and the
Purchasers in accordance with the amount of such Aggregate Unpaids owing to each of them in respect of
each such priority.
          Section 2.5    Payment Rescission. No payment of any of the Aggregate Unpaids shall be
considered paid or applied hereunder to the extent that, at any time, all or any portion of such payment or
application is rescinded by application of law or judicial authority, or must otherwise be returned or
refunded for any reason. Each Seller shall remain obligated for the amount of any payment or application
so rescinded, returned or refunded, and shall promptly pay to the Agent (for application to the Person or
Persons who suffered such rescission, return or refund) the full amount thereof, plus the Default Fee from
the date of any such rescission, return or refunding.




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          Section 2.6    Maximum Purchaser Interests. Each Seller shall ensure that the Purchaser
Interests of the Purchasers shall at no time exceed in the aggregate a percentage equal to (x) 100%,
multiplied by (y) the LC Adjustment Percentage (the “Maximum Purchaser Interest Percentage”). If the
aggregate of the Purchaser Interests of the Purchasers exceeds the Maximum Purchaser Interest
Percentage, the Sellers shall pay to the Purchasers (ratably based on the ratio of each Purchaser’s Capital
at such time to the Aggregate Capital at such time) within one (1) Business Day an amount to be applied
to reduce the Aggregate Capital, such that after giving effect to such payment the aggregate of the
Purchaser Interests equals or is less than the Maximum Purchaser Interest Percentage; provided that no
amount will be required to be applied pursuant to this ‎Section 2.6 to reduce the Aggregate Capital if (i) as
of the date on which such instance of excess exists, cash available to pay such excess is on deposit (in an
amount not less than such excess) in a Collection Account that is subject to the dominion and control of
the Agent in accordance with Sections 8.4 and 8.5(b), and (ii) in such instance, such excess exists for no
more than two (2) consecutive Business Days prior to the making of any applicable payment (including
by application of amounts in the Collection Account).
          Section 2.7     Clean Up Call. In addition to the Sellers’ rights pursuant to ‎Section 1.3, the
Sellers shall have the right, upon two Business Days’ prior written notice to the Agent and the Purchasers,
at any time following the reduction of the Aggregate Capital to a level that is less than 20.0% of the
Purchase Limit hereunder, to repurchase from the Purchasers all, but not less than all, of the then
outstanding Purchaser Interests. The purchase price in respect thereof shall be an amount equal to the
Aggregate Unpaids (including any Broken Funding Costs arising as a result of such repurchase) through
the date of such repurchase, payable in immediately available funds. Such repurchase shall be without
representation, warranty or recourse of any kind by, on the part of, or against any Purchaser or the Agent.
                                            ARTICLE III
                                         COMPANY FUNDING
         Section 3.1     CP Costs. The Sellers shall pay CP Costs with respect to the Capital associated
with each Purchaser Interest of the Companies for each day that any Capital in respect of any such
Purchaser Interest is outstanding. Each Purchaser Interest of any Pool Company funded substantially
with Pooled Commercial Paper will accrue CP Costs each day on a pro rata basis, based upon the
percentage share the Capital in respect of such Purchaser Interest represents in relation to all assets held
by the applicable Pool Company and funded substantially with Pooled Commercial Paper. Each
Purchaser Interest of any Pool Company not funded substantially with Pooled Commercial Paper shall
accrue CP Costs for each day during its CP (Tranche) Accrual Period at the rate determined in accordance
with the definition of “Company Costs” set forth in ‎Exhibit I.
          Section 3.2  CP Costs Payments. On the applicable Settlement Date for each Purchaser
Interest of the Companies, the Sellers shall pay to the applicable Company an aggregate amount equal to
all accrued and unpaid CP Costs in respect of the Capital associated with all Purchaser Interests of such
Company with CP (Pool) Accrual Periods or CP (Tranche) Accrual Periods which end on such Settlement
Date.
          Section 3.3    Calculation of Pool Company Costs. On the third Business Day immediately
preceding each Settlement Date, each Pool Company shall calculate the aggregate amount of its Company
Costs with respect to all Purchaser Interests funded substantially with Pooled Commercial Paper for the
applicable CP (Pool) Accrual Period or CP (Tranche) Accrual Period and shall notify the Administrative
Seller of such aggregate amount of such Company Costs due and payable on such Settlement Date.
         Section 3.4     Selection and Calculation of CP (Tranche) Accrual Periods.
                (a)     In the case of Purchaser Interests of each Pool Company, the Administrative
Seller may (and following the occurrence and during the continuance of a Potential Amortization Event or


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an Amortization Event but prior to the Amortization Date, shall with consultation from, and approval by,
each Pool Company), from time to time request CP (Tranche) Accrual Periods for the Purchaser Interests
of each Pool Company other than those funded substantially with Pooled Commercial Paper, provided,
that (i) the consent of the Agent and each Purchaser shall be required, (ii) the Administrative Seller must
elect CP (Tranche) Accrual Periods for all Purchaser Interests of each Pool Company, such that after
giving effect to such election, no Purchaser Interest of any Pool Company is funded with Pooled
Commercial Paper and (iii) the Administrative Seller may only make such election once hereunder.
                 (b)     The Administrative Seller or the applicable Company, upon notice to and consent
by the other received at least three (3) Business Days prior to the end of a CP (Tranche) Accrual Period
(the “Terminating CP Tranche”) for any Purchaser Interest, may, effective on the last day of the
Terminating CP Tranche: (i) divide any such Purchaser Interest into multiple Purchaser Interests, (ii)
combine any such Purchaser Interest with one or more other Purchaser Interests that have a Terminating
CP Tranche ending on the same day as such Terminating CP Tranche or (iii) combine any such Purchaser
Interest with a new Purchaser Interest (other than a Purchaser Interest funded substantially with Pooled
Commercial Paper) to be purchased on the day such Terminating CP Tranche ends, provided, that in no
event may a Purchaser Interest of any Purchasers be combined with a Purchaser Interest of any other
Purchaser.
                (c)     The Administrative Seller shall, at least three (3) Business Days prior to the
expiration of any Terminating CP Tranche occurring prior to the Amortization Date, give the applicable
Company (or its agent) irrevocable notice of the new CP (Tranche) Accrual Period associated with such
Terminating CP Tranche and the amount of Capital to be allocated to such new CP (Tranche) Accrual
Period. The Administrative Seller shall use its reasonable best efforts to give such notice such that the
applicable Company (or its agent) receives it no later than 1:00 p.m. (New York time) on the day such
request is being made. Any such request not received by the applicable Company by 2:00 p.m. (New
York time) shall be deemed to be received on the next succeeding Business Day.
                                           ARTICLE IV
                                 FINANCIAL INSTITUTION FUNDING
          Section 4.1    Financial Institution Funding. Each Purchaser Interest of the Financial
Institutions shall accrue Yield for each day during its Tranche Period at either the LIBO Rate or the
Alternate Base Rate in accordance with the terms and conditions hereof. Until the Administrative Seller
gives notice to the Agent of another Discount Rate in accordance with ‎Section 4.4, the initial Discount
Rate for any Purchaser Interest transferred to the Financial Institutions pursuant to the terms and
conditions hereof shall be the Alternate Base Rate. If any Purchaser Interest of any Company is assigned
or transferred to, or funded by, any Funding Source of such Company pursuant to any Funding
Agreement or to or by any other Person, each such Purchaser Interest so assigned, transferred or funded
shall each be deemed to have a new Tranche Period commencing on the date of any such transfer or
funding and shall accrue Yield for each day during its Tranche Period at either the LIBO Rate or the
Alternate Base Rate in accordance with the terms and conditions hereof as if each such Purchaser Interest
was held by a Financial Institution, and with respect to each such Purchaser Interest, the transferee thereof
or lender with respect thereto shall be deemed to be a Financial Institution in the transferring Company’s
Purchaser Group for purposes hereof; provided that until the Administrative Seller gives notice to the
Agent of another Discount Rate in accordance with ‎Section 4.4, the initial Discount Rate for any
Purchaser Interest so transferred shall be the Alternate Base Rate.
         Section 4.2      Yield Payments. On the Settlement Date for each Purchaser Interest of the
Financial Institutions, the Sellers shall pay to the applicable Financial Institution an aggregate amount
equal to the accrued and unpaid Yield in respect of the Capital associated with all Purchaser Interests of
such Financial Institution for the entire Tranche Period of each such Purchaser Interest.


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         Section 4.3     Selection and Continuation of Tranche Periods.
                 (a)     In the case of Purchaser Interests of any Financial Institution in a Purchaser
Group, the Administrative Seller shall, with consultation from, and approval by, the applicable Financial
Institution (such approval not to be unreasonably withheld), from time to time prior to the Amortization
Date request Tranche Periods for the Purchaser Interests of such Financial Institution. Notwithstanding
the foregoing provisions of this ‎Section 4.3(a), if at any time any Financial Institution shall have a
Purchaser Interest, the Administrative Seller shall always request Tranche Periods such that at least one
Tranche Period shall end on the date specified in clause (A) of the definition of Settlement Date.
                 (b)      Except as otherwise set forth in ‎Section 4.3(a), the Administrative Seller or the
applicable Financial Institution, upon notice to and consent by the other received at least three (3)
Business Days prior to the end of a Tranche Period (the “Terminating Tranche”) for any Purchaser
Interest, may, effective on the last day of the Terminating Tranche: (i) divide any such Purchaser Interest
into multiple Purchaser Interests, (ii) combine any such Purchaser Interest with one or more other
Purchaser Interests that have a Terminating Tranche ending on the same day as such Terminating Tranche
or (iii) combine any such Purchaser Interest with a new Purchaser Interest to be purchased on the day
such Terminating Tranche ends, provided, that in no event may a Purchaser Interest of any Purchasers be
combined with a Purchaser Interest of any other Purchaser.
          Section 4.4     Financial Institution Discount Rates. The Administrative Seller may select the
LIBO Rate or the Alternate Base Rate for each Purchaser Interest of the Financial Institutions. The
Administrative Seller shall: (i) at least three (3) Business Days prior to the expiration of any Terminating
Tranche with respect to which the LIBO Rate is being requested as a new Discount Rate and (ii) at least
one (1) Business Day prior to the expiration of any Terminating Tranche with respect to which the
Alternate Base Rate is being requested as a new Discount Rate, give the applicable Financial Institution
irrevocable notice of the new Discount Rate for the Purchaser Interest associated with such Terminating
Tranche. (If the Administrative Seller fails to request a new Discount Rate with respect to a Terminating
Tranche pursuant to the preceding sentence, then the Discount Rate for the Purchaser Interest associated
with such Terminating Tranche shall be the Alternate Base Rate.) The Administrative Seller shall use its
reasonable best efforts to give such notice such that the applicable Financial Institution receives it no later
than 1:00 p.m. (New York time) on the day such request is being made. Any such request not received by
the applicable Financial Institution by 2:00 pm (New York time) shall be deemed to be received on the
next succeeding Business Day. Until the Administrative Seller gives notice to the applicable Financial
Institution of another Discount Rate, the initial Discount Rate for any Purchaser Interest transferred to the
Financial Institutions pursuant to the terms and conditions hereof (or transferred to, or funded by, any
Funding Source pursuant to any Funding Agreement or to or by any other Person) shall be the Alternate
Base Rate.
         Section 4.5     Suspension of the LIBO Rate; LIBO Successor Rate.
                (a)      If any Financial Institution notifies the Agent that it has determined that funding
its Pro Rata Share of the Purchaser Interests of the Financial Institutions in such Financial Institution’s
Purchaser Group at the LIBO Rate would violate any applicable law, rule, regulation or directive of any
governmental or regulatory authority, whether or not having the force of law, or that (i) deposits of a type
and maturity appropriate to match fund its Purchaser Interests at the LIBO Rate are not available or (ii)
the LIBO Rate does not accurately reflect the cost of acquiring or maintaining a Purchaser Interest at the
LIBO Rate, then the Agent shall suspend the availability of the LIBO Rate for the Financial Institutions in
such Financial Institution’s Purchaser Group and require Seller to select the Alternate Base Rate for any
Purchaser Interest funded by the Financial Institutions in such Financial Institution’s Purchaser Group
accruing Yield at the LIBO Rate.



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                 (b)      If less than all of the Financial Institutions in such Financial Institution’s
Purchaser Group give a notice to the Agent pursuant to ‎Section 4.5(a), each Financial Institution which
gave such a notice shall be obliged, at the request of the Administrative Seller, the Company in such
Financial Institution’s Purchaser Group or the Agent, to assign all of its rights and obligations hereunder
to (i) another Financial Institution in such Financial Institution’s Purchaser Group or (ii) another funding
entity nominated by the Administrative Seller or the Agent, in either case that is acceptable to the
Company in such Financial Institution’s Purchaser Group and willing to participate in this Agreement
through the Liquidity Termination Date in the place of such notifying Financial Institution; provided that
(i) the notifying Financial Institution receives payment in full, pursuant to an Assignment Agreement, of
an amount equal to such notifying Financial Institution’s Pro Rata Share of the Capital and Yield owing
to all of the Financial Institutions in such Financial Institution’s Purchaser Group and all other accrued
but unpaid Aggregate Unpaids owing to such notifying Financial Institution, and (ii) the replacement
Financial Institution otherwise satisfies the requirements of ‎Section 12.1(b).
               (c)    Notwithstanding anything to the contrary in this Agreement or any other
Transaction Document:
                         (i)     if the Agent reasonably determines (which determination shall be
        conclusive absent manifest error), or the Sellers or Required Purchasers notify the Agent (with, in
        the case of the Required Purchasers, a copy to the Sellers) that the Sellers or Required Purchasers
        (as applicable) have determined, that:
                                (A)     adequate and reasonable means do not exist for ascertaining the
                LIBO Rate for any requested Tranche Period, including, without limitation, because
                LIBO is not available or published on a current basis and such circumstances are unlikely
                to be temporary; or
                                 (B)     the administrator of LIBO or a Governmental Authority having
                jurisdiction over the Agent has made a public statement identifying a specific date after
                which LIBO shall no longer be made available, or used for determining the interest rate
                applicable to loans (such specific date, the “Scheduled Unavailability Date”); or
                       (ii)    if the Agent and the Sellers determine that syndicated loans currently
        being executed, or that include language similar to that contained in this Section, are being
        executed or amended (as applicable) to incorporate or adopt a new benchmark interest rate to
        replace LIBO,
then, reasonably promptly after such determination by the Agent or receipt by the Agent of such notice, as
applicable, the Agent and the Sellers may amend this Agreement to replace LIBO with an alternate
benchmark rate (including any mathematical or other adjustments to the benchmark (if any) incorporated
therein), giving due consideration to any evolving or then prevailing market convention for determining
interest rates for loans for similar Dollar denominated syndicated credit facilities for such alternative
benchmarks (any such proposed rate, a “LIBO Successor Rate”), together with any proposed LIBO
Successor Rate Conforming Changes and notwithstanding anything in Section 14.1 to the contrary, any
such amendment (which shall be in form and substance reasonably satisfactory to the Sellers) shall
become effective at 5:00 p.m. (New York time) on the fifth Business Day after the Agent shall have
posted such proposed amendment to all Purchasers and the Sellers unless, prior to such time, Purchasers
comprising the Required Purchasers have delivered to the Agent written notice that such Required
Purchasers do not accept such amendment. If no LIBO Successor Rate has been determined and the
circumstances under clause (i) above exist or the Scheduled Unavailability Date has occurred (as
applicable), the Agent will promptly so notify the Sellers and each Purchaser. Thereafter, (x) the
obligation of the Purchasers to make or maintain a Purchaser Interest at the LIBO Rate shall be suspended


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(to the extent of the affected Purchaser Interests or Tranche Periods), and (y) the LIBO Rate component
shall no longer be utilized in determining the Alternate Base Rate. Upon receipt of such notice, Sellers
may revoke any pending request for any Purchaser Interest accruing Yield at the LIBO Rate (to the extent
of the affected Purchaser Interests or Tranche Periods) or, failing that, will be deemed to have converted
such request into a request for a for a Purchaser Interest accruing Yield at the Alternate Base Rate (subject
to the foregoing clause (y)). Notwithstanding anything else herein, any definition of LIBO Successor
Rate shall provide that in no event shall such LIBO Successor Rate be less than zero for purposes of this
Agreement.
         Section 4.6     Term-out Period Accounts.
                  (a)     The Administrative Seller may request one or more 364-day extensions of the
Liquidity Termination Date then in effect by giving written notice of such request to the Agent (each such
notice an “Extension Notice”) at least 90 days prior to the Liquidity Termination Date then in effect.
After the Agent’s receipt of any Extension Notice, the Agent shall promptly advise each Financial
Institution of such Extension Notice. Each Financial Institution may, in its sole discretion, by a written
irrevocable notice (a “Consent Notice”) given to the Agent on or prior to the 30th day prior to the
Liquidity Termination Date then in effect (such period from the date of the Extension Notice to such 30th
day being referred to herein as the “Consent Period”), consent to such extension of such Liquidity
Termination Date; provided, however, that such extension shall not be effective with respect to a
Financial Institution if such Financial Institution: (i) notifies the Agent during the Consent Period that
such Financial Institution does not wish to consent to such extension or (ii) fails to respond to the Agent
within the Consent Period (each Financial Institution that does not wish to consent to such extension or
fails to respond to the Agent within the Consent Period is herein referred to as a “Nonrenewing Financial
Institution”). If at the end of the Consent Period, there is no Nonrenewing Financial Institution then, the
Liquidity Termination Date shall be irrevocably extended until the date that is 364 days after the Liquidity
Termination Date then in effect. If at the end of the Consent Period there is a Nonrenewing Financial
Institution, then unless such Nonrenewing Financial Institution assigns its rights and obligations
hereunder pursuant to ‎Section 4.6(b) (each such Nonrenewing Financial Institution whose rights and
obligations under this Agreement and the other applicable Transaction Documents are not so assigned is
herein referred to as a “Terminating Financial Institution”), the then existing Liquidity Termination Date
shall be extended for an additional 364 days with respect to all Financial Institutions other than the
Terminating Financial Institution; provided, however, that (i) the Purchase Limit shall be reduced on the
Termination Date applicable to each Terminating Financial Institution by an aggregate amount equal to
the Terminating Commitment Availability of each Terminating Financial Institution and shall thereafter
continue to be reduced by amounts equal to any reduction in the Capital of any Terminating Financial
Institution (after application of Collections pursuant to Sections ‎2.2 and ‎2.3), (ii) the Company Purchase
Limit of each Company shall be reduced by the aggregate amount of the Terminating Commitment
Amount of each Terminating Financial Institution in such Company’s Purchaser Group, (iii) the
Commitment of each Terminating Financial Institution shall be reduced to zero on the Termination Date
applicable to such Terminating Financial Institution and (iv) no such extension shall be effective unless,
on or before the related Termination Date for any LC Participant, the Seller Parties shall deposit into the
LC Collateral Account an amount equal to such LC Participant’s LC Share of the LC Participation
Amount. Upon reduction to zero of the Capital of all of the Purchaser Interests of a Terminating
Financial Institution (after application of Collections thereto pursuant to Sections ‎2.2 and ‎2.3) and
payment of all Aggregate Unpaids owed to such Terminating Financial Institution, all rights and
obligations of such Terminating Financial Institution hereunder shall be terminated and such Terminating
Financial Institution shall no longer be a “Financial Institution”; provided, however, that the provisions
of ‎Article X shall continue in effect for its benefit with respect to Purchaser Interests held by such
Terminating Financial Institution prior to its termination as a Financial Institution. Notwithstanding the
foregoing, any Terminating Financial Institution that was an LC Participant shall (A) remain obligated to


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make Participation Advances in respect of any Letters of Credit that were outstanding as of immediately
before its Termination Date (other than any such Letters of Credit that have expired or have subsequently
been terminated, increased or extended), until the date on which its LC Share of the LC Participation
Amount has been deposited into the LC Collateral Account in accordance with this ‎Section 4.6(a), up to
an amount not to exceed, in the aggregate, (x) its LC Share of the LC Participation Amount as of its
Termination Date minus (y) any amounts deposited into the LC Collateral Account in respect of such
Terminating Financial Institution in accordance with ‎Section 1.10(a)(iii), and (B) remain entitled to all
rights inuring to its benefit with respect to such Participation Advances (including without limitation all
rights to indemnification, reimbursement and Yield with respect to such Participation Advances).
                 (b)       Upon receipt of notice from the Agent pursuant to ‎Section 4.6(a) of any
Nonrenewing Financial Institution, one or more of the Financial Institutions (including any Nonrenewing
Financial Institution) may proffer to the Agent and the Company in such Nonrenewing Financial
Institution’s Purchaser Group the names of one or more institutions meeting the criteria set forth
in ‎Section 12.1(b)(i) that are willing to accept assignments of and assume the rights and obligations under
this Agreement and the other applicable Transaction Documents of the Nonrenewing Financial
Institution. Provided the proffered name(s) are acceptable to the Agent and the Company in such
Nonrenewing Financial Institution’s Purchaser Group, the Agent shall notify the remaining Financial
Institutions of such fact, and the then existing Liquidity Termination Date shall be extended for an
additional 364 days upon satisfaction of the conditions for an assignment in accordance with ‎Section 12.1,
and the Commitment of such Nonrenewing Financial Institution shall be reduced to zero.
                  (c)      Any requested extension may be approved or disapproved by a Financial
Institution in its sole discretion. In the event that the Commitments are not extended in accordance with
the provisions of this ‎Section 4.6, the Commitment of each Financial Institution shall be reduced to zero
on the Liquidity Termination Date. Upon reduction to zero of the Commitment of a Financial Institution
and upon reduction to zero of the Capital of all of the Purchaser Interests of such Financial Institution all
rights and obligations of such Financial Institution hereunder shall be terminated and such Financial
Institution shall no longer be a “Financial Institution”; provided, however, that the provisions of ‎Article X
shall continue in effect for its benefit with respect to Purchaser Interests held by such Financial Institution
prior to its termination as a Financial Institution. Notwithstanding the foregoing, each Financial
Institution that was an LC Participant shall (A) remain obligated to make Participation Advances in
respect of any Letters of Credit that were outstanding as of immediately before the Liquidity Termination
Date (other than any such Letters of Credit that have expired or have subsequently been terminated,
increased or extended), until there has been deposited into the LC Collateral Account in accordance
with ‎Section 1.10(a)(i), an amount equal to (x) the LC Participation Amount minus (y) any amounts held
in the LC Collateral Account, and (B) remain entitled to all rights inuring to its benefit with respect to
such Participation Advances (including without limitation all rights to indemnification, reimbursement
and Yield with respect to such Participation Advances).
                                          ARTICLE V
                               REPRESENTATIONS AND WARRANTIES
         Section 5.1     Representations and Warranties of the Seller Parties. Each Seller Party hereby
represents and warrants to the Agent, the LC Bank and the Purchasers, as to itself, as of the date hereof
and as of the date of each Incremental Purchase, the date of issuance of each Letter of Credit and the date
of each Reinvestment that:
                 (a)     Corporate Existence and Power. Such Seller Party is a corporation, limited
liability company or limited partnership duly organized and validly existing in good standing under the
laws of its state of organization. Each such Seller Party is duly qualified to do business and is in good
standing as a foreign corporation or entity, and, subject to the entry by the Bankruptcy Court of (x) the


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Interim Order at any time prior to the entry of the Final Order and (y) the Final Order thereafter (and in
each case, subject to the terms thereof) has and holds all corporate or other power and all governmental
licenses, authorizations, consents and approvals required to carry on its business in each jurisdiction in
which its business is conducted except to the extent that the failure to so qualify or hold could not
reasonably be expected to have a Material Adverse Effect.
                 (b)     Power and Authority; Due Authorization, Execution and Delivery. Subject to the
entry by the Bankruptcy Court of (x) the Interim Order at any time prior to the entry of the Final Order
and (y) the Final Order thereafter (and in each case, subject to the terms thereof), the execution and
delivery by such Seller Party of this Agreement and each other Transaction Document to which it is a
party, and the performance of its obligations hereunder and thereunder and, in the case of each Seller,
such Seller’s use of the proceeds of Purchases made hereunder, are within its corporate or other powers
and authority, and have been duly authorized by all necessary corporate or other action on its part.
Subject to the entry by the Bankruptcy Court of (x) the Interim Order at any time prior to the entry of the
Final Order and (y) the Final Order thereafter (and in each case, subject to the terms thereof), this
Agreement and each other Transaction Document to which such Seller Party is a party has been duly
executed and delivered by such Seller Party.
                 (c)      No Conflict. Subject to the entry by the Bankruptcy Court of (x) the Interim
Order at any time prior to the entry of the Final Order and (y) the Final Order thereafter (and in each case,
subject to the terms thereof), the execution and delivery by such Seller Party of this Agreement and each
other Transaction Document to which it is a party, and the performance of its obligations hereunder and
thereunder do not contravene or violate (i) its certificate or articles of incorporation or by-laws (or
equivalent organizational documents) or any shareholder agreements, voting trusts or similar
arrangements applicable to any of its authorized shares or other equity interests, (ii) any law, rule or
regulation applicable to it, (iii) any restrictions under any material agreement, contract or instrument to
which it is a party or by which it or any of its property is bound, or (iv) any order, writ, judgment, award,
injunction or decree binding on or affecting it or its property, and do not result in the creation or
imposition of any Adverse Claim on assets of such Seller Party or its Subsidiaries (except as created
hereunder). No transaction contemplated hereby requires compliance with any bulk sales act or similar
law.
                 (d)     Authorization. Subject to the entry by the Bankruptcy Court of (x) the Interim
Order at any time prior to the entry of the Final Order and (y) the Final Order thereafter (and in each case,
subject to the terms thereof), other than the filing of the financing statements required hereunder, no
authorization or approval or other action by, and no notice to or filing with, any Governmental Authority
or regulatory body and no third-party approval is required for the due execution and delivery by such
Seller Party of this Agreement and each other Transaction Document to which it is a party and the
performance of its obligations hereunder and thereunder.
                  (e)     Actions or Suits. Except the Chapter 11 Cases, there are no actions, suits,
litigation, investigation, claim, arbitration or other proceedings pending, or to the best of such Seller
Party’s knowledge, threatened, against or affecting such Seller Party, or any of its properties, in or before
any court, arbitrator or other body, that could reasonably be expected to have a Material Adverse Effect
and that do not remain stayed by the pendency of the Chapter 11 Cases. Such Seller Party is not in
default with respect to any order of any court, arbitrator or governmental body.
                 (f)      Binding Effect. Subject to the entry by the Bankruptcy Court of (x) the Interim
Order at any time prior to the entry of the Final Order and (y) the Final Order thereafter (and in each case,
subject to the terms thereof), this Agreement and each other Transaction Document to which such Seller
Party is a party constitute the legal, valid and binding obligations of such Seller Party enforceable against
such Seller Party in accordance with their respective terms, except as such enforcement may be limited by


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applicable bankruptcy, insolvency, reorganization or other similar laws relating to or limiting creditors’
rights generally and by general principles of equity (regardless of whether enforcement is sought in a
proceeding in equity or at law).
                 (g)    Accuracy of Information. All information furnished since February 22, 2019 by
or on behalf of such Seller Party or any of its Affiliates to the Agent or the Purchasers for purposes of or
in connection with this Agreement, any of the other Transaction Documents or any transaction
contemplated hereby or thereby is, and all such information hereafter furnished by or on behalf of such
Seller Party or any of its Affiliates to the Agent or the Purchasers will be, true and accurate in every
material respect on the date such information is stated or certified and does not and will not contain any
material misstatement of fact or omit to state a material fact or any fact necessary to make the statements
contained therein not misleading in light of the circumstances made or presented.
                (h)      Use of Proceeds. No proceeds of any purchase payment to such Seller or any
issuance of any Letter of Credit hereunder will be used (i) for a purpose that violates, or would be
inconsistent with (x) Regulation T, U or X promulgated by the Board of Governors of the Federal Reserve
System from time to time or (y) any Applicable Law, or (ii) to acquire any security in any transaction
which is subject to Section 12, 13 or 14 of the Securities Exchange Act of 1934, as amended.
                  (i)     Good Title. Immediately prior to each Purchase hereunder, each Seller (i) shall
be the legal and beneficial owner of the Receivables to be sold by such Seller hereunder, and (ii) shall be
the legal and beneficial owner of the Related Security with respect thereto or possesses a valid and
perfected security interest therein, in each case, free and clear of any Adverse Claim, except as created by
the Transaction Documents. There have been duly filed all financing statements or other similar
instruments or documents necessary under the UCC (or any comparable law) of all appropriate
jurisdictions to perfect each Seller’s ownership interest in each Receivable, its Collections and the Related
Security.
                  (j)      Perfection. Subject, in the case of the Servicers, to the entry by the Bankruptcy
Court of (x) the Interim Order at any time prior to the entry of the Final Order and (y) the Final Order
thereafter, this Agreement, together with the filing of the financing statements contemplated hereby, is
effective to, and shall, upon each Purchase hereunder, transfer to the Agent for the benefit of the relevant
Purchaser or Purchasers (and the Agent for the benefit of such Purchaser or Purchasers shall acquire from
each Seller) (i) legal and equitable title to, with the right to sell and encumber each Receivable existing or
hereafter arising, together with the Collections with respect thereto, and (ii) all of such Seller Party’s
right, title and interest in the Related Security associated with each Receivable, in each case, free and
clear of any Adverse Claim, except as created by the Transactions Documents. There have been duly
filed all financing statements or other similar instruments or documents necessary under the UCC (or any
comparable law) of all appropriate jurisdictions under Applicable Law and/or (solely with respect to
Related Security) obtained orders of the Bankruptcy Court to perfect the Agent’s (on behalf of the
Purchasers) ownership or security interest in the Receivables, the Related Security and the Collections.
                 (k)      Jurisdiction of Organization; Places of Business, etc. ‎Exhibit III correctly sets
forth such Seller Party’s legal name and jurisdiction of organization. Such Seller Party’s principal places
of business and chief executive office and the offices where such Seller Party keeps all of its Records are
located at the address(es) listed on ‎Exhibit III, or such other locations of which the Agent has been
notified in accordance with ‎Section 7.2(a) in jurisdictions where all action required by ‎Section 14.4(a) has
been taken and completed. Such Seller Party has not within the period of six months prior to the date
hereof, (i) changed its location (as defined in Section 9-307 of the UCC), except as set forth on ‎Exhibit III
or (ii) changed its legal name (except as set forth on ‎Exhibit III), corporate structure or become a “new
debtor” (as defined in Section 9-102(a)(56) of the UCC) with respect to a currently effective security
agreement previously entered into by any other Person. Each Seller is a Delaware limited partnership and


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is a “registered organization” (within the meaning of Section 9-102 of the UCC as in effect in the State of
Delaware).
                 (l)     Collections. The conditions and requirements set forth in ‎Section 7.1(j)
and ‎Section 8.2 have at all times been satisfied and duly performed. The names and addresses of all
Collection Banks, together with the account numbers of the Collection Accounts of each Seller at each
Collection Bank and the post office box number of each Lock-Box, are listed on ‎Exhibit IV. No Seller
has granted any Person, other than the Agent as contemplated by this Agreement, dominion and control or
“control” (within the meaning of Section 9-104 of the UCC of all applicable jurisdictions) of any Lock-
Box or Collection Account, or the right to take dominion and control or “control” (within the meaning of
Section 9-104 of the UCC of all applicable jurisdictions) of any such Lock-Box or Collection Account at
a future time or upon the occurrence of a future event.
                 (m)      Material Adverse Effect. (i) Each Servicer represents and warrants that, since the
Filing Date, no event other than the Chapter 11 Cases has occurred that would have a material adverse
effect on the financial condition or operations of such Servicer and its Subsidiaries taken as a whole ((i)
other than (x) the filing of the Chapter 11 Cases, (y) those events, conditions and circumstances related
and/or leading up to and customarily resulting from the commencement of the Chapter 11 Cases
(including defaults under agreements that have no effect under the terms of the Bankruptcy Code as a
result of the commencement of the Chapter 11 Cases) and (z) any reduction in payment terms by
suppliers and vendors relating to or resulting from the commencement of the Chapter 11 Cases and (ii)
taking into account the effect of the automatic stay under the Bankruptcy Code), or the ability of such
Servicer to perform its obligations under this Agreement, and (ii) Dairy Group represents and warrants
that since the Filing Date, and Dairy Group II represents and warrants that since the Filing Date, and each
of Dean Dairy Holdings and Suiza Dairy represents and warrants that since the Filing Date, and each
other Seller that becomes party to this Agreement after the Filing Date represents and warrants that since
the quarter end preceding the date it became party to this Agreement, no event other than the Chapter 11
Cases has occurred that would have a material adverse effect on (A) the financial condition or operations
of such Seller ((i) other than (x) the filing of the Chapter 11 Cases, (y) those events, conditions and
circumstances related and/or leading up to and customarily resulting from the commencement of the
Chapter 11 Cases (including defaults under agreements that have no effect under the terms of the
Bankruptcy Code as a result of the commencement of the Chapter 11 Cases) and (z) any reduction in
payment terms by suppliers and vendors relating to or resulting from the commencement of the Chapter
11 Cases and (ii) taking into account the effect of the automatic stay under the Bankruptcy Code), (B) the
ability of such Seller to perform its obligations under the Transaction Documents or (C) the collectability
of the Receivables generally or of any material portion of the Receivables.
               (n)      Names. In the past five (5) years, no Seller has used any corporate names, trade
names or assumed names other than the name in which it has executed this Agreement and, in the case of
Dairy Group, other than Suiza Receivables, L.P.




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                 (o)     Ownership of Sellers. (i) Suiza Dairy Group, LLC and Provider own, directly or
indirectly, 100% of the limited partnership interests and 99.9% of the partnership interests of Dairy
Group, free and clear of any Adverse Claim (except any Adverse Claim in favor of the Collateral Agent
in accordance with the Dean Credit Agreement). Dairy Group Receivables GP, LLC (f/k/a Suiza
Receivables GP, LLC) is the general partner of Dairy Group and owns, directly or indirectly, 100% of the
general partnership interests and 0.1% of the partnership interests of Dairy Group, free and clear of any
Adverse Claim (except any Adverse Claim in favor of the Collateral Agent in accordance with the Dean
Credit Agreement). There are no options or other rights to acquire any partnership interest of Dairy
Group. 100% of the membership interests of Dairy Group Receivables GP, LLC are owned, directly or
indirectly by Provider.
                         (ii)    Dean Dairy Holdings, LLC and Provider own, directly or indirectly,
        100% of the limited partnership interests and 99.9% of the partnership interests of Dairy Group
        II, free and clear of any Adverse Claim (except any Adverse Claim in favor of the Collateral
        Agent in accordance with the Dean Credit Agreement). Dairy Group Receivables GP II, LLC is
        the general partner of Dairy Group II and owns, directly or indirectly, 100% of the general
        partnership interests and 0.1% of the partnership interests of Dairy Group II, free and clear of any
        Adverse Claim (except any Adverse Claim in favor of the Collateral Agent in accordance with
        the Dean Credit Agreement). There are no options or other rights to acquire any partnership
        interest of Dairy Group II. 100% of the membership interests of Dairy Group Receivables GP II,
        LLC are owned, directly or indirectly by Provider.
                 (p)     Not an Investment Company or Covered Fund. Such Seller Party is not an
“investment company” within the meaning of the Investment Company Act of 1940, as amended, or any
successor statute. Such Seller Party is not a “covered fund” under the Volker Rule and in determining that
such Seller Party is not a covered fund, such Seller Party, among other things, does not rely solely on the
exemption from the definition of “investment company” set forth in Section 3(c)(1) and/or Section 3(c)(7)
of the Investment Company Act of 1940, as amended.
                 (q)     Compliance with Law. Such Seller Party has complied in all respects with all
applicable laws, rules, regulations, orders, writs, judgments, injunctions, decrees or awards to which it
may be subject, except where the failure to so comply could not reasonably be expected to have a
Material Adverse Effect. Each Receivable, together with any Writing or Contract related thereto, does
not contravene any laws, rules or regulations applicable thereto (including, without limitation, laws, rules
and regulations relating to truth in lending, fair credit billing, fair credit reporting, equal credit
opportunity, fair debt collection practices and privacy), and no part of such Writing or Contract is in
violation of any such law, rule or regulation.
                 (r)     Compliance with Credit and Collection Policies. Such Seller Party has complied
in all material respects with its Credit and Collection Policy with regard to each Receivable and any
related Writing or Contract, and has not made any material change to such Credit and Collection Policy,
except such material change as to which the Agent has been notified in accordance with ‎Section
7.1(a)(vii).
                 (s)    Payments to Originators. With respect to each Receivable transferred to the
applicable Seller by each Originator under the Receivables Sale Agreement to which such Seller is a
party, the Purchase Price (as defined in such Receivables Sale Agreement) received by such Originator
constitutes reasonably equivalent value in consideration therefor and such transfer of Receivables was not
made for or on account of an antecedent debt. No transfer by any Originator of any Receivable under any
Receivables Sale Agreement is or may be voidable under any section of the Bankruptcy Reform Act of
1978 (11 U.S.C. §§ 101 et seq.), as amended.



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                 (t)    Enforceability of Contracts. Each Contract, if any, with respect to each
Receivable is effective to create, and has created, a legal, valid and binding obligation of the related
Obligor to pay the Outstanding Balance of the Receivable created thereunder and any accrued interest
thereon, enforceable against the Obligor in accordance with its terms, except as such enforcement may be
limited by applicable bankruptcy, insolvency, reorganization or other similar laws relating to or limiting
creditors’ rights generally and by general principles of equity (regardless of whether enforcement is
sought in a proceeding in equity or at law).
               (u)    Eligible Receivables. Each Receivable included at any time in the Net
Receivables Balance as an Eligible Receivable was, on the date of its purchase under the applicable
Receivables Sale Agreement, an Eligible Receivable on such purchase date.
                 (v)    Net Receivables Balance. Each Seller has determined that, immediately after
giving effect to each Purchase hereunder, the Net Receivables Balance is at least equal to the sum of (i)
the Aggregate Capital, plus (ii) the Aggregate Reserves, plus (iii) the Adjusted LC Participation Amount.
               (w)     Accounting. The manner in which such Seller Party accounts for the transactions
contemplated by this Agreement and each Receivables Sale Agreement does not jeopardize the true sale
analysis.
                (x)     Sanctions and Anti-Corruption Laws.
                          (i)     Such Seller Party and its Subsidiaries have instituted and maintained
        policies and procedures reasonably designed to promote and achieve compliance by such Seller
        Party, the Subsidiaries and their respective directors, officers and employees (in each case solely
        to the extent of their course of employment) with the United States Foreign Corrupt Practices Act
        of 1977 and other similar anti-bribery, anti-corruption and anti-money laundering legislation,
        rules or regulations, including those of any other jurisdictions applicable to such Seller Party or
        any of its Subsidiaries (collectively, “Anti-Corruption Laws”). Each Seller Party, its Subsidiaries
        and, to the knowledge of such Seller Party and its Subsidiaries, their respective directors, officers
        and employees (in each case solely to the extent of their course of employment by such Seller
        Party and its Subsidiaries), are in compliance with all applicable Sanctions and Anti-Corruption
        Laws in all material respects.
                          (ii)    Neither the Seller Party nor any of its Subsidiaries, nor, to such Seller
        Party’s and its Subsidiaries’ knowledge, any director, officer or employee thereof, is an individual
        or entity that is, or is owned or controlled by any Persons that are, the subject or target of any
        Sanctions, or located, organized or resident in a Designated Jurisdiction.
                         (iii)   No Seller Party will, nor, to such Seller Party’s knowledge, will any of
        its Subsidiaries or any Person acting on behalf of or at the direction of such Seller Party, use the
        Purchases or Letters of Credits, or use the proceeds from any Purchase or Letter of Credit, to
        lend, contribute, provide or otherwise make available to fund any activity or business of any
        Person who is the target of any Sanctions, or in any other manner that will result in any material
        violation by any Purchaser, any LC Participant, the LC Bank, or the Agent.
               (y)      Effectiveness of Orders. The Interim Order at any time prior to the entry of the
Final Order and, to the extent then entered, the Final Order, is in full force and effect and has not been
vacated or reversed, is not subject to a stay, and has not been modified or amended (other than any
amendment or modification approved in writing by the Agent and the LC Bank in their sole discretion).




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                 (z)      Compliance with Orders. Such Seller Party is in compliance in all material
respects with the Interim Order at any time prior the entry of the Final Order and, to the extent then
entered, the Final Order.
                  (aa)   Taxes. Such Seller Party has filed, in accordance with the Bankruptcy Code and
subject to any required approvals of the Bankruptcy Court, all material tax returns required to be filed by
it (taking into account any applicable extensions) and has paid all Taxes shown to be due thereon except
such as are being contested in good faith by appropriate proceedings.
                 (bb)     Full Disclosure. The information, reports, financial statements, exhibits and
schedules furnished from time to time in writing by (or on behalf of) such Seller Party to the Agent, LC
Bank or any Purchaser in connection with the Transaction Documents or included therein or delivered
pursuant thereto when taken as a whole do not and will not contain any untrue statement of material fact
or, taken as a whole, omit to state any material fact necessary to make the statements therein, in light of
the circumstances under which they were made, not materially misleading on the date as of which such
information is stated or certified, it being understood for purposes of this paragraph that any projections
as to future events are not to be viewed as statements of fact.
               (cc)   Compliance. Such Seller Party is in compliance with its certificate or articles of
incorporation or by-laws (or equivalent organizational documents) and all Applicable Laws,
Governmental Approvals and contractual obligations applicable to it.
                 (dd)     ERISA. Neither any Seller Party nor any ERISA Affiliate maintains, contributes
to, has an obligation to contribute to, or has any liability with respect to, any Benefit Plan.
          Section 5.2    Representations and Warranties of the Financial Institutions. The LC Bank and
each Financial Institution hereby represents and warrants to the Agent and the Company in such Financial
Institution’s Purchaser Group that:

                 (a)     Existence and Power. It is a corporation or a banking association duly organized,
validly existing and in good standing under the laws of its jurisdiction of incorporation or organization,
and has all corporate power to perform its obligations hereunder.
                 (b)      No Conflict. Its execution and delivery of this Agreement and the performance
of its obligations hereunder are within its corporate powers, have been duly authorized by all necessary
corporate action, do not contravene or violate (i) its certificate or articles of incorporation or association
or by-laws, (ii) any law, rule or regulation applicable to it, (iii) any restrictions under any material
agreement, contract or instrument to which it is a party or by which it or any of its property is bound, or
(iv) any order, writ, judgment, award, injunction or decree binding on or affecting it or its property, and
do not result in the creation or imposition of any Adverse Claim on its assets, except, in any case, where
such contravention or violation could not reasonably be expected to have a material adverse effect on (i)
its financial condition or operations, (ii) its ability to perform its obligations under this Agreement or (iii)
the legality, validity or enforceability of this Agreement. This Agreement has been duly authorized,
executed and delivered by it.
                (c)       Governmental Authorization. No authorization or approval or other action by,
and no notice to or filing with, any Governmental Authority is required for its due execution and delivery
of this Agreement and the performance of its obligations hereunder, except that has already been
received.
                  (d)    Binding Effect. Subject to the entry by the Bankruptcy Court of (x) the Interim
Order at any time prior to the entry of the Final Order and (y) the Final Order thereafter (and in each case,
subject to the terms thereof) this Agreement constitutes its legal, valid and binding obligation enforceable


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against it in accordance with its terms, except as such enforcement may be limited by applicable
bankruptcy, insolvency, reorganization or other similar laws relating to or limiting creditors’ rights
generally and by general principles of equity (regardless of whether such enforcement is sought in a
proceeding in equity or at law).
         Section 5.3    Reaffirmation of Representations and Warranties. On the date of each Purchase
hereunder, and on the date each Interim Report is delivered to the Agent or any Purchaser hereunder, each
Seller and each Servicer, by accepting the proceeds of such Purchase and/or the provision of such Interim
Report, shall each be deemed to have certified that (i) all representations and warranties of the Seller and
the Servicer, as applicable, described in ‎Section 5.1(x) above, as from time to time amended in
accordance with the terms hereof, are correct on and as of such day as though made on and as of such
day, except for representations and warranties which apply as to an earlier date (in which case such
representations and warranties shall be true and correct as of such date), and (ii) no event has occurred
and is continuing, or would result from any such Purchase, which constitutes an Amortization Event or a
Potential Amortization Event.
                                           ARTICLE VI
                                    CONDITIONS OF PURCHASES
          Section 6.1    Conditions Precedent to Effectiveness. The effectiveness of this Agreement is
subject to the conditions precedent that (a) the Agent shall (x) be reasonably satisfied that the Agent and
each of the other Secured Parties will have protections provided for in the Interim Order and, to the extent
then entered, the Final Order, including the protections of Section 364(e) of the Bankruptcy Code with
respect to any priority or lien granted or debt incurred pursuant to said Interim Order or Final Order and
(y) have received on or before the date hereof each of the following, each in form and substance
(including the date thereof) reasonably satisfactory to the Agent:
                        (i)      those documents listed on ‎Schedule B;
                        (ii)     a copy of the Interim Order entered by the Bankruptcy Court that is in
        full force and effect and has not been vacated or reversed, is not subject to a stay, and has not
        been modified or amended (except for modifications or amendments approved in writing by the
        Agent, in each case, acting in its reasonable discretion);
                        (iii)    evidence that (A) all “first day orders” and all related pleadings intended
        to be entered on or prior to the entry of the Interim Order (including “a cash management order”)
        shall have been entered by the Bankruptcy Court and shall be reasonably satisfactory in form and
        substance to the Agent and (B) forms of “second day orders” filed but not yet entered shall be
        reasonably satisfactory in form and substance to the Agent, it being understood that drafts
        approved by counsel to the Agent prior to the Filing Date are reasonably satisfactory; and
                         (iv)     a copy of the DIP Order (as defined in the Financing Orders) entered by
        the Bankruptcy Court that is in full force and effect and has not been vacated or reversed, is not
        subject to a stay, and has not been modified or amended (except for modifications or amendments
        approved in writing by the Agent, in each case, acting in its reasonable discretion) and evidence
        that the effectiveness of the DIP Facility (as defined in the Financing Orders) shall occur
        substantially simultaneously with the effectiveness hereof; and
               (b)     the Agent, the LC Bank and the Purchasers shall have received all fees and
expenses required to be paid on or prior to the date hereof, including pursuant to the terms of this
Agreement and the Fee Letter; and




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                 (c)    the Agent shall receive evidence that PNC has released its claims against the
Sellers for all reimbursement and other obligations in respect of the Existing Letters of Credit (which
evidence may be in the form of the Letter of Credit Backstop Agreement, if so provided therein).
          Section 6.2    Conditions Precedent to All Purchases, Issuances of Letters of Credit and
 Reinvestments. Each Purchase of a Purchaser Interest, issuance of a Letter of Credit (other than any
Letters of Credit issued or deemed issued under the Existing Agreement) and each Reinvestment shall be
subject to the further conditions precedent that (a) in the case of each such Purchase, issuance or
Reinvestment: (i) the Servicers shall have delivered to the Agent on or prior to the date of such Purchase,
in form and substance satisfactory to the Agent, all Periodic Reports, including, without limitation, the
most recent Periodic Report as and when due under Section 8.5, and (ii) upon the Agent’s request, the
Servicers shall have delivered to the Agent at least three (3) days prior to such Purchase or Reinvestment
an interim Monthly Report or Weekly Report showing the amount of Eligible Receivables; (b) the
Facility Termination Date shall not have occurred; (c) the Agent shall have received such other approvals,
opinions or documents as it may reasonably request and (d) on the date of each such Incremental
Purchase, issuance of a Letter of Credit or Reinvestment, the following statements shall be true (and
acceptance of the proceeds of any of the foregoing shall be deemed a representation and warranty by
Seller that such statements are then true):
                        (i)     the representations and warranties set forth in ‎Section 5.1 are true and
        correct on and as of the date of such Incremental Purchase, issuance of such Letter of Credit or
        Reinvestment as though made on and as of such date;
                       (ii)     no event has occurred and is continuing, or would result from such
        Incremental Purchase, issuance of such Letter of Credit or Reinvestment, that will constitute an
        Amortization Event, and no event has occurred and is continuing, or would result from such
        Incremental Purchase, issuance of such Letter of Credit or Reinvestment, that would constitute a
        Potential Amortization Event; and
                       (iii)  the sum of Aggregate Capital plus the Adjusted LC Participation Amount
        does not exceed the Purchase Limit and the aggregate Purchaser Interests do not exceed the
        Maximum Purchaser Interest Percentage.
It is expressly understood that each Reinvestment shall, unless otherwise directed by the Agent or any
Purchaser, occur automatically on each day that any Servicer shall receive any Collections without the
requirement that any further action be taken on the part of any Person and notwithstanding the failure of
any Seller to satisfy any of the foregoing conditions precedent in respect of such Reinvestment. The
failure of any Seller to satisfy any of the foregoing conditions precedent in respect of any Reinvestment
shall give rise to a right of the Agent, which right may be exercised at any time on demand of the Agent,
to rescind the related Purchase and direct the Sellers to pay to the Agent for the benefit of the Purchasers
an amount equal to the Collections prior to the Amortization Date that shall have been applied to the
affected Reinvestment.




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                                              ARTICLE VII
                                              COVENANTS
          Section 7.1  Affirmative Covenants of the Seller Parties. Until the date on which the
Aggregate Unpaids have been indefeasibly paid in full, no Letter of Credit remains outstanding and this
Agreement terminates in accordance with its terms, each Seller Party hereby covenants, as to itself, as set
forth below:
                 (a)     Financial Reporting. Such Seller Party will maintain, for itself and each of its
Subsidiaries, a system of accounting established and administered in accordance with GAAP, and furnish
or cause to be furnished to the Agent and each Financial Institution:
                         (i)      Annual Reporting. Within 90 days after the close of each of its
        respective fiscal years, audited, unqualified consolidated financial statements (which shall include
        balance sheets, statements of income and retained earnings and a statement of cash flows) for
        Provider for such fiscal year certified in a manner acceptable to the Agent by independent public
        accountants acceptable to the Agent.
                         (ii)    Quarterly Reporting. Within 45 days after the close of the first three (3)
        quarterly periods of each of its respective fiscal years, (A) consolidated balance sheets of
        Provider and its Subsidiaries as at the close of each such period, (B) consolidated statements of
        income and retained earnings and a statement of cash flows for Provider for the period from the
        beginning of such fiscal year to the end of such quarter, (C) the balance sheet of each Seller as at
        the close of each such period and (D) statements of income and retained earnings and a statement
        of cash flows for each Seller, all certified by its respective chief financial officer or treasurer.
                         (iii)   Compliance Certificate. Together with the financial statements required
        hereunder, a compliance certificate in substantially the form of ‎Exhibit V signed by an
        Authorized Officer of the Seller Parties and dated the date of such annual financial statement or
        such quarterly financial statement, as the case may be.
                          (iv)    Shareholders Statements and Reports. Promptly upon the furnishing
        thereof to the shareholders of such Seller Party, to the extent not available electronically, copies
        of all financial statements, reports and proxy statements so furnished.
                         (v)     S.E.C. Filings. Promptly upon the filing thereof, to the extent not
        available electronically, copies of all annual, quarterly, monthly or other regular reports that
        Provider or any of its Subsidiaries files with the Securities and Exchange Commission.
                        (vi)     Copies of Notices. Promptly upon its receipt of any notice, request for
        consent, financial statements, certification, report or other communication under or in connection
        with any Transaction Document from any Person other than the Agent, copies of the same.
                         (vii)    Change in Credit and Collection Policies. At least fifteen (15) days prior
        to the effectiveness of any material change in or material amendment to any Credit and Collection
        Policy, a copy of such Credit and Collection Policy then in effect and a notice (A) indicating such
        change or amendment, and (B) if such proposed change or amendment would be reasonably
        likely to adversely affect the collectibility of the Receivables or decrease the credit quality of any
        newly created Receivables, requesting the Agent’s and the Required Purchasers’ consent thereto.
                        (viii) Copies of Dean Credit Agreement Amendments. Promptly after
        execution thereof, copies of each amendment to the Dean Credit Agreement as in effect from time
        to time notwithstanding any language to the contrary contained in the definition of “Dean Credit
        Agreement.”

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                         (ix)   Other Information. Promptly, from time to time, such other information,
        documents, records or reports relating to the Receivables or the condition or operations, financial
        or otherwise, of such Seller Party as the Agent may from time to time reasonably request in order
        to protect the interests of the Agent and the Purchasers under or as contemplated by this
        Agreement.
                         (x)     Credit Agreement Reporting. Copies of the (A) information required
        under Sections 5.01(i) and 5.12 of the Dean Credit Agreement, (B) documentation required under
        and relating to each Milestone (as defined in the Dean Credit Agreement) under Section 5.14 of
        the Dean Credit Agreement and (C) any other reports, forecasts and information required to be
        furnished or delivered under the Dean Credit Agreement; provided, however, that, other than in
        the case of clause (B) above, the foregoing shall only be delivered hereunder to the extent the
        same has been delivered to the administrative agent under the Dean Credit Agreement (after
        giving effect to any waivers or extensions of the requirements thereof).
                 (b)       Notices. Such Seller Party will notify the Agent and each Financial Institution in
writing of any of the following promptly upon learning of the occurrence thereof, describing the same
and, if applicable, the steps being taken with respect thereto:
                       (i)      Amortization Events or Potential Amortization Events. The occurrence
        of each Amortization Event and each Potential Amortization Event, by a statement of an
        Authorized Officer of such Seller Party.
                           (ii)    Judgment and Proceedings. (A) (1) The entry of any judgment or decree
        against Provider or any Servicer or any of its respective Subsidiaries if the aggregate amount of
        all judgments and decrees then outstanding against Provider or such Servicer and its respective
        Subsidiaries could reasonably be expected to have a Material Adverse Effect, and (2) the
        institution of any litigation, arbitration proceeding or governmental proceeding against Provider
        that, if adversely determined, could reasonably be expected to have a Material Adverse Effect, or
        against any Servicer; and (B) the entry of any judgment or decree or the institution of any
        litigation, arbitration proceeding or governmental proceeding against any Seller.
                        (iii)   Material Adverse Effect. The occurrence of any event or condition that
        has had, or could reasonably be expected to have, a Material Adverse Effect.
                         (iv)   Termination Date. The occurrence of the “Termination Date” under and
        as defined in each Receivables Sale Agreement.
                         (v)     Defaults Under Other Agreements. The occurrence of a default or an
        event of default under any other financing arrangement pursuant to which such Seller Party is a
        debtor or an obligor that could reasonably be expected to have a Material Adverse Effect.
                       (vi)    Certain Dean Credit Agreement Covenants. From and after the first date
        upon which any Authorized Officer of any Seller Party becomes aware that the Provider has not
        complied with the covenants set forth in Section 5.01(i), Section 5.12(b), and Section 5.14 under
        the Dean Credit Agreement (other than in the case of any non-compliance with Section 5.14
        under the Dean Credit Agreement, after giving effect to any waivers, extensions or grace periods
        thereunder).
                        (vii)   Appointment of Independent Manager. The decision to appoint a new
        manager of such Seller as an “Independent Manager” for purposes of this Agreement, such notice
        to be issued not less than ten (10) days prior to the effective date of such appointment and to



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        certify that the designated Person satisfies the criteria set forth in the definition herein of
        “Independent Manager.”
                 (c)     Compliance with Laws and Preservation of Corporate Existence. Such Seller
Party will comply in all respects with all applicable laws, rules, regulations, orders, writs, judgments,
injunctions, decrees or awards to which it may be subject if noncompliance with any such law, rule,
regulation, order, writ, judgment, injunction, decree or award could reasonably be expected to have a
Material Adverse Effect. Such Seller Party will preserve and maintain its legal existence, rights,
franchises and privileges in the jurisdiction of its organization, and qualify and remain qualified in good
standing as a foreign entity in each jurisdiction where its business is conducted, except where the failure
to so qualify or remain qualified could not reasonably be expected, either individually or in the aggregate,
to have a Material Adverse Effect.
                 (d)     Audits. Such Seller Party will furnish to the Agent (with the Agent providing
copies thereof to each Financial Institution, subject to the Agent receiving any necessary consents to
disclosure) from time to time such information with respect to it and the Receivables as the Agent or the
Required Purchasers may reasonably request. Such Seller Party will, from time to time during regular
business hours as requested by the Agent upon reasonable notice, permit the Agent, or its agents or
representatives (and shall cause each Originator) to permit the Agent or its agents or representatives), (i)
to examine and make copies of and abstracts from all Records in the possession or under the control of
such Person relating to the Receivables and the Related Security, including, without limitation, the related
Writings or Contracts, and (ii) to visit the offices and properties of such Person for the purpose of
examining such materials described in clause (i) above, and to discuss matters relating to such Person’s
financial condition or the Receivables and the Related Security or any Person’s performance under any of
the Transaction Documents or any Person’s performance under the Writings or Contracts and, in each
case, with any of the officers or employees of any Seller Party having knowledge of such matters. All
such examinations and visits shall be at the sole cost of such Seller Party; provided that if the Agent or its
agents or representatives fails to make any such examination and/or visit during any calendar year period,
any Financial Institution or its agent or representatives may make such examination and/or visit in the
Agent’s stead; further provided, that such audit shall be conducted at the number of offices and properties
selected in the Agent’s commercially reasonable judgment and after consultation with the Provider.
                (e)      Keeping and Marking of Records and Books.
                          (i)     The Servicers will (and will cause each Originator to) maintain and
        implement administrative and operating procedures (including, without limitation, an ability to
        recreate records evidencing Receivables in the event of the destruction of the originals thereof),
        and keep and maintain all documents, books, records and other information reasonably necessary
        or advisable for the collection of all Receivables (including, without limitation, records adequate
        to permit the immediate identification of each new Receivable and all Collections of and
        adjustments to each existing Receivable). The Servicers will (and will cause each Originator to)
        give the Agent notice of any material change in the administrative and operating procedures
        referred to in the previous sentence.
                         (ii)   Such Seller Party will (and will cause each Originator to) (A) mark its
        master data processing records and other books and records relating to the Purchaser Interests
        with a legend, acceptable to the Agent, describing the Purchaser Interests and (B) upon the
        request of the Agent following the occurrence and during the continuance of an Amortization
        Event (x) mark each Writing or Contract with a legend describing the Purchaser Interests and (y)
        deliver to the Agent all Writings and Contracts (including, without limitation, all multiple
        originals of any such Writing or Contract) relating to the Receivables.



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                 (f)      Compliance with Contracts and Credit and Collection Policies. Such Seller Party
will timely and fully (i) perform and comply with all provisions, covenants and other promises required to
be observed by it under the Contracts related to the Receivables, and (ii) comply in all material respects
with its respective Credit and Collection Policy in regard to each Receivable and any related Contract.
                 (g)      Performance and Enforcement of Receivables Sale Agreements. Each Seller
will, and will require each Originator party thereto to, subject to the entry by the Bankruptcy Court of (x)
the Interim Order at any time prior to the entry of the Final Order and (y) the Final Order thereafter (and
in each case, subject to the terms thereof), perform each of their respective obligations and undertakings
under and pursuant to the Receivables Sale Agreement to which it is a party, will purchase Receivables
thereunder in strict compliance with the terms thereof and will vigorously enforce the rights and remedies
accorded to such Seller under such Receivables Sale Agreement. Each Seller will take all actions to
perfect and enforce its rights and interests (and the rights and interests of the Agent and the Purchasers as
assignees of Seller) under the Receivables Sale Agreement to which it is a party as the Agent may from
time to time reasonably request, including, without limitation, making claims to which it may be entitled
under any indemnity, reimbursement or similar provision contained in such Receivables Sale Agreement.
                 (h)      Ownership. Each Seller will (or will cause each Originator to) take all necessary
action to (i) vest legal and equitable title to the Receivables, the Related Security and the Collections
purchased under the Receivables Sale Agreement to which it is a party irrevocably in such Seller, free and
clear of any Adverse Claims other than Adverse Claims in favor of the Agent and the Purchasers
(including, without limitation, the filing of all financing statements or other similar instruments or
documents necessary under the UCC (or any comparable law) of all appropriate jurisdictions to perfect
such Seller’s interest in such Receivables, Related Security and Collections and such other action to
perfect, protect or more fully evidence the interest of such Seller therein as the Agent may reasonably
request), and (ii) establish and maintain, in favor of the Agent, for the benefit of the Purchasers, a valid
and perfected first priority undivided percentage ownership interest (and/or a valid and perfected first
priority security interest) in all Receivables, Related Security and Collections to the full extent
contemplated herein, free and clear of any Adverse Claims other than Adverse Claims in favor of the
Agent for the benefit of the Purchasers (including, without limitation, the filing of all financing statements
or other similar instruments or documents necessary under the UCC (or any comparable law) of all
appropriate jurisdictions to perfect the Agent’s (for the benefit of the Purchasers) interest in such
Receivables, Related Security and Collections and such other action to perfect, protect or more fully
evidence the interest of the Agent for the benefit of the Purchasers as the Agent may reasonably request).
                  (i)      Purchasers’ Reliance. Each Seller acknowledges that the Purchasers are entering
into the transactions contemplated by this Agreement in reliance upon such Seller’s identity as a legal
entity that is separate from the Originators. Therefore, from and after June 30, 2000 (or, May 15, 2002, in
the case of Dairy Group II), each Seller shall take all reasonable steps, including, without limitation, all
steps that the Agent or any Purchaser may from time to time reasonably request, to maintain such Seller’s
identity as a separate legal entity and to make it manifest to third parties that such Seller is an entity with
assets and liabilities distinct from those of the Originators and any Affiliates thereof and not just a
division of an Originator or any such Affiliate. Without limiting the generality of the foregoing and in
addition to the other covenants set forth herein, each Seller will:
                                 (A)    conduct its own business in its own name and require that all
                 fulltime employees of such Seller, if any, identify themselves as such and not as
                 employees of any Originator or any Affiliate thereof (including, without limitation, by
                 means of providing appropriate employees with business or identification cards
                 identifying such employees as such Seller’s employees);




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                       (B)      compensate all employees, consultants and agents directly, from
       such Seller’s own funds, for services provided to such Seller by such employees,
       consultants and agents and, to the extent any employee, consultant or agent of such Seller
       is also an employee, consultant or agent of any Originator or any Affiliate thereof,
       allocate the compensation of such employee, consultant or agent between such Seller and
       Originator or such Affiliate, as applicable, on a basis that reflects the services rendered to
       such Seller and such Originator or such Affiliate, as applicable;
                         (C)    clearly identify its offices (by signage or otherwise) as its offices
       and, if such office is located in the offices of any Originator or any Affiliate thereof,
       allocate fairly any overhead for shared office space;
                      (D)      have a separate telephone number or extension, which will be
       answered only in its name and separate stationery, invoices and checks in its own name;
                         (E)   conduct all transactions with the Originators and the Servicers
       (including, without limitation, any delegation of its obligations hereunder as Servicers)
       strictly on an arm’s-length basis, allocate all overhead expenses (including, without
       limitation, telephone and other utility charges) for items shared between such Seller and
       each Originator (or any Affiliate thereof) on the basis of actual use to the extent
       practicable and, to the extent such allocation is not practicable, on a basis reasonably
       related to actual use;
                        (F)     at all times have as its general partner a limited liability company
       having at least one Independent Manager;
                         (G)    observe all corporate and/or limited partnership formalities as a
       distinct entity, and ensure that all corporate and/or limited partnership actions relating to
       (A) the selection, maintenance or replacement of the general partner, (B) the dissolution
       or liquidation of such Seller or (C) the initiation of, participation in, acquiescence in or
       consent to any bankruptcy, insolvency, reorganization or similar proceeding involving
       Seller, are duly authorized by the Independent Manager of the general partner;
                        (H)      maintain such Seller’s books and records separate from those of
       each Originator and any Affiliate thereof and otherwise readily identifiable as its own
       assets rather than assets of such Originator and any Affiliate thereof;
                        (I)      prepare its financial statements separately from those of each
       Originator and insure that any consolidated financial statements of such Originator or any
       Affiliate thereof that include such Seller and that are filed with the Securities and
       Exchange Commission or any other governmental agency have notes clearly stating that
       such Seller is a separate corporate entity and that its assets will be available first and
       foremost to satisfy the claims of the creditors of such Seller;
                        (J)      except as herein specifically otherwise provided, maintain the
       funds or other assets of such Seller separate from, and not commingled with, those of any
       Originator or any Affiliate thereof and only maintain bank accounts or other depository
       accounts to which such Seller alone is the account party and from which such Seller
       alone (or the Agent hereunder) has the sole power to make withdrawals;
                        (K)    pay all of such Seller’s operating expenses from such Seller’s
       own assets (except for certain payments by the Originators or other Persons pursuant to
       allocation arrangements that comply with the requirements of this ‎Section 7.1(i));


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                         (L)     operate its business and activities such that: it does not engage
       in any business or activity of any kind, or enter into any transaction or indenture,
       mortgage, instrument, agreement, contract, lease or other undertaking, other than the
       transactions contemplated and authorized by this Agreement and the Receivables Sale
       Agreement to which it is a party (it being understood that Dairy Group and Dairy Group
       II may enter into the transactions contemplated by the respective Demand Notes); and
       does not create, incur, guarantee, assume or suffer to exist any indebtedness or other
       liabilities, whether direct or contingent, other than (1) as a result of the endorsement of
       negotiable instruments for deposit or collection or similar transactions in the ordinary
       course of business, (2) the incurrence of obligations under this Agreement, (3) the
       incurrence of obligations, as expressly contemplated in the Receivables Sale Agreement
       to which it is a party, to make payment to each Originator thereunder for the purchase of
       Receivables from any Originator under such Receivables Sale Agreement, and (4) the
       incurrence of operating expenses in the ordinary course of business of the type otherwise
       contemplated by this Agreement;
                         (M)      maintain its limited partnership agreement in conformity with
       this Agreement, such that (1) it does not amend, restate, supplement or otherwise modify
       its limited partnership agreement in any respect that would impair its ability to comply
       with the terms or provisions of any of the Transaction Documents, including, without
       limitation, ‎Section 7.1(i) of this Agreement; and (2) its limited partnership agreement, at
       all times that this Agreement is in effect, provides for not less than ten (10) days’ prior
       written notice to the Agent of the replacement or appointment of any director that is to
       serve as an Independent Manager for purposes of this Agreement and the condition
       precedent to giving effect to such replacement or appointment that the applicable Seller
       certify that the designated Person satisfied the criteria set forth in the definition herein of
       “Independent Manager” and the Agent’s written acknowledgement that in its reasonable
       judgment the designated Person satisfies the criteria set forth in the definition herein of
       “Independent Manager;”
                       (N)     maintain the effectiveness of, and continue to perform under the
       Receivables Sale Agreement to which it is a party (and, in the case of Dairy Group and
       Dairy Group II, the respective Demand Notes), such that it does not amend, restate,
       supplement, cancel, terminate or otherwise modify such Receivables Sale Agreement or
       the Demand Notes, or give any consent, waiver, directive or approval under such
       Receivables Sale Agreement or the Demand Notes, or waive any default, action,
       omission or breach under such Receivables Sale Agreement or under the Demand Notes,
       or otherwise grant any indulgence under such Receivables Sale Agreement or the
       Demand Notes, without (in each case) the prior written consent of the Agent and the
       Required Purchasers;
                        (O)     maintain its limited partnership separateness such that it does not
       merge or consolidate with or into, or convey, transfer, lease or otherwise dispose of
       (whether in one transaction or in a series of transactions, and except as otherwise
       contemplated herein) all or substantially all of its assets (whether now owned or hereafter
       acquired) to, or acquire all or substantially all of the assets of, any Person, nor at any time
       create, have, acquire, maintain or hold any interest in any Subsidiary;
                        (P)     maintain at all times the Required Capital Amount (as defined in
       the Receivables Sale Agreement to which it is a party) and refrain from making any
       dividend, distribution, redemption of capital stock or partnership interest or payment of



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                any subordinated indebtedness that would cause such Required Capital Amount to cease
                to be so maintained;
                                (Q)    take such other actions as are necessary on its part to ensure that
                the facts and assumptions set forth in the opinion issued by Gibson, Dunn & Crutcher
                LLP, as counsel for such Seller, in connection with this Agreement, dated as of the date
                hereof, and relating to substantive consolidation issues, and in the certificates
                accompanying such opinion, remain true and correct in all material respects at all times.
                 (j)      Collections. Such Seller Party will cause (1) all proceeds from all Lock-Boxes to
be directly deposited by a Collection Bank into a Collection Account and (2) each Lock-Box and
Collection Account to be subject at all times to a Collection Account Agreement that is in full force and
effect. In the event any payments relating to Receivables are remitted directly to any Seller or any
Affiliate of any Seller, such Seller will (except as otherwise specified in ‎Section 8.2(b)) remit (or will
cause all such payments to be remitted) directly to a Collection Bank and deposited into a Collection
Account within two (2) Business Days following receipt thereof, and, at all times prior to such remittance,
such Seller will itself hold or, if applicable, will cause such payments to be held in trust for the exclusive
benefit of the Agent and the Purchasers. Each Seller will maintain exclusive ownership, dominion and
control (subject to the terms of this Agreement) of each applicable Lock-Box and Collection Account and
shall not grant the right to take dominion and control or grant “control” (within the meaning of Section 9-
104 of the UCC of all applicable jurisdictions) of any such Lock-Box or Collection Account at a future
time or upon the occurrence of a future event to any Person, except to the Agent as contemplated by this
Agreement.
                (k)      Taxes. Such Seller Party will file all Tax returns and reports required by law to
be filed by it and promptly, in accordance with the Bankruptcy Code and subject to any required
approvals of the Bankruptcy Court, pay all taxes and governmental charges at any time owing except for
taxes not yet due or that are being diligently contested in good faith by appropriate proceedings and that
have been adequately reserved against in accordance with GAAP.
                 (l)    Payment to Originators. With respect to any Receivable purchased by any Seller
from any Originator, such sale shall be effected under, and in strict compliance with the terms of, the
Receivables Sale Agreement to which such Seller is a party, including, without limitation, the terms
relating to the amount and timing of payments to be made to such Originator in respect of the purchase
price for such Receivable.
                (m)     Compliance with Anti-Corruption Laws, Anti-Terrorism Laws and Sanctions.
Such Seller Party will maintain in effect and enforce policies and procedures reasonably designed to
achieve material compliance by such Seller Party, its Subsidiaries and its directors, officers and
employees (in each case solely to the extent of their course of employment) with Anti-Corruption Laws
and applicable Anti-Terrorism Laws and Sanctions.
         Section 7.2    Negative Covenants of the Seller Parties. Until the date on which the Aggregate
Unpaids have been indefeasibly paid in full, no Letter of Credit remains outstanding and this Agreement
terminates in accordance with its terms, each Seller Party hereby covenants, as to itself, that:
                 (a)     Name Change, Jurisdiction of Organization, Offices, Records and Books of
Accounts. Such Seller Party will not change its name, identity, corporate or other organizational structure
or jurisdiction of organization (within the meaning of Sections 9-503 and/or 9-507 of the UCC of all
applicable jurisdictions) or relocate its chief executive office, principal place of business or any office
where Records are kept unless it shall have: (i) given the Agent at least thirty (30) days’ prior written
notice thereof and (ii) delivered to the Agent all financing statements, instruments and other documents
requested by the Agent in connection with such change or relocation; provided that the commencement


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and continuation of the Chapter 11 Cases in and of itself shall not be deemed a violation of this paragraph
(a).
                 (b)      Change in Payment Instructions to Obligors. Except as may be required
by ‎Section 7.1(j) or by the Agent pursuant to ‎Section 8.2(b), such Seller Party will not add or terminate
any bank as a Collection Bank, or make any change in the instructions to Obligors regarding payments to
be made to any Lock-Box or Collection Account, unless the Agent shall have received, at least ten (10)
days before the proposed effective date therefor, (i) written notice of such addition, termination or change
and (ii) with respect to the addition of a Collection Bank or a Collection Account or Lock-Box, an
executed Collection Account Agreement acceptable to the Agent with respect to the new Collection
Account or Lock-Box; provided, however, that the Servicers may make changes in instructions to
Obligors regarding payments (and need not give the Agent ten (10) days prior notice thereof) if such new
instructions require such Obligor to make payments to another existing Collection Account; provided,
further, however, that the Servicers may from time to time terminate a Collection Account Agreement
with respect to a Collection Account and/or a Lock-Box if Obligors are instructed to make payments
previously made to such Collection Account and/or Lock-Box to another existing Collection Account
and/or Lock-Box. At least quarterly on the first Settlement Date of each calendar quarter, the Seller
Parties will give written notice to the Agent of all changes in the instructions to the Obligors regarding
payments made pursuant to the proviso in the preceding sentence since the prior such notice the Seller
Parties delivered to the Agent (or, in the case of the first such notice, since the date hereof).
                  (c)     Modifications to Writings, Contracts and Credit and Collection Policies. Such
Seller Party will not, and will not permit any Originator to, make any change to such Originator’s Credit
and Collection Policy that could materially (either individually or in the aggregate) adversely affect the
collectibility of the Receivables or materially (either individually or in the aggregate) decrease the credit
quality of any newly created Receivables. Except as provided in ‎Section 8.2(d), the Servicers will not,
and will not permit any Originator to, extend, amend or otherwise modify the terms of any Receivable or
the Writing or Contract related thereto other than in accordance with such Originator’s Credit and
Collection Policy.
                  (d)     Sales, Liens. No Seller will sell, assign (by operation of law or otherwise) or
otherwise dispose of, or grant any option with respect to, or create or suffer to exist any Adverse Claim
upon (including, without limitation, the filing of any financing statement) or with respect to, any
Receivable, Related Security or Collections, or upon or with respect to the Writing or Contract under
which any Receivable arises, or any Lock-Box or Collection Account, or assign any right to receive
income with respect thereto (other than, in each case, the creation of the interests therein in favor of the
Agent and the Purchasers provided for herein), and each Seller will defend the right, title and interest of
the Agent and the Purchasers in, to and under any of the foregoing property, against all claims of third
parties claiming through or under such Seller or any Originator. No Seller will create or suffer to exist
any mortgage, pledge, security interest, encumbrance, lien, charge or other similar arrangement on any of
its inventory, the financing or lease of which gives rise to any Receivable.
                  (e)    Net Receivables Balance. At no time prior to the Amortization Date shall any
Seller permit the Net Receivables Balance to be less than an amount equal to the sum of (i) the Aggregate
Capital plus (ii) the Aggregate Reserves plus (iii) the Adjusted LC Participation Amount.
                 (f)      Termination Date Determination. No Seller will designate the Termination Date
(as defined in each Receivables Sale Agreement) under the Receivables Sale Agreement to which it is a
party, or send any written notice to any Originator in respect thereof, without the prior written consent of
the Agent and the Required Purchasers, except with respect to the occurrence of such Termination Date
arising pursuant to ‎Section 5.1(d) of such Receivables Sale Agreement.



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                  (g)      Restricted Junior Payments. From and after the occurrence of any Amortization
Event, no Seller will make any Restricted Junior Payment if, after giving effect thereto, such Seller would
fail to meet its obligations set forth in ‎Section 7.2(e).
                (h)     Demand Notes. At no time shall (i) Dairy Group cause or permit the aggregate
outstanding principal balance of its Demand Note to exceed $21,325,653 or (ii) Dairy Group II cause or
permit the aggregate outstanding principal balance of its Demand Note to exceed $13,181,876.
                (i)     Sanctions. Each Seller Party will not, directly or indirectly, use the proceeds
from any Purchase or Letter of Credit, or lend, contribute or otherwise make available such proceeds to
any Subsidiary, joint venture partner or other Person, (a) to fund any activity or business of or with any
Person, or in any Designated Jurisdiction, that, at the time of such funding, is the target of any Sanctions,
unless otherwise authorized by Applicable Laws; or (b) in any other manner that will result in any
violation by any Person participating in the Purchases or Letters of Credit, whether as the Agent, LC
Bank, or Purchaser, of any Sanctions.
                 (j)    Anti-Corruption Laws. The Seller Parties will not, directly or indirectly, use the
proceeds of any Incremental Purchase or Letter of Credit for any purpose which would breach, in any
material respect, any Anti-Corruption Law.
                                        ARTICLE VIII
                               ADMINISTRATION AND COLLECTION
         Section 8.1    Designation of Servicers. (a) The servicing, administration and collection of the
Receivables shall be conducted by such Person or Persons (each such Person, a “Servicer”) so designated
from time to time in accordance with this ‎Section 8.1. Each of the Persons identified on ‎Schedule C
hereto is hereby designated as, and hereby agrees to perform the duties and obligations of, Servicer
pursuant to the terms of this Agreement with respect to the Receivables originated by such entity. The
Agent may, and at the direction of the Required Purchasers shall, at any time following an Amortization
Event, designate as Servicer any Person to succeed any existing Servicer or any successor Servicer.
                 (b)      Without the prior written consent of the Agent and the Required Purchasers, no
Servicer shall be permitted to delegate any of its duties or responsibilities as Servicer to any Person other
than (i) a Seller and (ii) with respect to certain Charged-Off Receivables, outside collection agencies in
accordance with its customary practices. No Seller shall be permitted to further delegate to any other
Person any of the duties or responsibilities of a Servicer delegated to it by any Servicer. If at any time
following an Amortization Event the Agent shall designate as Servicer any Person other than the Persons
identified on ‎Schedule C hereto, all duties and responsibilities theretofore delegated by any Servicer to
any Seller may, at the discretion of the Agent, be terminated forthwith on notice given by the Agent to the
Servicers and to the Administrative Seller.
                 (c)     Notwithstanding the foregoing paragraph ‎(b), (i) each of the Servicers shall be
and remain primarily liable to the Agent and the Purchasers for the full and prompt performance of all of
its duties and responsibilities as a Servicer hereunder and (ii) the Agent and the Purchasers shall be
entitled to deal exclusively with the applicable Servicer in matters relating to the discharge by such
Servicer of its duties and responsibilities hereunder. The Agent and the Purchasers shall not be required
to give notice, demand or other communication to any Person other than the applicable Servicer in order
for communication to such Servicer and its subservicer or other delegate with respect thereto to be
accomplished. Each Servicer shall be responsible for providing any subservicer or other delegate of such
Servicer with any notice given to such Servicer under this Agreement.
         Section 8.2    Duties of Servicer. (a) Each Servicer shall take or cause to be taken all such
actions as may be necessary or advisable to collect each Receivable originated by such entity from time to


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time, all in accordance in all material respects with applicable laws, rules and regulations, with reasonable
care and diligence, and in accordance in all material respects with the applicable Originator’s Credit and
Collection Policy.
                  (b)     Each Servicer will instruct all Obligors to pay all Collections with respect to the
Receivables originated by such entity directly to a Lock-Box or Collection Account; provided, however,
that to the extent that the Originator (other than a Local Originator) of the Receivable giving rise to such
Collections, as applicable, currently permits the Obligor of such Receivable to pay such Collections to a
local employee of such Originator, as applicable, such Servicer will insure that such local employees
remit such Collections to a local depository account no less frequently than weekly, and within two (2)
Business Days of such local employee’s deposit of such Collections, such Servicer will cause such
Collections to be deposited directly to a Lock-Box or Collection Account. With respect to payments
relating to Receivables that are remitted directly to any Servicer, such Servicer will remit such payments
(or will cause all such payments to be remitted) directly to a Collection Bank and deposited into a
Collection Account within two (2) Business Days following receipt thereof, and, at all times prior to such
remittance, such Servicer will itself hold or, if applicable, will cause such payments to be held in trust for
the exclusive benefit of the Agent and the Purchasers. Each Servicer shall effect a Collection Account
Agreement substantially in the form of ‎Exhibit VI with each bank party to a Collection Account at any
time; provided that the Agent may in its sole discretion grant each Servicer additional time to effect a
Collection Agreement in respect of a Collection Account. Prior to the delivery of any Collection Notice
to any Collection Bank, in the case of any remittances received in any Lock-Box or Collection Account
that shall have been identified, to the satisfaction of the applicable Servicer, to not constitute Collections
or other proceeds of the Receivables or the Related Security (which identification shall occur no later than
two (2) Business Days after such amounts are received therein), such Servicer shall promptly (and, in any
event, no later than one (1) Business Day after such identification) remit such items to the Person
identified to it as being the owner of such remittances and cause such amounts to be removed from such
Lock-Box or Collection Account. From and after the date the Agent delivers to any Collection Bank a
Collection Notice pursuant to ‎Section 8.2(g), the Agent may request that the Servicers, and the Servicers
thereupon promptly shall instruct all Obligors with respect to the Receivables, to remit all payments
thereon to a new depositary account specified by the Agent and, at all times thereafter, each Seller and the
Servicers shall not deposit or otherwise credit, and shall not permit any other Person to deposit or
otherwise credit to such new depositary account any cash or payment item other than Collections.
                 (c)     The Servicers shall administer the Collections with respect to the Receivables
originated by each such entity in accordance with the procedures described herein and in ‎Article II. The
Servicers shall set aside and hold in trust for the account of Seller and the Purchasers their respective
shares of the Collections in accordance with ‎Article II. The Servicers shall, upon the request of the
Agent, segregate, in a manner acceptable to the Agent, all cash, checks and other instruments received by
it from time to time constituting Collections from the general funds of each of the Servicers or the Sellers
prior to the remittance thereof in accordance with ‎Article II. If the Servicers shall be required to
segregate Collections pursuant to the preceding sentence, the Servicers shall segregate and deposit with a
bank designated by the Agent such allocable share of Collections of Receivables set aside for the
Purchasers on the second Business Day following receipt by any Servicer of such Collections, duly
endorsed or with duly executed instruments of transfer.
                (d)    The Servicers may, in accordance with the applicable Originator’s Credit and
Collection Policy, extend the maturity of any Receivable or adjust the Outstanding Balance of any
Receivable as the Servicers determine to be appropriate to maximize Collections thereof; provided,
however, that such extension or adjustment shall not alter the status of such Receivable as a Delinquent
Receivable or Charged-Off Receivable or limit the rights of the Agent or the Purchasers under this
Agreement. Notwithstanding anything to the contrary contained herein, upon the occurrence and during
the continuance of an Amortization Event and until such time as the Aggregate Unpaids have been

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indefeasibly paid in full, the Agent shall have the absolute and unlimited right to direct the Servicers to
commence or settle any legal action with respect to any Receivable or to foreclose upon or repossess any
Related Security.
                 (e)      The Servicers shall hold in trust for the Sellers and the Purchasers all Records
that (i) evidence or relate to the Receivables, the related Writings and Contracts and Related Security or
(ii) are otherwise necessary or desirable to collect the Receivables and shall, as soon as reasonably
practicable upon demand of the Agent, deliver or make available to the Agent all such Records, at a place
selected by the Agent. The Servicers shall, as soon as reasonably practicable following receipt thereof
turn over to the Sellers any cash collections or other cash proceeds received with respect to Indebtedness
not constituting Receivables. The Servicers shall, from time to time at the request of any Purchaser,
furnish to the Purchasers (promptly after any such request) a calculation of the amounts set aside for the
Purchasers pursuant to ‎Article II.
                 (f)    Any payment by an Obligor in respect of any indebtedness owed by it to any
Originator or any Seller shall, except as otherwise specified by such Obligor or otherwise required by
contract or law and unless otherwise instructed by the Agent, be applied as a Collection of any Receivable
of such Obligor (starting with the oldest such Receivable) to the extent of any amounts then due and
payable thereunder before being applied to any other receivable or other obligation of such Obligor.
                 (g)      Prior to the termination date specified in the Wells Fargo Termination Notice,
each Servicer shall (x) cause Wells Fargo to rescind the Wells Fargo Termination Letter or (y) deliver an
instruction directing all Obligors that make payments into the Wells Fargo Collection Accounts to pay all
amounts due with respect to the Receivables originated by such Originator directly to a Collection
Account that is subject to the dominion and control of the Agent, and use commercially reasonable efforts
to procure that all such payments are paid into the Collection Account notified to such Obligors; provided
that if, notwithstanding the use of commercially reasonable efforts by such Originator to procure the
same, any such payment is paid by an Obligor into an account that is not a Collection Account subject to
the dominion and control of the Agent, such Originator shall promptly (and in any event within two (2)
Business Days (or such later date as the Agent may reasonably agree)), transfer such payment into a
Collection Account subject to the dominion and control of the Agent.
          Section 8.3     Collection Notices. (a) The Agent as of the Effective Date has delivered
(pursuant to Section 8.3 of the Existing Agreement permitting such Agent to take such action at any time)
to the Collection Banks the Collection Notices. Each Seller agrees that the Agent (for the benefit of the
Purchasers) has “control” (within the meaning of Section 9-104 of the UCC of all applicable jurisdictions)
of each Lock-Box, the Collection Accounts and the amounts on deposit therein. Each Seller agrees that
the Agent is entitled to (i) endorse such Seller’s name on checks and other instruments representing
Collections, (ii) enforce the Receivables, the related Writings and Contracts and the Related Security and
(iii) take such action as shall be necessary or desirable to cause all cash, checks and other instruments
constituting Collections of Receivables to come into the possession of the Agent rather than the Sellers or
any Servicer.
          Section 8.4      Account Dominion and Control. (a) The Agent acknowledges that the Sellers
prior to the Effective Date entered into Collection Account Agreements with all of the Collection Banks
and delivered original counterparts thereof to the Agent. At all times on and after the Effective Date, the
Agent shall exercise exclusive dominion and control (for the benefit of the Secured Parties) over each of
the Collection Accounts and all funds on deposit therein. The Seller and the Servicer each hereby agree
that, subject to the entry by the Bankruptcy Court of (x) the Interim Order at any time prior to the entry of
the Final Order and (y) the Final Order thereafter (and in each case, subject to the terms thereof), the
Agent shall have exclusive control (for the benefit of the Secured Parties) of the proceeds (including
Collections) of all Receivables and the Seller and the Servicer hereby further agree to take any other


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action that the Agent may reasonably request to ensure that the Agent maintains such control. Neither the
Seller nor any member of the Provider Group shall have any control over any Collection Account or any
right to withdraw or direct the Agent, any Collection Bank or any other Person to withdraw any funds on
deposit in any Collection Account. The Seller and the Servicer hereby irrevocably instruct the Agent to
transfer all available amounts on deposit in the Collection Accounts as of the end of each Business Day
and after giving effect to any distributions to the Servicer on such day pursuant to Section 8.5(b), to the
LC Collateral Account.

                  (b)      Subject to the entry by the Bankruptcy Court of (x) the Interim Order at any time
prior to the entry of the Final Order and (y) the Final Order thereafter (and in each case, subject to the
terms thereof), the Agent shall have exclusive dominion and control, including the exclusive right of
withdrawal, over the LC Collateral Account and the Seller hereby grants the Agent a security interest in
the LC Collateral Account and all money or other assets on deposit therein or credited thereto. Other than
any interest earned on the investment of such deposits, which investments shall be made at the option and
sole discretion of the Agent and at the Seller’s risk and expense, such deposits shall not bear interest.
Interest or profits, if any, on such investments shall accumulate in the LC Collateral Account. Moneys in
the LC Collateral Account shall be applied by the Agent to reimburse the LC Bank for each drawing
under a Letter of Credit and for repayment of amounts owing by the Seller hereunder and under each of
the other Transaction Documents to each of the other Secured Parties, it being understood and agreed that
certain amounts on deposit in the LC Collateral Account may, from time to time, be remitted to the
Servicer pursuant to Section 8.5(b). Amounts, if any, on deposit in the LC Collateral Account on the Final
Payout Date shall be remitted by the Agent to the Seller.
                  (c)     Subject to Sections 8.4 and 8.5(b), the Agent shall, on each Settlement Date (if
such date occurs on an Amortization Date or on a date that any Capital is then outstanding), remove any
available amounts then on deposit in the Collection Accounts and the LC Collateral Account and deposit
such amounts into the Agent’s account in accordance with the priorities set forth in ‎Section 2.2, ‎Section
2.3 or ‎Section 2.4, as applicable.
         Section 8.5      Reports. (a) The Servicers shall prepare and forward to the Agent and each
Financial Institution (i) on the 20th calendar day of each month (or, if such day is not a Business Day, the
next succeeding Business Day) and at such times as the Agent or the Required Purchasers shall request, a
Monthly Report and (ii) at such times as the Agent or the Required Purchasers shall request, a Weekly
Report and/or a listing by Obligor of all Receivables together with an aging of such Receivables.
                 (b)     Each Servicer may, in its sole discretion, and shall at the direction of the Agent
(which direction may be given no more than once per week unless an Amortization Event has occurred
and is continuing), deliver an Interim Report to the Agent on any Business Day. Upon receipt of such
Interim Report, the Agent shall promptly review such Interim Report to determine if such Interim Report
constitutes a Qualifying Interim Report. In the event that the Agent reasonably determines that such
Interim Report constitutes a Qualifying Interim Report, so long as no Amortization Event or Potential
Amortization Event has occurred and is continuing, the Agent shall promptly remit to the Servicer from
the Collection Account (or the LC Collateral Account, if applicable) the lesser of (i) the amount identified
on such Qualifying Interim Report as Collections on deposit in the Collection Account and/or LC
Collateral Account in excess of the amount necessary to ensure that the Purchaser Interest does not
exceed 100% and (ii) the aggregate amount of available Collections then on deposit in the Collection
Accounts and the LC Collateral Account. For purposes of this clause (g), “Qualifying Interim Report”
shall mean any Interim Report that satisfies each of the following conditions: (A) the Purchaser Interest as
set forth in such Interim Report shall not exceed 100%; (B) such Interim Report is calculated as of the
immediately prior Business Day and (C) the Agent does not in good faith reasonably believe that any of
the information or calculations set forth in such Interim Report are false or incorrect in any material
respect (and notice of any such determination shall be provided promptly to the Servicer).


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Notwithstanding anything to the contrary herein, no amounts shall be withdrawn from the Collection
Account (or the LC Collateral Account, if applicable) except in accordance with this Section 8.5(b).
          Section 8.6   Servicing Fees. In consideration of the agreement by each of the Persons listed
on ‎Schedule C to act as a Servicer hereunder, the Purchasers hereby agree that, so long as each of the
Persons listed on ‎Schedule C shall continue to perform as a Servicer hereunder, Seller shall pay over to
such Persons collectively, a fee (the “Servicing Fee”) on each Settlement Date for the immediately
preceding Settlement Period equal to 1% (one percent) per annum (the “Servicing Fee Rate”) of the
average Net Receivables Balance during such Settlement Period, as compensation for their servicing
activities. Such Servicing Fee shall be allocated among the Persons listed on ‎Schedule C as such parties
shall mutually determine.
          Section 8.7    Responsibilities of the Sellers. Anything herein to the contrary notwithstanding,
the exercise by the Agent and the Purchasers of their rights hereunder shall not release the Servicers, the
Originators or any Seller from any of their duties or obligations with respect to any Receivables or under
the related Writings or Contracts. The Purchasers shall have no obligation or liability with respect to any
Receivables or related Writings or Contracts, nor shall any of them be obligated to perform the
obligations of any Seller.


                                             ARTICLE IX
                                         AMORTIZATION EVENTS
         Section 9.1    Amortization Events. The occurrence of any one or more of the following events
shall constitute an Amortization Event:
                   (a)         Any Seller Party shall fail (i) to make any payment or deposit of any amount
consisting of Capital required hereunder when due, or (ii) to make any payment or deposit of any other
amount required hereunder when due (including without limitation any Reimbursement Obligations or
deposits required to be made to the LC Collateral Account) and such failure shall continue for two (2)
consecutive Business Days, or (iii) to perform or observe any term, covenant or agreement set forth
in ‎Section 7.2 hereof, or (iv) to perform or observe any term, covenant or agreement set forth in ‎Section
7.1(a)(iv), ‎(a)‎(v), ‎(a)‎(viii) or ‎(c) (second sentence only), and such failure shall continue for thirty (30)
consecutive days or (v) to perform or observe any other term, covenant or agreement hereunder (other
than as referred to in clauses (i), (ii), (iii) or (iv) of this paragraph ‎(a)) and such failure shall continue for
five (5) consecutive Business Days.
                (b)     Any representation, warranty, certification or statement made by any Seller Party
in this Agreement, any Periodic Report, any other Transaction Document or in any other document
delivered pursuant hereto or thereto shall prove to have been incorrect when made or deemed made.
                 (c)      Failure of any Seller or Provider or any of its Subsidiaries to pay any
Indebtedness when due or the failure of any other Seller Party or Provider or any of its Subsidiaries to pay
any principal of or premium or interest under (x) any Eligible DIP Facility, or (y) any other Indebtedness
when due in excess of $50,000,000 or the default by any Seller Party or Provider in the performance of
any term, provision or condition contained in any agreement under which any such Indebtedness was
created or is governed (other than (i) any required prepayment of Indebtedness secured by a Permitted
Lien (as defined in the Dean Credit Agreement) that becomes due as the result of the disposition of the
assets subject to such Lien (as defined in the Dean Credit Agreement) so long as such disposition is
permitted by this Agreement and permitted or not prohibited by the Financing Orders or (ii) any such
defaults that occur solely as a result of the commencement of the Chapter 11 Cases), the effect of which is
to cause, or to permit the holder or holders of such Indebtedness to cause, such Indebtedness to become


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due prior to its stated maturity or any such Indebtedness of any Seller Party or Provider or any of its
Subsidiaries shall be declared to be due and payable or required to be prepaid (other than by a regularly
scheduled payment) prior to the date of maturity thereof; provided, for the avoidance of doubt, that this
clause (c) shall not be caused by any Indebtedness of any Filing Debtor that was incurred prior to the
Filing Date (or, if later, the date on which such Person became a Filing Debtor) to the extent the remedies
under such Indebtedness relating to the event or condition that would otherwise cause this clause (c) are
subject to the automatic stay under section 362 of the Bankruptcy Code.
                  (d)      (i) Any Seller shall generally not pay its debts as such debts become due or shall
admit in writing its inability to pay its debts generally or shall make a general assignment for the benefit
of creditors, or (ii) any proceeding shall be instituted by or against any Seller seeking to adjudicate it
bankrupt or insolvent, or seeking liquidation, winding up, reorganization, arrangement, adjustment,
protection, relief or composition of it or its debts under any law relating to bankruptcy, insolvency or
reorganization or relief of debtors, or seeking the entry of an order for relief or the appointment of a
receiver, trustee or other similar official for it or any substantial part of its property or (iii) any Seller shall
take any corporate action to authorize any of the actions set forth in clauses (i) or (ii) above in this
paragraph ‎(d).
                  (e)    Any Seller shall fail to comply with the terms of ‎Section 2.6 hereof and such
failure shall not have been remedied within one Business Day.
                 (f)      (i) As at the end of any calendar month, the average of the Default Ratios for the
three most recently-ended calendar months shall exceed 4.50%, or (ii) as at the end of any calendar
month, the average of the Dilution Ratios for the three most recently-ended calendar months shall exceed
2.25%, or (iii) as at the end of any calendar month, the average of the Delinquency Ratios for the three
most recently-ended calendar months shall exceed 2.50%.
                 (g)      A Change of Control shall occur.
                (h)       (i) One or more final judgments for the payment of money shall be entered
against any Seller or (ii) one or more final judgments for the payment of money in an amount in excess of
$50,000,000, individually or in the aggregate, shall be entered against any Servicer on claims not covered
by insurance or as to which the insurance carrier has denied its responsibility, and such judgment shall
continue unsatisfied and in effect for thirty (30) consecutive days without a stay of execution.
                (i)     The “Termination Date” under and as defined in any Receivables Sale
Agreement shall occur under any such Receivables Sale Agreement or any Seller or any Originator shall
fail to observe any term or condition of any Receivables Sale Agreement or shall waive its right to
enforce the terms and conditions of any Receivables Sale Agreement, or any Originator shall for any
reason cease to transfer, or cease to have the legal capacity to transfer, or otherwise be incapable of
transferring Receivables to any Seller under any Receivables Sale Agreement (other than an Immaterial
Originator which ceases to transfer Receivables subject to and in accordance with ‎Section 1.7 of any
Receivables Sale Agreement).
                 (j)      This Agreement shall terminate in whole or in part (except in accordance with its
terms), or shall cease to be effective or to be the legally valid, binding and enforceable obligation of any
Seller, or any Obligor shall directly or indirectly contest in any manner such effectiveness, validity,
binding nature or enforceability, or the Agent for the benefit of the Purchasers shall cease to have a valid
and perfected first priority security interest in the Receivables, the Related Security and the Collections
with respect thereto and the Collection Accounts.
                (k)    Provider shall fail to perform or observe any term, covenant or agreement
required to be performed by it under any Performance Undertaking, or any Performance Undertaking


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shall cease to be effective or to be the legally valid, binding and enforceable obligation of Provider, or
Provider shall directly or indirectly contest in any manner such effectiveness, validity, binding nature or
enforceability.
                   (l)      Any Person shall be appointed as an Independent Manager of a Seller without
prior notice thereof having been given to the Agent in accordance with ‎Section 7.1(b)(vii) or without the
written acknowledgement by the Agent that such Person conforms, to the satisfaction of the Agent, with
the criteria set forth in the definition herein of “Independent Manager”
                  (m)     (i) Provider shall fail to own, free and clear of any Adverse Claims (except any
Adverse Claim in favor of the Collateral Agent in accordance with the Dean Credit Agreement), in the
aggregate, either directly or indirectly, 100% of the limited partnership interests of Dairy Group and
99.9% of the partnership interests of Dairy Group, or Dairy Group Receivables GP, LLC (f/k/a Suiza
Receivables GP, LLC) shall fail to own, free and clear of any Adverse Claims (except any Adverse Claim
in favor of the Collateral Agent in accordance with the Dean Credit Agreement), 100% of the general
partnership interests of Dairy Group and 0.1% of the partnership interests of Dairy Group, or Provider and
Suiza Dairy Group, LLC shall fail to own, free and clear of any Adverse Claims (except any Adverse
Claim in favor of the Collateral Agent in accordance with the Dean Credit Agreement), in the aggregate,
either directly or indirectly, 100% of the membership interests of Dairy Group Receivables GP, LLC.
                         (ii)    Provider shall fail to own, free and clear of any Adverse Claims (except
        any Adverse Claim in favor of the Collateral Agent in accordance with the Dean Credit
        Agreement), in the aggregate, either directly or indirectly, 100% of the limited partnership
        interests of Dairy Group II and 99.9% of the partnership interests of Dairy Group II, or Dairy
        Group Receivables GP II, LLC shall fail to own, free and clear of any Adverse Claims (except
        any Adverse Claim in favor of the Collateral Agent in accordance with the Dean Credit
        Agreement), 100% of the general partnership interests of Dairy Group II and 0.1% of the
        partnership interests of Dairy Group II, or Provider and Dean Dairy Holdings, LLC shall fail to
        own, free and clear of any Adverse Claims (except any Adverse Claim in favor of the Collateral
        Agent in accordance with the Dean Credit Agreement), in the aggregate, either directly or
        indirectly, 100% of the membership interests of Dairy Group Receivables GP II, LLC.
                 (n)     (x) An Event of Default (as defined in the Dean Credit Agreement) resulting
from the failure to observe or perform any covenant, condition or agreement contained in Section 5.14 of
the Dean Credit Agreement occurs or shall be deemed to have occurred thereunder or (y) any other Event
of Default (as defined in the Dean Credit Agreement) (other than an Event of Default resulting from the
failure to observe or perform any covenant, condition or agreement contained in Section 5.14 of the Dean
Credit Agreement) shall have occurred and be continuing thereunder and such Event of Default (as
defined in the Dean Credit Agreement) has not be waived by the lenders under the Dean Credit
Agreement;
                 (o)     Any Seller or any member of the Provider Group shall voluntarily or
involuntarily dissolve or be dissolved, liquidate, or be liquidated, or file a motion with the Bankruptcy
Court seeking (or support or consent to any person seeking) authorization to so dissolve or liquidate
(including, without limitation, in any Insolvency Proceeding);
                 (p)    Any Letter of Credit is drawn upon and is not fully reimbursed by the applicable
Seller (whether by a Participation Advance or otherwise) within two (2) Business Days from the date it is
required to be reimbursed by the Seller pursuant to ‎Section 1.9(b);
                 (q)    An order with respect to (i) any of the Chapter 11 Cases shall be entered by the
Bankruptcy Court (or any member of the Provider Group shall file an application or motion or pleading
for entry of or in support of an order) (i) dismissing or converting to a case under section 1112 of the


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Bankruptcy Code or otherwise to a case under Chapter 7 of the Bankruptcy Code or (ii) appointing a
trustee under Chapter 7 or Chapter 11 of the Bankruptcy Code, a responsible officer under section 1104 of
the Bankruptcy Code, or an examiner with enlarged powers relating to the operation of the business
(powers beyond those set forth in Sections 1106(a)(3) and (4) of the Bankruptcy Code) relating to the
operation of the business under section 1106(b) of the Bankruptcy Code;
                 (r)     An order of the Bankruptcy Court shall be entered in any of the Chapter 11 Cases
(i) staying, reversing, vacating, amending, supplementing or otherwise modifying any of the Financing
Orders or any member of the Provider Group shall apply for authority to do so or (ii) permitting any
administrative expense or any claim (now existing or hereafter arising, of any kind or nature whatsoever)
to have administrative priority as to any member of the Provider Group, equal to or superior to the
priority of the Superpriority Claims granted to the Agent or any other Secured Party other than the “Carve
Out” (as defined in the Financing Orders) and the pari passu administrative expense claim granted
pursuant to the DIP Order (as defined in the Financing Orders) to the DIP Agent and the other DIP
Secured Parties (in each case, as defined in the DIP Order), in each case, without the prior written consent
of the Agent;
                (s)      Any member of the Provider Group shall file a pleading seeking or consenting to
the matters described in clauses (q) or (r) above;
                 (t)     Any member of the Provider Group shall oppose, or support (in any such case by
way of any motion or other pleading filed with the Bankruptcy Court) any other Person’s opposition of,
any motion made in the Bankruptcy Court by the Agent or any other Secured Party seeking confirmation
of the validity, priority or extent of the liens or other interests of the Agent granted pursuant to the
Transaction Documents;
                 (u)      The filing by any member of the Provider Group of any motion or proceeding to
approve a DIP Facility or provide for any other relief that grants a lien on any Pool Assets without the
prior written consent of the Agent;
                (v)     The entry of an order authorizing recovery by any Person from the Pool Assets
for any costs of preservation or disposition thereof under Section 506(c) of the Bankruptcy Code or the
filing by any member of the Provider Group of a motion seeking such an order;
                (w)      The filing by any member of the Provider Group of any motion or proceeding
that could reasonably be expected to result in material impairment of the Agent’s or any Secured Party’s
rights under the Transaction Documents; or a final determination by the Bankruptcy Court (or any other
court of competent jurisdiction) with respect to any motion or proceeding brought by any other party that
results in any material impairment of the Agent’s or any Secured Party’s rights under the Transaction
Documents, unless such suit or other proceeding is in connection with the enforcement of the Transaction
Documents against the Agent;
                 (x)      The entry of one or more orders granting relief from the automatic stay with
respect to any proceeding involving any member of the Provider Group (excluding each Seller), so as to
allow any third party to proceed against (i) the assets of any member of the Provider Group (excluding
each Seller) constituting Pool Assets, which have a value in excess of $5,000,000 in the aggregate or (ii)
the equity of any Seller;
                (y)     The existence of any Adverse Claim on any Pool Assets;
              (z)      Any member of the Provider Group makes any payment on any Indebtedness of
any member of the Provider Group arising before the Filing Date, other than as permitted by order of the
Bankruptcy Court or as otherwise agreed to by the Agent;


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                (aa)     A Final Order shall not have been entered within 45 days following the Filing
Date (or such later date as consented to in writing by the Agent in its sole and absolute discretion); or
from and after the date of entry thereof, the Final Order shall cease to be in full force and effect (or shall
have been vacated, stayed, reversed, modified or amended), in each case without the prior written consent
of the Agent and each Purchaser;
                (bb)   Provider or any of its Affiliates shall fail to comply with any provision of the
applicable Financing Order;
                 (cc)    Any member of the Provider Group filing, proposing, supporting, or failing to
contest in good faith the filing or confirmation of a plan or a motion seeking approval of a sale of all or
substantially all of the Purchaser Group’s assets that, in either case, does not provide for indefeasible
payment in full in cash of all obligations owed by any member of the Provider Group (excluding each
Seller) to the Purchasers (other than Contingent Obligations not yet due and payable as of the effective
date of such plan) upon effectiveness;
                 (dd)     Either (i) an order of the Bankruptcy Court shall be entered in any of the Chapter
11 Cases, after the entry of an order approving the Transaction Documents, approving a DIP Facility that
is not an Eligible DIP Facility or (ii) any member of the Provider Group (excluding each Seller) enters
into a DIP Facility that is not an Eligible DIP Facility;
                 (ee)    The Bankruptcy Court shall enter an order denying or terminating the Provider
Group’s use of prepetition cash collateral, and the Provider Group has not obtained the use of cash
collateral (consensually or non-consensually);
               (ff)    If any Seller or any member of the Provider Group is enjoined, restrained or in
any way prevented by an order of a court of competent jurisdiction (other than an order of the Bankruptcy
Court approved by the Agent) from continuing to conduct all or any material part of its business or
affairs; or
                  (gg)    If any Seller is determined by the Bankruptcy Court (or other court of competent
jurisdiction) to be substantively consolidated with any other member of the Provider Group.
Notwithstanding the foregoing, for the avoidance of doubt, the commencement and continuation of the
Chapter 11 Cases, or any action taken to approve the commencement of the Chapter 11 Cases shall not
constitute an Amortization Event or a Potential Amortization Event.
           Section 9.2      Remedies. Subject in all respects to the terms of the Financing Orders (including
any notice periods therein), upon the occurrence and during the continuation of an Amortization Event,
the Agent may, or upon the direction of the Required Purchasers shall, take any of the following actions:
(i) replace any Person then acting as Servicer, (ii) declare the Amortization Date to have occurred,
whereupon the Amortization Date shall forthwith occur, without demand, protest or further notice of any
kind, all of which are hereby expressly waived by each Seller Party; provided, however, that (A) upon the
occurrence of an Amortization Event described in ‎Section 9.1(d)(ii), or of an actual or deemed entry of an
order for relief with respect to any Seller Party under the Bankruptcy Code, the Amortization Date shall
automatically occur, without demand, protest or any notice of any kind, all of which are hereby expressly
waived by each Seller Party and (B) upon the occurrence of an Amortization Event described in ‎Section
9.1(a), ‎9.1(d) or ‎9.1(e), by three (3) Business Days’ notice to the Agent, each other Purchaser and the
Administrative Seller, the affected Financial Institution in the case of a ‎Section 9.1(a) Amortization Event
and any Financial Institution in the case of a ‎Section 9.1(d) or ‎9.1(e) Amortization Event may terminate
its Commitment hereunder whereupon such Financial Institution shall be deemed to be a “Terminating
Financial Institution” for the purposes hereof, (iii) to the fullest extent permitted by Applicable Law,
declare that the Default Fee shall accrue with respect to any of the Aggregate Unpaids outstanding at such


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time, (iv) deliver the Collection Notices to the Collection Banks, (v) notify Obligors of the Purchasers’
interest in the Receivables, and (vi) notify Provider of the Purchaser’s interest in the Demand Notes, make
demand for any and all payments due thereunder and direct that such payments be made directly to the
Agent or its designee. The aforementioned rights and remedies shall be without limitation, and shall be in
addition to all other rights and remedies of the Agent and the Purchasers otherwise available under any
other provision of this Agreement, by operation of law, at equity or otherwise, all of which are hereby
expressly preserved, including, without limitation, all rights and remedies provided under the UCC, all of
which rights shall be cumulative.
                                             ARTICLE X
                                          INDEMNIFICATION
          Section 10.1 Indemnities by the Seller Parties. Without limiting any other rights that the
Agent, the LC Bank, any Purchaser, any Funding Source or any of their respective Affiliates may have
hereunder or under Applicable Law, (A) each Seller hereby agrees to indemnify (and pay upon demand
to) the Agent, the LC Bank, each Purchaser, each Funding Source and their respective Affiliates, assigns,
officers, directors and employees (each an “Indemnified Party”) from and against any and all damages,
losses, claims, liabilities, costs, expenses and for all other amounts payable, including reasonable
attorneys’ fees (which attorneys may be employees of any Indemnified Party) and disbursements (all of
the foregoing being collectively referred to as “Indemnified Amounts”) awarded against or incurred by
any of them arising out of or as a result of this Agreement, or the use of the proceeds of any Purchase
hereunder, or the acquisition, funding or ownership, either directly or indirectly, by a Purchaser or a
Funding Source of a Purchaser Interest or of an interest in the Receivables, or any Receivable or any
Contract or any Writing, or the issuance of any Letters of Credit in connection with this Agreement or the
making of any Participation Advances in connection therewith, or any action of any Seller Party, any
Originator or any Affiliate of any of the foregoing and (B) the Servicers hereby agree to indemnify (and
pay upon demand to) each Indemnified Party for Indemnified Amounts awarded against or incurred by
any of them arising out of any Servicer’s activities as Servicer hereunder excluding, however, in all of the
foregoing instances under the preceding clauses (A) and (B):
                       (i)      Indemnified Amounts to the extent a final judgment of a court of
        competent jurisdiction holds that such Indemnified Amounts resulted from gross negligence or
        willful misconduct on the part of the Indemnified Party seeking indemnification; or
                        (ii)     Indemnified Amounts to the extent the same includes losses in respect of
        Receivables that are uncollectible on account of the insolvency, bankruptcy or lack of
        creditworthiness of the related Obligor;
provided, however, that nothing contained in this sentence shall limit the liability of any Seller Party or
limit the recourse of the Purchasers to any Seller Party for amounts otherwise specifically provided to be
paid by such Seller Party under the terms of this Agreement. Without limiting the generality of the
foregoing indemnification, each Seller Party shall indemnify each Indemnified Party for Indemnified
Amounts (including, without limitation, losses in respect of uncollectible receivables, regardless of
whether reimbursement therefor would constitute recourse to any Seller or any Servicer) relating to or
resulting from:
                         (i)      any representation or warranty made by any Seller Party or any
        Originator in its capacity as a seller under any Receivables Sale Agreement (or any officers of
        any such Person) under or in connection with this Agreement, any other Transaction Document or
        any other information or report delivered by any such Person pursuant hereto or thereto, which
        shall have been false or incorrect when made or deemed made;




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                  (ii)    the failure by any Seller, any Servicer, any Originator to comply with
 any applicable law, rule or regulation with respect to any Receivable or Writing or Contract
 related thereto, or the nonconformity of any Receivable or Writing or Contract included therein
 with any such applicable law, rule or regulation or any failure of any Originator to keep or
 perform any of its obligations, express or implied, with respect to the Writing or Contract;
                 (iii)    any failure of any Seller, any Servicer, any Originator to perform its
 duties, covenants or other obligations in accordance with the provisions of this Agreement or any
 other Transaction Document;
                 (iv)     any products liability, personal injury or damage suit, or other similar
 claim arising out of or in connection with merchandise, insurance or services that are the subject
 of any Writing or Contract or any Receivable;
                  (v)      any dispute, claim, offset or defense (other than discharge in bankruptcy
 of the Obligor) of the Obligor to the payment of any Receivable (including, without limitation, a
 defense based on such Receivable or the related Writing or Contract not being a legal, valid and
 binding obligation of such Obligor enforceable against it in accordance with its terms), or any
 other claim resulting from the sale of the merchandise or service related to such Receivable or the
 furnishing or failure to furnish such merchandise or services;
                 (vi)     the commingling of Collections of Receivables at any time with other
 funds;
                   (vii)    any investigation, litigation or proceeding related to or arising from this
 Agreement or any other Transaction Document, the transactions contemplated hereby, the use of
 the proceeds of an Incremental Purchase, a Reinvestment or drawings under any Letter of Credit,
 the ownership of the Purchaser Interests, the issuance of any Letters of Credit or any other
 investigation, litigation or proceeding relating to any Seller, any Servicer, any Originator in which
 any Indemnified Party becomes involved as a result of any of the transactions contemplated
 hereby;
                 (viii) any inability to litigate any claim against any Obligor in respect of any
 Receivable as a result of such Obligor being immune from civil and commercial law and suit on
 the grounds of sovereignty or otherwise from any legal action, suit or proceeding;
                 (ix)     any Amortization Event described in ‎Section 9.1(d);
                 (x)      any failure of any Seller to acquire and maintain legal and equitable title
 to, and ownership of any Receivable and the Related Security and Collections with respect
 thereto from the applicable Originator, free and clear of any Adverse Claim (other than as created
 hereunder); or any failure of any Seller to give reasonably equivalent value to applicable
 Originator under the Receivables Sale Agreement to which it is a party in consideration of the
 transfer thereunder by such Originator of any Receivable or any attempt by any Person to void
 such transfer under statutory provisions or common law or equitable action;
                 (xi)     any failure to vest and maintain vested in the Agent for the benefit of the
 Purchasers, or to transfer to the Agent for the benefit of the Purchasers, legal and equitable title
 to, and ownership of, a first priority perfected undivided percentage ownership interest (to the
 extent of the Purchaser Interests contemplated hereunder) or security interest in the Receivables,
 the Related Security and the Collections, free and clear of any Adverse Claim (except as created
 by the Transaction Documents);



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                        (xii)   the failure to have filed, or any delay in filing, financing statements or
        other similar instruments or documents under the UCC of any applicable jurisdiction or other
        applicable laws with respect to any Receivable, the Related Security and Collections with respect
        thereto, and the proceeds of any thereof, whether at the time of any Incremental Purchase or
        Reinvestment or at any subsequent time;
                        (xiii) any action or omission by any Seller Party that reduces or impairs the
        rights of the Agent or the Purchasers with respect to any Receivable or the value of any such
        Receivable;
                       (xiv) any attempt by any Person to void any Incremental Purchase or
        Reinvestment hereunder under statutory provisions or common law or equitable action; and
                      (xv)    the failure of any Receivable included in the calculation of the Net
        Receivables Balance as an Eligible Receivable to be an Eligible Receivable at the time so
        included.
This Section 10.1 shall not apply with respect to Taxes other than any Taxes that represent damages,
losses, claims, liabilities, costs, or expenses arising from any non-Tax claim.
         Section 10.2   Increased Cost and Reduced Return.
                 (a)      If any Regulatory Requirement (i) subjects the LC Bank, any Purchaser or any
Funding Source (in such capacity, each, an “Affected Person”) to any Taxes on or with respect to any
Funding Agreement or this Agreement or the LC Bank’s, a Purchaser’s or Funding Source’s commitment
or other obligations under a Funding Agreement or this Agreement, or on or with respect to the
Receivables, any Purchaser Interest, any Letter of Credit or any Participation Advances, or changes the
basis of taxation of payments to any Purchaser or any Funding Source of any amounts payable under any
Funding Agreement or this Agreement (in each case, other than the following Taxes or changes in the rate
of the following Taxes: (A) Indemnified Taxes, (B) Taxes described in clauses ‎(b) through ‎(d) of the
definition of Excluded Taxes and (C) Connection Income Taxes), (ii) imposes, modifies or deems
applicable any reserve, assessment, fee, tax, insurance charge, special deposit or similar requirement
against assets of, deposits with or for the account of, or liabilities of the LC Bank, a Funding Source or a
Purchaser, or credit extended by the LC Bank, a Funding Source or a Purchaser pursuant to a Funding
Agreement or this Agreement or (iii) imposes any other condition (other than Taxes) the result of which is
to increase the cost to the LC Bank, a Funding Source or a Purchaser of maintaining its commitment or
performing its other obligations under a Funding Agreement or this Agreement, or to reduce the rate of
return on the LC Bank’s, a Funding Source’s or Purchaser’s capital or assets as a consequence of its
commitment or other obligations under a Funding Agreement or this Agreement, or to reduce the amount
of any sum received or receivable by the LC Bank, a Funding Source or a Purchaser under a Funding
Agreement or this Agreement, or to require any payment calculated by reference to the amount of
interests or loans held or interest received by it, then, upon demand by the Agent, the Sellers shall pay to
the Agent, for the benefit of the LC Bank, the relevant Funding Source or the Purchaser, as applicable,
such amounts charged to such LC Bank, Funding Source or Purchaser or such amounts to otherwise
compensate such LC Bank, Funding Source or such Purchaser for such increased cost or such reduction.
The term “Regulatory Requirement” shall mean (i) the adoption after the date hereof of any applicable
law, rule or regulation (including any applicable law, rule or regulation regarding capital adequacy or
liquidity coverage) or any change therein after the date hereof or (ii) any change after the date hereof in
the interpretation or administration thereof by any Governmental Authority, or compliance with any
request or directive (whether or not having the force of law) of any such Governmental Authority;
provided that for purposes of this definition, (x) the United States bank regulatory rule titled Risk-Based
Capital Guidelines; Capital Adequacy Guidelines; Capital Maintenance: Regulatory Capital; Impact of


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Modification to Generally Accepted Accounting Principles; Consolidation of Asset-Backed Commercial
Paper Programs; and Other Related Issues, adopted on December 15, 2009, (y) the Dodd-Frank Wall
Street Reform and Consumer Protection Act and all requests, rules, regulations, guidelines, interpretations
or directives thereunder, issued in connection therewith or in implementation thereof (whether or not
having the force of law), and (z) all requests, rules, regulations, guidelines, interpretations or directives
promulgated by the Bank for International Settlements, the Basel Committee on Banking Supervision (or
any successor or similar authority) or the United States or foreign regulatory authorities (whether or not
having the force of law), shall in each case be deemed to be a “Regulatory Requirement” adopted after the
date hereof, regardless of the date enacted, adopted, issued, promulgated or implemented. The Sellers
acknowledge that any LC Bank, Funding Source or Purchaser may institute measures in anticipation of a
final or proposed Regulatory Requirement (including, without limitation, the imposition of internal
charges on such LC Bank’s, Funding Source’s or Purchaser’s interests or obligations under this
Agreement), and may commence allocating charges to or seeking compensation from the Sellers under
this ‎Section 10.2 in connection with such measures, in advance of the effective date of such final or
proposed Regulatory Requirement, and the Sellers agree to pay such charges or compensation to the
Agent, for the benefit of such LC Bank, Funding Source or Purchaser, following demand therefor without
regard to whether such proposed Regulatory Requirement has been adopted or whether such effective
date has occurred. The Sellers further acknowledge that any charge or compensation demanded
hereunder may take the form of a monthly charge to be assessed by such LC Bank, Purchaser or Funding
Source.
                (b)      A certificate of the applicable LC Bank, Purchaser or Funding Source setting
forth the amount or amounts necessary to compensate such LC Bank, Purchaser or Funding Source
pursuant to paragraph ‎(a) of this ‎Section 10.2 shall be delivered to the Sellers and shall be conclusive
absent manifest error. The Sellers shall pay the Agent, for distribution to such LC Bank, Purchaser or
Funding Source, the amount as due on any such certificate on the next Settlement Date following receipt
of such notice.
                (c)     If any Purchaser or any Funding Source has or anticipates having any claim for
compensation from the Seller pursuant to clause (iii) of the definition of Regulatory Requirement
appearing in paragraph ‎(a) of this ‎Section 10.2, and such Purchaser or Funding Source believes that
having the facility publicly rated by one credit rating agency would reduce the amount of such
compensation by an amount deemed by such Purchaser or Funding Source to be material, such Purchaser
or Funding Source shall provide written notice to the Sellers and the Servicer (a “Ratings Request”) that
such Purchaser or Funding Source intends to request a public rating of the facility from one credit rating
agency selected by such Purchaser or Funding Source and reasonably acceptable to the Sellers, of at least
“A” or its equivalent (the “Required Rating”). The Sellers and the Servicer agree that they shall
cooperate with such Purchaser’s or Funding Source’s efforts to obtain the Required Rating, and shall
provide the applicable credit rating agency (either directly or through distribution to the Agent, Purchaser
or Funding Source), any information requested by such credit rating agency for purposes of providing and
monitoring the Required Rating. The Purchasers shall pay the initial fees payable to the credit rating
agency for providing the rating and the Sellers shall pay all ongoing fees payable to the credit rating
agency for their continued monitoring of the rating. Nothing in this ‎Section 10.2(c) shall preclude any
Purchaser or Funding Source from demanding compensation from the Seller pursuant to ‎Section 10.2(a)
hereof at any time and without regard to whether the Required Rating shall have been obtained, or shall
require any Purchaser or Funding Source to obtain any rating on the facility prior to demanding any such
compensation from the Sellers.
                (d)     Notwithstanding anything to the contrary, for purposes of this ‎Section 10.2, (i)
the Dodd-Frank Wall Street Reform and Consumer Protection Act, and all requests, rules, guidelines and
directives promulgated thereunder and (ii) all requests, rules, guidelines or directives promulgated by the
Bank for International Settlements, the Basel Committee on Banking Supervision (or any successor or

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similar authority) or any Governmental Authority, any central bank of any jurisdiction, comparable
agency or other Person, in each case pursuant to, or implementing, the accord known as Basel III, are, in
the case of each of clause (i) and clause (ii) above, deemed to have been introduced or adopted after the
date hereof, regardless of the date enacted, adopted, issued, promulgated or implemented.
          Section 10.3 Other Costs and Expenses. Each Seller Party shall reimburse the Agent, the LC
Bank and each Purchaser on demand for all costs and out-of-pocket expenses in connection with the
preparation, execution, delivery and administration of this Agreement, the transactions contemplated
hereby and the other documents to be delivered hereunder, including without limitation, the cost of any
auditors auditing the books, records and procedures of any Seller Party on behalf of the Agent, the LC
Bank or the Purchasers (subject to the limitations set forth in ‎Section 7.1(d) with respect to annual audits),
reasonable fees and out-of-pocket expenses of legal counsel for each Purchaser, the LC Bank and the
Agent (which such counsel may be employees of any Purchaser, the LC Bank or the Agent) with respect
thereto and with respect to advising any Purchaser, the LC Bank or the Agent as to their respective rights
and remedies under this Agreement. Each Seller Party shall reimburse the Agent on demand for any and
all costs and expenses of the Agent, the LC Bank and the Purchasers, if any, including reasonable counsel
fees and expenses in connection with the enforcement of this Agreement and the other documents
delivered hereunder and in connection with any restructuring or workout of this Agreement or such
documents, or the administration of this Agreement following an Amortization Event. Each Seller Party
shall reimburse each Company on demand for all other costs and expenses incurred by such Company
(“Other Costs”), including, without limitation, the cost of auditing such Company’s books by certified
public accountants, the cost of rating the Commercial Paper by independent financial rating agencies, and
the reasonable fees and out-of-pocket expenses of counsel for such Company or any counsel for any
shareholder of such Company with respect to advising such Company or such shareholder as to matters
relating to such Company’s operations. This ‎Section 10.3 shall not apply with respect to Taxes, which
shall be governed exclusively by ‎Section 10.7.
          Section 10.4 Allocations. Each Company shall allocate the liability for Other Costs among the
Sellers and other Persons with whom such Company has entered into agreements to purchase interests in
receivables (“Other Sellers”). If any Other Costs are attributable to the Sellers and not attributable to any
Other Seller, the Sellers shall be solely liable for such Other Costs. However, if Other Costs are
attributable to Other Sellers and not attributable to the Sellers, such Other Sellers shall be solely liable for
such Other Costs. All allocations to be made pursuant to the foregoing provisions of this ‎Article X shall
be made by the applicable Company in its sole discretion and shall be binding on the Sellers and the
Servicers.




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          Section 10.5 Accounting Based Consolidation Event. Upon demand by the Agent, the Sellers
shall pay to the Agent, for the benefit of the relevant Funding Source, such amounts as such Funding
Source reasonably determines will compensate or reimburse such Funding Source for any (i) fee, expense
or increased cost charged to, incurred or otherwise suffered by such Funding Source, (ii) reduction in the
rate of return on such Funding Source’s capital or reduction in the amount of any sum received or
receivable by such Funding Source or (iii) internal capital charge or other imputed cost determined by
such Funding Source to be allocable to the Sellers or the transactions contemplated in this Agreement, in
each case resulting from or in connection with the consolidation, for financial and/or regulatory
accounting purposes, of all or any portion of the assets and liabilities of Company or, if applicable, its
related commercial paper issuer, that are subject to this Agreement or any other Transaction Document
with all or any portion of the assets and liabilities of a Funding Source. Amounts under this ‎Section 10.5
may be demanded at any time without regard to the timing of issuance of any financial statement by the
Conduit or by any Funding Source. A certificate of the Funding Source setting forth the amount or
amounts necessary to compensate such Funding Source pursuant to this ‎Section 10.5 shall be delivered to
the Sellers and shall be conclusive absent manifest error. The Sellers shall pay such Funding Source the
amount as due on any such certificate on the next Settlement Date following receipt of such notice.
          Section 10.6 Required Ratings. The Agent shall have the right at any time to request that a
public rating of the Purchaser Interests of at least “AA” or its equivalent (the “Agent Required Rating”)
be obtained from one credit rating agency acceptable to the Agent. Each of the Sellers and the Servicer
agree that they shall cooperate with the Agent’s efforts to obtain the Agent Required Rating, and shall
provide the Agent, for distribution to the applicable credit rating agency, any information requested by
such credit rating agency for purposes of providing the Agent Required Rating. Any such request (a
“Agent Ratings Request”) shall be in writing, and if the Agent Required Rating is not obtained within 60
days following the date of such Agent Ratings Request (unless the failure to obtain the Agent Required
Rating is solely the result of the Agent’s failure to provide the credit rating agency with sufficient
information to permit the credit rating agency to perform its analysis, and is not the result of the Sellers’
or the Servicer’s failure to cooperate or provide sufficient information to the Agent), (i) upon written
notice by the Agent to the Sellers, which notice shall be given no less than 60 days following such failure
to obtain the Agent Required Rating, the Amortization Date shall occur, and (ii) outstanding Capital shall
thereafter incur the Default Fee. The Purchasers shall pay the initial fees payable to the credit rating
agency for providing the Agent Required Rating, and the Sellers shall pay all ongoing fees payable to the
credit rating agency for its continued monitoring of the Agent Required Rating.
         Section 10.7    Taxes.
                 (a)     Payments Free of Taxes. Any and all payments by or on account of any
obligation of any Seller under any Transaction Document shall be made without deduction or withholding
for any Taxes, except as required by Applicable Law. If any Applicable Law (as determined in the good
faith discretion of an applicable Withholding Agent) requires the deduction or withholding of any Tax
from any such payment by a Withholding Agent, then the applicable Withholding Agent shall be entitled
to make such deduction or withholding and shall timely pay the full amount deducted or withheld to the
relevant Governmental Authority in accordance with Applicable Law and, if such Tax is an Indemnified
Tax, then the sum payable by the applicable Seller shall be increased as necessary so that after such
deduction or withholding has been made (including such deductions and withholdings applicable to
additional sums payable under this ‎Section 10.7) the applicable Recipient receives an amount equal to the
sum it would have received had no such deduction or withholding for Indemnified Taxes been made.
                 (b)     Payment of Other Taxes by the Seller. The Seller shall timely pay to the relevant
Governmental Authority in accordance with Applicable Law, or at the option of the Agent timely
reimburse it for, Other Taxes.



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                  (c)    Evidence of Payments. As soon as practicable after any payment of Taxes by
any Seller to a Governmental Authority pursuant to this ‎Section 10.7, such Seller shall deliver to the
Agent the original or a certified copy of a receipt issued by such Governmental Authority evidencing such
payment, a copy of the return reporting such payment or other evidence of such payment reasonably
satisfactory to the Agent.
                 (d)    Indemnification by the Sellers. The Sellers shall indemnify each Recipient,
within 10 days after written demand therefor, for the full amount of any Indemnified Taxes (including
Indemnified Taxes imposed or asserted on or attributable to amounts payable under this Section) payable
or paid by such Recipient or required to be withheld or deducted from a payment to such Recipient and
any reasonable expenses arising therefrom or with respect thereto, whether or not such Indemnified Taxes
were correctly or legally imposed or asserted by the relevant Governmental Authority. A certificate
setting forth in reasonable detail the amount of such payment or liability delivered to the Sellers by a
Purchaser (with a copy to the Agent), or by the Agent on its own behalf or on behalf of a Purchaser, shall
be conclusive absent manifest error.
                 (e)      Indemnification by the Financial Institutions. Each Financial Institution shall
severally indemnify the Agent, within 10 days after demand therefor, for (i) any Indemnified Taxes
attributable to such Financial Institution or any Company in its Purchaser Group (but only to the extent
that any Seller has not already indemnified the Agent for such Indemnified Taxes and without limiting the
obligation of the Sellers to do so), (ii) any Taxes attributable to such Purchaser’s failure to comply with
the provisions of ‎Section 12.2 relating to the maintenance of a Participant Register and (iii) any Excluded
Taxes attributable to such Financial Institution or any Company in its Purchaser Group, in each case, that
are payable or paid by the Agent in connection with any Transaction Document, and any reasonable
expenses arising therefrom or with respect thereto, whether or not such Taxes were correctly or legally
imposed or asserted by the relevant Governmental Authority. A certificate as to the amount of such
payment or liability delivered to any Financial Institution by the Agent shall be conclusive absent
manifest error. Each Financial Institution hereby authorizes the Agent to set off and apply any and all
amounts at any time owing to such Financial Institution under any Transaction Document or otherwise
payable by the Agent to the Financial Institution from any other source against any amount due to the
Agent under this paragraph ‎(e).
                 (f)     Status of Purchasers. (i) Any Purchaser that is entitled to an exemption from or
reduction of withholding Tax with respect to payments made under any Transaction Document shall
deliver to the Sellers and the Agent, at the time or times reasonably requested by a Seller or the Agent,
such properly completed and executed documentation prescribed by Applicable Law or reasonably
requested by a Seller or the Agent as will permit such payments to be made without withholding or at a
reduced rate of withholding. In addition, any Purchaser, if reasonably requested by a Seller or the Agent,
shall deliver such other documentation prescribed by Applicable Law or reasonably requested by such
Seller or the Agent as will enable such Seller or the Agent to determine whether or not such Purchaser is
subject to backup withholding or information reporting requirements. Notwithstanding anything to the
contrary in the preceding two sentences, the completion, execution and submission of such documentation
(other than such documentation set forth in ‎Section 10.7(f)(ii)(A), ‎(ii)‎(B) and ‎(ii)‎(D) below) shall not be
required if in the Purchaser’s reasonable judgment such completion, execution or submission would
subject such Purchaser to any material unreimbursed cost or expense or would materially prejudice the
legal or commercial position of such Purchaser.
                          (ii)   Without limiting the generality of the foregoing, in the event that the
        Seller is a U.S. Person:
                                (A)      any Purchaser that is a U.S. Person shall deliver to the Sellers
                 and the Agent on or prior to the date on which such Purchaser becomes a Purchaser under


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       this Agreement (and from time to time thereafter upon the reasonable request of a Seller
       or the Agent), executed originals of IRS Form W-9 certifying that such Purchaser is
       exempt from U.S. Federal backup withholding tax;
                        (B)      any Foreign Purchaser shall, to the extent it is legally entitled to
       do so, deliver to the Sellers and the Agent (in such number of copies as shall be requested
       by the recipient) on or prior to the date on which such Foreign Purchaser becomes a
       Purchaser under this Agreement (and from time to time thereafter upon the reasonable
       request of a Seller or the Agent), whichever of the following is applicable;
                                  (1)   in the case of a Foreign Purchaser claiming the benefits
       of an income tax treaty to which the United States is a party (x) with respect to payments
       of interest under any Transaction Document, executed originals of IRS Form W-8BEN,
       W-8BEN-E or any successor form establishing an exemption from, or reduction of, U.S.
       Federal withholding Tax pursuant to the “interest” article of such tax treaty and (y) with
       respect to any other applicable payments under any Transaction Document, IRS Form W-
       8BEN, W-8BEN-E or any successor form establishing an exemption from, or reduction
       of, U.S. Federal withholding Tax pursuant to the “business profits” or “other income”
       article of such tax treaty;
                                (2)      executed originals of IRS Form W-8ECI;
                                (3)     in the case of a Foreign Purchaser claiming the benefits
       of the exemption for portfolio interest under Section 881(c) of the Code, (x) a certificate
       substantially in the form of Exhibit XII-1 to the effect that such Foreign Purchaser is not
       a “bank” within the meaning of Section 881(c)(3)(A) of the Code, a “10 percent
       shareholder” of either Seller within the meaning of Section 881(c)(3)(B) of the Code, or a
       “controlled foreign corporation” described in Section 881(c)(3)(C) of the Code (a “U.S.
       Tax Compliance Certificate”) and (y) executed originals of IRS Form W-8BEN, W-
       8BEN-E or any successor form; or
                                 (4)     to the extent a Foreign Purchaser is not the beneficial
       owner, executed originals of IRS Form W-8IMY, accompanied by IRS Form W-8ECI,
       IRS Form W-8BEN, W-8BEN-E or any successor form, a U.S. Tax Compliance
       Certificate substantially in the form of Exhibit XII-2 or Exhibit XII-3, IRS Form W-9,
       and/or other certification documents from each beneficial owner, as applicable; provided
       that if the Foreign Purchaser is a partnership and one or more direct or indirect partners of
       such Foreign Purchaser are claiming the portfolio interest exemption, such Foreign
       Purchaser may provide a U.S. Tax Compliance Certificate substantially in the form of
       Exhibit XII-4 on behalf of each such direct and indirect partner;
                        (C)      any Foreign Purchaser shall, to the extent it is legally entitled to
       do so, deliver to the Sellers and the Agent (in such number of copies as shall be requested
       by the recipient) on or prior to the date on which such Foreign Purchaser becomes a
       Purchaser under this Agreement (and from time to time thereafter upon the reasonable
       request of the Seller or the Agent), executed originals of any other form prescribed by
       Applicable Law as a basis for claiming exemption from or a reduction in U.S. Federal
       withholding Tax, duly completed, together with such supplementary documentation as
       may be prescribed by Applicable Law to permit the Seller or the Agent to determine the
       withholding or deduction required to be made; and
                    (D)     if a payment made to a Purchaser under any Transaction
       Document would be subject to U.S. Federal withholding Tax imposed by FATCA if such


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                Purchaser were to fail to comply with the applicable reporting requirements of FATCA
                (including those contained in Section 1471(b) or 1472(b) of the Code, as applicable),
                such Purchaser shall deliver to the Seller and the Agent at the time or times prescribed by
                law and at such time or times reasonably requested by the Seller or the Agent such
                documentation prescribed by Applicable Law (including as prescribed by
                Section 1471(b)(3)(C)(i) of the Code) and such additional documentation reasonably
                requested by the Seller or the Agent as may be necessary for the Seller and the Agent to
                comply with their obligations under FATCA and to determine that such Purchaser has
                complied with such Purchaser’s obligations under FATCA or to determine the amount to
                deduct and withhold from such payment. Solely for purposes of this clause ‎(D),
                “FATCA” shall include any amendments made to FATCA after the date of this
                Agreement.
Each Purchaser agrees that if any form or certification it previously delivered expires or becomes obsolete
or inaccurate in any respect, it shall update such form or certification or promptly notify the Sellers and
the Agent in writing of its legal inability to do so.
                  (g)      Treatment of Certain Refunds. If any party determines, in its sole discretion
exercised in good faith, that it has received a refund of any Taxes as to which it has been indemnified
pursuant to this ‎Section 10.7 (including by the payment of additional amounts pursuant to this ‎Section
10.7), it shall pay to the indemnifying party an amount equal to such refund (but only to the extent of
indemnity payments made under this ‎Section 10.7 with respect to the Taxes giving rise to such refund),
net of all out-of-pocket expenses (including Taxes) of such indemnified party and without interest (other
than any interest paid by the relevant Governmental Authority with respect to such refund). Such
indemnifying party, upon the request of such indemnified party, shall repay to such indemnified party the
amount paid over pursuant to this paragraph ‎(g) (plus any penalties, interest or other charges imposed by
the relevant Governmental Authority) in the event that such indemnified party is required to repay such
refund to such Governmental Authority. Notwithstanding anything to the contrary in this paragraph ‎(g),
in no event will the indemnified party be required to pay any amount to an indemnifying party pursuant to
this paragraph ‎(g) the payment of which would place the indemnified party in a less favorable net after-
Tax position than the indemnified party would have been in if the Tax subject to indemnification and
giving rise to such refund had not been deducted, withheld or otherwise imposed and the indemnification
payments or additional amounts with respect to such Tax had never been paid. This paragraph shall not
be construed to require any indemnified party to make available its Tax returns (or any other information
relating to its Taxes that it deems confidential) to the indemnifying party or any other Person.
                 (h)     Status of the Agent. Upon reasonable request by the Seller, Agent shall deliver
to the Seller, on or before the date on which it becomes the Agent hereunder, either (i) a duly executed
original IRS Form W-9 (or any applicable successor form) certifying that the Agent is not subject to
backup withholding, or (ii) (A) a duly completed executed original IRS Form W-8ECI to establish that
the Agent is not subject to withholding Taxes under the Internal Revenue Code with respect to any
amounts payable for the account of the Agent under any of the Transaction Documents and (B) a duly
executed original IRS Form W-8IMY (or applicable successor form) certifying that it is a U.S. branch that
has agreed to be treated as a U.S. person for United States federal withholding Tax purposes with respect
to payments received by it from the Seller for the account of others under the Transaction Documents.
The Agent shall promptly notify the Seller at any time it determines that it is no longer in a position to
provide the certification described in the preceding sentence. The Agent shall also, at the time or times
prescribed by law and at such time or times reasonably requested by the Seller, provide the Seller such
documentation as prescribed by applicable law (including as prescribed by Section 1471(b)(3)(C)(i) of the
Code) and such additional documentation reasonably requested by the Seller as may be necessary for the
Seller to comply with its FATCA obligations, to determine whether the Agent has or has not complied



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with its FATCA obligations, and to determine the amount, if any, to deduct and withhold from a payment
to the Agent.
                (i)     Survival. Each party’s obligations under this ‎Section 10.7 shall survive the
resignation or replacement of the Agent or any assignment of rights by, or the replacement of, a
Purchaser, the termination of the Commitments and the repayment, satisfaction or discharge of all
obligations under any Transaction Document.
              (j)      Defined Terms. For purposes of this ‎Section 10.7, the term “Purchaser” includes
the LC Bank and the term “Applicable Law” includes FATCA.
                                              ARTICLE XI
                                              THE AGENT
           Section 11.1 Authorization and Action. Each Purchaser hereby designates and appoints
Coöperatieve Rabobank U.A., New York Branch to act as its agent hereunder and under each other
Transaction Document, and authorizes the Agent to take such actions as agent on its behalf and to
exercise such powers as are delegated to the Agent by the terms of this Agreement and the other
Transaction Documents together with such powers as are reasonably incidental thereto. Each Purchaser
hereby consents to the terms of the Fee Letter and directs and authorizes the Agent to enter into the Fee
Letter on its behalf. The LC Bank hereby designates and appoints Coöperatieve Rabobank U.A., New
York Branch to act as its agent hereunder and under each other Transaction Document in respect of
protecting and maintaining the security interest granted under ‎Section 14.14(a), and authorizes the Agent
to take such actions as agent on its behalf and to exercise such powers as are delegated to the Agent by
the terms of this Agreement and the other Transaction Documents together with such powers as are
reasonably incidental thereto. The Agent shall not have any duties or responsibilities, except those
expressly set forth herein or in any other Transaction Document, or any fiduciary relationship with any
Purchaser or the LC Bank, and no implied covenants, functions, responsibilities, duties, obligations or
liabilities on the part of the Agent shall be read into this Agreement or any other Transaction Document or
otherwise exist for the Agent. In performing its functions and duties hereunder and under the other
Transaction Documents, the Agent shall act solely as agent for the Purchasers and the LC Bank to the
extent set forth herein, and does not assume nor shall be deemed to have assumed any obligation or
relationship of trust or agency with or for any Seller Party or any of such Seller Party’s successors or
assigns. The Agent shall not be required to take any action that exposes the Agent to personal liability or
that is contrary to this Agreement, any other Transaction Document or Applicable Law. The appointment
and authority of the Agent hereunder shall terminate upon the date on which the Commitments have
terminated, no Letters of Credit are outstanding and all Aggregate Unpaids have been indefeasibly paid in
full. The LC Bank and each Purchaser hereby authorizes the Agent to file such Uniform Commercial
Code financing statements against the Seller Parties as it may deem necessary or desirable in its sole
discretion.
          Section 11.2 Delegation of Duties. The Agent may execute any of its duties under this
Agreement and each other Transaction Document by or through agents or attorneys-in-fact and shall be
entitled to advice of counsel concerning all matters pertaining to such duties. The Agent shall not be
responsible for the negligence or misconduct of any agents or attorneys-in-fact selected by it with
reasonable care.
         Section 11.3 Exculpatory Provisions. Neither the Agent nor any of its directors, officers,
agents or employees shall be (i) liable for any action lawfully taken or omitted to be taken by it or them
under or in connection with this Agreement or any other Transaction Document (except for its, their or
such Person’s own gross negligence or willful misconduct), or (ii) responsible in any manner to the LC
Bank or any of the Purchasers for any recitals, statements, representations or warranties made by any


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Seller Party contained in this Agreement, any other Transaction Document or any certificate, report,
statement or other document referred to or provided for in, or received under or in connection with, this
Agreement, or any other Transaction Document or for the value, validity, effectiveness, genuineness,
enforceability or sufficiency of this Agreement, or any other Transaction Document or any other
document furnished in connection herewith or therewith, or for any failure of any Seller Party to perform
its obligations hereunder or thereunder, or for the satisfaction of any condition specified in ‎Article VI, or
for the perfection, priority, condition, value or sufficiency of any collateral pledged in connection
herewith. The Agent shall not be under any obligation to the LC Bank or any Purchaser to ascertain or to
inquire as to the observance or performance of any of the agreements or covenants contained in, or
conditions of, this Agreement or any other Transaction Document, or to inspect the properties, books or
records of the Seller Parties. The Agent shall not be deemed to have knowledge of any Amortization
Event or Potential Amortization Event unless the Agent has received notice from a Seller, the LC Bank or
a Purchaser.
          Section 11.4 Reliance by Agent. The Agent shall in all cases be entitled to rely, and shall be
fully protected in relying, upon any document or conversation believed by it to be genuine and correct and
to have been signed, sent or made by the proper Person or Persons and upon advice and statements of
legal counsel (including, without limitation, counsel to the Sellers), independent accountants and other
experts selected by the Agent. The Agent shall in all cases be fully justified in failing or refusing to take
any action under this Agreement or any other Transaction Document unless it shall first receive such
advice or concurrence of the LC Bank, the Required Purchasers or all of the Purchasers, as applicable, as
it deems appropriate and it shall first be indemnified to its satisfaction by the Financial Institutions,
provided that unless and until the Agent shall have received such advice, the Agent may take or refrain
from taking any action, as the Agent shall deem advisable and in the best interests of the LC Bank and the
Purchasers. The Agent shall in all cases be fully protected in acting, or in refraining from acting, in
accordance with a request of the LC Bank, the Required Purchasers or all of the Purchasers, as applicable,
and such request and any action taken or failure to act pursuant thereto shall be binding upon the LC Bank
and all the Purchasers.
          Section 11.5 Non-Reliance on Agent and Other Purchasers. Each Purchaser expressly
acknowledges that neither the Agent, nor any of its officers, directors, employees, agents, attorneys-in-
fact or Affiliates has made any representations or warranties to it and that no act by the Agent hereafter
taken, including, without limitation, any review of the affairs of any Seller Party, shall be deemed to
constitute any representation or warranty by the Agent. The LC Bank and each Purchaser represents and
warrants to the Agent that it has and will, independently and without reliance upon the Agent or any other
Purchaser and based on such documents and information as it has deemed appropriate, made its own
appraisal of and investigation into the business, operations, property, prospects, financial and other
conditions and creditworthiness of any Seller and made its own decision to enter into this Agreement, the
other Transaction Documents and all other documents related hereto or thereto.
          Section 11.6 Reimbursement and Indemnification. The Financial Institutions agree to
reimburse and indemnify the Agent and its officers, directors, employees, representatives and agents,
ratably based on the ratio of each Financial Institution’s Commitment to the aggregate Commitment (or,
following the termination of the Commitments, the ratio of Capital of the Purchaser Interests of the
Purchaser Group of which such Financial Institution is a part to the Aggregate Capital of all Purchaser
Interests), to the extent not paid or reimbursed by the Seller Parties (i) for any amounts for which the
Agent, acting in its capacity as Agent, is entitled to reimbursement by the Seller Parties hereunder and (ii)
for any other expenses incurred by the Agent, in its capacity as Agent and acting on behalf of the
Purchasers, in connection with the administration and enforcement of this Agreement and the other
Transaction Documents; provided that the Agent shall not be entitled to any indemnity or reimbursement
under this ‎Section 11.6 for any expenses resulting from the gross negligence or willful misconduct of the
Agent, as determined by a final and non-appealable judgment rendered by a court of competent

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jurisdiction. Without limiting the generality of the foregoing, each Financial Institution agrees to
reimburse the Agent and the LC Bank, ratably according to their Pro Rata Shares, promptly upon demand,
for any out-of-pocket expenses (including reasonable counsel fees) incurred by the Agent or the LC Bank
in connection with the administration, modification, amendment or enforcement (whether through
negotiations, legal proceedings or otherwise) of, or legal advice in respect of its rights or responsibilities
under, this Agreement.
           Section 11.7 Agent in Its Individual Capacity. The Agent and its Affiliates may make loans
to, accept deposits from and generally engage in any kind of business with any Seller or any Affiliate of
any Seller as though the Agent were not the Agent hereunder. With respect to the acquisition of
Purchaser Interests or the making of Participation Advances pursuant to this Agreement, the Agent shall
have the same rights and powers under this Agreement in its individual capacity as any Purchaser
(including any Purchaser that is an LC Participant) and may exercise the same as though it were not the
Agent, and the terms “Financial Institution,” “Related Financial Institution,” “Purchaser,” “Financial
Institutions,” “Related Financial Institutions,” “LC Participant” and “Purchasers” shall include the Agent
in its individual capacity.
           Section 11.8 Successor Agent. The Agent may, upon five days’ notice to the Administrative
Seller, the LC Bank and the Purchasers, and the Agent will, upon the direction of all of the Purchasers
(other than the Agent, in its individual capacity) resign as Agent. If the Agent shall resign, then the
Required Purchasers during such five-day period shall appoint, with the consent of the Administrative
Seller, such consent not to be unreasonably withheld or delayed, from among the Purchasers a successor
agent. If for any reason no successor Agent is appointed by the Required Purchasers during such five-day
period, then effective upon the termination of such five day period, the Purchasers shall perform all of the
duties of the Agent hereunder and under the other Transaction Documents and the Sellers and the
Servicers (as applicable) shall make all payments in respect of the Aggregate Unpaids directly to the
applicable Purchasers and for all purposes shall deal directly with the Purchasers. After the effectiveness
of any retiring Agent’s resignation hereunder as Agent, the retiring Agent shall be discharged from its
duties and obligations hereunder and under the other Transaction Documents and the provisions of
this ‎Article XI and ‎Article X shall continue in effect for its benefit with respect to any actions taken or
omitted to be taken by it while it was Agent under this Agreement and under the other Transaction
Documents.
         Section 11.9 No Other Duties, etc. Anything herein to the contrary notwithstanding, the co-
agent listed on the cover page or signature pages hereof shall not have any powers, duties or
responsibilities under this Agreement or any of the other Transaction Documents, except in its capacity,
as applicable, as a Company, Financial Institution, LC Participant or LC Bank hereunder.
                                          ARTICLE XII
                                  ASSIGNMENTS; PARTICIPATIONS
           Section 12.1 Assignments. (a) Each Seller Party, the LC Bank, the Agent and each Purchaser
hereby agree and consent to the complete or partial assignment by any Company of all or any portion of
its rights under, interest in, title to and obligations under this Agreement to any Funding Source pursuant
to any Funding Agreement or to any other Person, and upon such assignment, such Company shall be
released from its obligations so assigned. Further, each Seller Party, the LC Bank, the Agent and each
Purchaser hereby agree that any assignee of any Company of this Agreement or of all or any of the
Purchaser Interests of any Company shall have all of the rights and benefits under this Agreement as if the
term “Company” explicitly referred to and included such party (provided that (i) the Purchaser Interests
of any such assignee that is a Company or a commercial paper conduit shall accrue CP Costs based on
such Company’s Company Costs or on such commercial paper conduit’s cost of funds, respectively, and
(ii) the Purchaser Interests of any other such assignee shall accrue Yield pursuant to ‎Section 4.1), and no


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such assignment shall in any way impair the rights and benefits of any Company hereunder. Neither any
Seller nor any Servicer shall have the right to assign its rights or obligations under this Agreement.
                  (b)     Any Financial Institution may at any time and from time to time assign to one or
more Persons (“Purchasing Financial Institutions”) all or any part of its rights and obligations under this
Agreement (including in its capacity as an LC Participant, if applicable) pursuant to an assignment
agreement, substantially in the form set forth in ‎Exhibit VII hereto (the “Assignment Agreement”)
executed by such Purchasing Financial Institution and such selling Financial Institution. The consent of
the Company in such selling Financial Institution’s Purchaser Group and the consent of the Agent and the
LC Bank shall be required prior to the effectiveness of any such assignment. Each assignee of a Financial
Institution must (i) have a short-term debt rating of A-1 or better by S&P and P-1 by Moody’s and (ii)
agree to deliver to the Agent, promptly following any request therefor by the Agent or the Company in
such selling Financial Institution’s Purchaser Group, an enforceability opinion in form and substance
satisfactory to the Agent and such Company (such opinion may be delivered by in-house counsel of such
assignee). Upon delivery of the executed Assignment Agreement to the Agent, such selling Financial
Institution shall be released from its obligations hereunder to the extent of such assignment. Thereafter
the Purchasing Financial Institution shall for all purposes be a Financial Institution party to this
Agreement and shall have all the rights and obligations of a Financial Institution (including, without
limitation, the applicable obligations of a Related Financial Institution) under this Agreement to the same
extent as if it were an original party hereto and no further consent or action by any Seller, the Purchasers,
the LC Bank or the Agent shall be required.
                 (c)      Each of the Financial Institutions agrees that in the event that its short-term debt
rating is below A-1 by S&P and below P-1 by Moody’s (an “Affected Financial Institution”), such
Affected Financial Institution shall be obliged, at the request of the Company in such Affected Financial
Institution’s Purchaser Group or the Agent, to assign all of its rights and obligations hereunder to (x)
another Financial Institution in such Affected Financial Institution’s Purchaser Group or (y) another
funding entity nominated by the Agent and acceptable to the Company in such Affected Financial
Institution’s Purchaser Group, and willing to participate in this Agreement through the Liquidity
Termination Date in the place of such Affected Financial Institution; provided that the Affected Financial
Institution receives payment in full, pursuant to an Assignment Agreement, of an amount equal to such
Financial Institution’s Pro Rata Share of the Aggregate Capital owing to the Financial Institutions in such
Affected Financial Institution’s Purchaser Group and all accrued but unpaid Yield, fees and other costs
and expenses owing to such Affected Financial Institution.
          Section 12.2 Participations. Any Financial Institution may, in the ordinary course of its
business at any time sell to one or more Persons (each a “Participant”) participating interests in its Pro
Rata Share of the Purchaser Interests and Participation Advances of the Financial Institutions in such
Financial Institution’s Purchaser Group or any other interest of such Financial Institution hereunder.
Notwithstanding any such sale by a Financial Institution of a participating interest to a Participant, such
Financial Institution’s rights and obligations under this Agreement shall remain unchanged, such
Financial Institution shall remain solely responsible for the performance of its obligations hereunder, and
each Seller, the LC Bank, each Company and the Agent shall continue to deal solely and directly with
such Financial Institution in connection with such Financial Institution’s rights and obligations under this
Agreement. Each Financial Institution agrees that any agreement between such Financial Institution and
any such Participant in respect of such participating interest shall not restrict such Financial Institution’s
right to agree to any amendment, supplement, waiver or modification to this Agreement, except for any
amendment, supplement, waiver or modification described in ‎Section 14.1(b)(i). Each Purchaser that
sells a participation shall, acting solely for this purpose as a non-fiduciary agent of the Sellers, maintain a
register on which it enters the name and address of each Participant and the principal amounts (and stated
interest) of each Participant’s interest in the Purchaser Interests or other obligations under the Transaction
Documents (the “Participant Register”). The entries in the Participant Register shall be conclusive absent

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manifest error, and such Purchaser shall treat each Person whose name is recorded in the Participant
Register as the owner of such participation for all purposes of this Agreement notwithstanding any notice
to the contrary. For the avoidance of doubt, the Agent (in its capacity as Agent) shall have no
responsibility for maintaining a Participant Register.
          Section 12.3 Federal Reserve. Any Financial Institution may at any time pledge or grant a
security interest in all or any portion of its rights (including, without limitation, any Purchaser Interest and
any rights to payment of Capital and Yield) under this Agreement to secure obligations of such Financial
Institution to a Federal Reserve Bank, and this Section shall not apply to any such pledge or grant of a
security interest; provided that no such pledge or grant of a security interest shall release a Financial
Institution from any of its obligations hereunder, or substitute any such pledgee or grantee for such
Financial Institution as a party hereto.
           Section 12.4 Replacement of Purchaser Groups. If any Purchaser or Funding Source requests
compensation under ‎Section 14.1(b)(i) or if any Seller is required to pay any Indemnified Taxes or
additional amounts to any Purchaser or LC Bank or any Governmental Authority for the account of any
Purchaser or LC Bank pursuant to ‎Section 10.7, then the Sellers may, at their sole expense and effort
(including payment of any applicable processing and recordation fees), upon notice to such Purchaser or
Funding Source and the Agent, require each Purchaser in the related Purchaser Group to assign and
delegate, without recourse (in accordance with and subject to the restrictions contained in ‎Section 12.1),
all of its respective interests, rights (other than its existing rights to payments pursuant to ‎Section 10.7)
and obligations under this Agreement to an assignee that shall assume such obligations (which assignee
may be another Company or Financial Institution, as applicable, if a Company or Financial Institution
accepts such assignment); provided, that (i) the Sellers shall have received the prior written consent of the
Agent with respect to any assignee that is not already a member of a Purchaser Group hereunder, which
consent shall not unreasonably be withheld, conditioned or delayed, (ii) each member of such assigning
Purchaser Group shall have received payment of an amount equal to all outstanding Capital, accrued CP
Costs and Yield in respect thereof, accrued fees and all other Aggregate Unpaids payable to it hereunder,
from the assignee (to the extent of such outstanding Capital) or the Sellers (in the case of all other
amounts) and (iii) such assignment will result in a reduction in such compensation or payments
under ‎Section 10.2(a) or ‎Section 10.7. A Purchaser shall not be required to make any such assignment
and delegation if, prior thereto, as a result of a waiver by such Purchaser or otherwise, the circumstances
entitling the Sellers to require such assignment and delegation cease to exist.
                                            ARTICLE XIII
                                       INTENTIONALLY OMITTED
                                              ARTICLE XIV
                                             MISCELLANEOUS
         Section 14.1 Waivers and Amendments. (a) No failure or delay on the part of the Agent or
any Purchaser in exercising any power, right or remedy under this Agreement shall operate as a waiver
thereof, nor shall any single or partial exercise of any such power, right or remedy preclude any other
further exercise thereof or the exercise of any other power, right or remedy. The rights and remedies
herein provided shall be cumulative and nonexclusive of any rights or remedies provided by law. Any
waiver of this Agreement shall be effective only in the specific instance and for the specific purpose for
which given.
                (b)      No provision of this Agreement may be amended, supplemented, modified or
waived except in writing in accordance with the provisions of this ‎Section 14.1(b). Each Company, each
Seller and the Agent, at the direction of the Required Purchasers, may enter into written modifications or
waivers of any provisions of this Agreement, provided, however, that with respect to any modification or


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waiver, the Rating Agencies then rating the commercial paper notes issued by any Company shall have
confirmed that the ratings of the commercial paper notes of such Company will not be downgraded or
withdrawn as a result of such modification or waiver; and provided, further, that no such modification or
waiver shall:
                          (i)      without the consent of each affected Purchaser, (A) extend the Liquidity
        Termination Date or the date of any payment or deposit of Collections by any Seller or any
        Servicer, (B) reduce the rate or extend the time of payment of Yield, any fees or any CP Costs (or
        any component of Yield or CP Costs), (C) reduce any fee payable to the Agent for the benefit of
        the Purchasers, (D) except pursuant to ‎Article XII hereof, change the amount of the Capital of any
        Purchaser, any Financial Institution’s Pro Rata Share, any Company’s Pro Rata Share, any LC
        Participant’s LC Share, any Financial Institution’s Commitment or LC Amount or any
        Company’s Company Purchase Limit (other than, to the extent applicable, pursuant to ‎Section
        4.6), (E) amend, modify or waive any provision of the definition of Required Purchasers or
        this ‎Section 14.1(b), (F) consent to or permit the assignment or transfer by any Seller of any of its
        rights and obligations under this Agreement, (G) change the definition of “Eligible Receivable,”
        “Loss Reserve,” “Yield and Servicer Reserve,” “Default Ratio,” “Delinquency Ratio,” “Dilution
        Reserve,” or “Dilution Ratio” or amend or modify ‎Section 9.1(f) or (H) amend or modify any
        defined term (or any defined term used directly or indirectly in such defined term) used in
        clauses (A) through (G) above in a manner that would circumvent the intention of the restrictions
        set forth in such clauses; or
                        (ii)    without the written consent of the then Agent, amend, modify or waive
        any provision of this Agreement if the effect thereof is to affect the rights or duties of such Agent.
Notwithstanding the foregoing, (i) without the consent of the Financial Institutions, but with the consent
of the Administrative Seller, the Agent may amend this Agreement solely to add additional Persons as
Financial Institutions hereunder and (ii) the Agent, the Required Purchasers and each Company may enter
into amendments to modify any of the terms or provisions of Article XI, Section 14.13 or any other
provision of this Agreement without the consent of any Seller Party, provided that such amendment has
no negative impact upon such Seller Party and provided further that the Rating Agencies then rating the
commercial paper notes issued by any Company shall have confirmed that the ratings of the commercial
paper notes of such Company will not be downgraded or withdrawn as a result of such amendments. Any
modification or waiver made in accordance with this Section 14.1 shall apply to each of the Purchasers
equally and shall be binding upon each Seller Party, the Purchasers and the Agent.
         Section 14.2 Notices. Except as provided in this ‎Section 14.2, all communications and notices
provided for hereunder shall be in writing (including bank wire, telecopy, electronic facsimile
transmission, e-mail or similar writing) and shall be given to the other parties hereto at their respective
addresses, telecopy numbers or e-mail addresses set forth on ‎Schedule E hereto or at such other address,
telecopy number or e-mail address as such Person may hereafter specify for the purpose of notice to each
of the other parties hereto. Each such notice or other communication shall be effective (i) if given by
telecopy, upon the receipt thereof, (ii) if given by mail, three (3) Business Days after the time such
communication is deposited in the mail with first class postage prepaid or (iii) if given by any other
means, when received at the address specified in this ‎Section 14.2. Each Seller hereby authorizes the
Agent and the Purchasers to effect purchases and, selections of CP (Tranche) Accrual Periods, Tranche
Periods and Discount Rates based on telephonic notices made by any Person whom the Agent or
applicable Purchaser in good faith believes to be acting on behalf of such Seller. Each Seller agrees to
deliver promptly to the Agent and each applicable Purchaser a written confirmation of each telephonic
notice signed by an authorized officer of such Seller; provided, however, the absence of such
confirmation shall not affect the validity of such notice. If the written confirmation differs from the



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action taken by the Agent or applicable Purchaser, the records of the Agent or applicable Purchaser shall
govern absent manifest error.
          Section 14.3 Ratable Payments. If any Purchaser, whether by setoff or otherwise, has
payment made to it with respect to any portion of the Aggregate Unpaids owing to such Purchaser (other
than payments received pursuant to ‎Section 10.2 or ‎10.3) in a greater proportion than that received by any
other Purchaser entitled to receive a ratable share of such Aggregate Unpaids, such Purchaser agrees,
promptly upon demand, to purchase for cash without recourse or warranty a portion of such Aggregate
Unpaids held by the other Purchasers so that after such purchase each Purchaser will hold its ratable
proportion of such Aggregate Unpaids; provided that if all or any portion of such excess amount is
thereafter recovered from such Purchaser, such purchase shall be rescinded and the purchase price
restored to the extent of such recovery, but without interest.
          Section 14.4 Protection of Ownership Interests of the Purchasers. (a) Each Seller agrees that
from time to time, at its expense, it will promptly execute and deliver all instruments and documents, and
take all actions, that may be necessary or reasonably desirable, or that the Agent may request, to perfect,
protect or more fully evidence the Purchaser Interests, or to enable the Agent or the Purchasers to exercise
and enforce their rights and remedies hereunder. Without limiting the foregoing, each Seller will, upon
the request of the Agent or the Required Purchasers, execute and file such financing or continuation
statements, or amendments thereto or assignments thereof, and such other instruments and documents,
that may be necessary or desirable, or that the Agent may reasonably request, to perfect, protect or
evidence such Purchaser Interests. At any time after the occurrence and during the continuation of an
Amortization Event, the Agent may, or the Agent may direct any Seller or any Servicer to, notify the
Obligors of Receivables, at the Sellers’ expense, of the ownership or security interests of the Purchasers
under this Agreement and may also direct that payments of all amounts due or that become due under any
or all Receivables be made directly to the Agent or its designee. The Sellers or the Servicers (as
applicable) shall, at any Purchaser’s request, withhold the identity of such Purchaser in any such
notification.
                 (b)     If any Seller Party fails to perform any of its obligations hereunder, the Agent or
any Purchaser may (but shall not be required to) perform, or cause performance of, such obligations, and
the Agent’s or such Purchaser’s costs and expenses incurred in connection therewith shall be payable by
the Sellers as provided in ‎Section 10.3. Each Seller Party irrevocably authorizes the Agent at any time
and from time to time in the sole discretion of the Agent, and appoints the Agent as its attorney-in-fact, to
act on behalf of such Seller Party (i) to execute on behalf of any Seller as debtor and to file financing or
continuation statements (and amendments thereto and assignments thereof) necessary or desirable in the
Agent’s sole discretion to perfect and to maintain the perfection and priority of the interest of the
Purchasers and the LC Bank in the Receivables and (ii) to file a carbon, photographic or other
reproduction of this Agreement or any financing statement with respect to the Receivables as a financing
statement in such offices as the Agent in its sole discretion deems necessary or desirable to perfect and to
maintain the perfection and priority of the interests of the Purchasers in the Receivables. The financing
statements described in this ‎Section 14.4(b) may describe the collateral in the same manner as described
herein or may contain an indication or description of collateral that describes such property in any other
manner as the Agent may determine, in its sole and absolute discretion, is necessary, advisable or prudent
to ensure the perfection and priority of the interests of the Purchasers in the Receivables, the Related
Security and the Collections, and of the security interest granted hereunder, including, without limitation,
describing such property as “all assets” or “all personal property” or “all assets, whether now owned or
hereafter acquired” or “all personal property of the debtor, whether now owned or hereafter acquired”.
This appointment is coupled with an interest and is irrevocable. The authorization set forth in the second
sentence of this ‎Section 14.4(b) is intended to meet all requirements for authorization by a debtor under
Article 9 of any applicable enactment of the UCC, including, without limitation, Section 9-509 thereof.



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          Section 14.5 Confidentiality. (a) Each Seller Party, the LC Bank and each Purchaser shall
maintain and shall cause each of its employees and officers to maintain the confidentiality of this
Agreement and the other confidential or proprietary information with respect to the Agent, the LC Bank
and each Purchaser and their respective businesses obtained by it or them in connection with the
structuring, negotiating and execution of the transactions contemplated herein, except that such LC Bank,
such Seller Party and such Purchaser and its officers and employees may disclose such information to
such LC Bank’s, such Seller Party’s and such Purchaser’s external accountants and attorneys and as
required by any Applicable Law or order of any judicial or administrative proceeding (it being understood
that the Persons to whom such disclosure is made will be informed of the confidential nature of such
information and instructed to keep such information confidential; provided that this Agreement may be
filed with the Bankruptcy Court in connection with seeking entry of the Financing Orders).
                 (b)     Anything herein to the contrary notwithstanding, each Seller Party hereby
consents to the disclosure of any nonpublic information with respect to it (i) to the Agent, the Financial
Institutions or the Companies by each other, (ii) subject to an agreement containing provisions
substantially the same as those of this ‎Section 14.5(b), by the Agent, the LC Bank or the Purchasers to
any prospective or actual assignee or participant of any of them, (iii) subject to an agreement containing
provisions substantially the same as those of this ‎Section 14.5(b), by the Agent or any Purchaser to any
Funding Source, Commercial Paper dealer or provider of a surety, guaranty or credit or liquidity
enhancement to any Company or any entity organized for the purpose of purchasing, or making loans
secured by, financial assets for which Rabobank acts as the administrative agent, (iv) to any officers,
directors, employees, outside accountants, advisors and attorneys of any of the foregoing (it being
understood that the Persons to whom such disclosure is made will be informed of the confidential nature
of such information and instructed to keep such information confidential) and (v) by the Agent or any
Purchaser to any rating agency,. In addition, the Purchasers (and credit enhancers and other Funding
Sources to the Purchasers), the LC Bank and the Agent may disclose any such nonpublic information
pursuant to any law, rule, regulation, direction, request or order of any judicial, administrative or
regulatory authority or proceedings (whether or not having the force or effect of law). Notwithstanding
any other express or implied agreement to the contrary, the parties agree and acknowledge that each of
them and each of their employees, representatives, and other agents may disclose to any and all persons,
without limitation of any kind, the tax treatment and tax structure of the transaction and all materials of
any kind (including opinions or other tax analyses) that are provided to any of them relating to such tax
treatment and tax structure, except to the extent that confidentiality is reasonably necessary to comply
with U.S. federal or state securities laws. For purposes of this paragraph, the terms “tax treatment” and
“tax structure” have the meanings specified in Treasury Regulation Section 1.6011-4(c).
         Section 14.6   Bankruptcy Petition.
                 (a)      Each Seller, the Servicers, the LC Bank, the Agent, each Financial Institution and
each Company (except with respect to itself) hereby covenants and agrees that, prior to the date that is
one year and one day after the payment in full of all outstanding senior indebtedness of any Funding
Source that is a special purpose bankruptcy remote entity or of any Company, it will not institute against,
or join any other Person in instituting against, any such entity or any Company any bankruptcy,
reorganization, arrangement, insolvency or liquidation proceedings or other similar proceeding under the
laws of the United States or any state of the United States.
                 (b)     Each Seller (except with respect to itself), the Servicers, the LC Bank, the Agent,
each Financial Institution and each Company hereby covenants and agrees that, prior to the date that is
one year and one day after the payment in full of all outstanding senior indebtedness of any Seller, it will
not institute against, or join any other Person in instituting against, any such entity or any Seller any
bankruptcy, reorganization, arrangement, insolvency or liquidation proceedings or other similar
proceeding under the laws of the United States or any state of the United States.


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          Section 14.7 Limitation of Liability. Except with respect to any claim arising out of the
willful misconduct or gross negligence of any Company, the LC Bank, the Agent or any Financial
Institution, no claim may be made by any Seller Party or any other Person against any Company, the LC
Bank, the Agent or any Financial Institution or their respective Affiliates, directors, officers, employees,
attorneys or agents for any special, indirect, consequential or punitive damages in respect of any claim for
breach of contract or any other theory of liability arising out of or related to the transactions contemplated
by this Agreement, or any act, omission or event occurring in connection therewith; and each Seller Party
hereby waives, releases, and agrees not to sue upon any claim for any such damages, whether or not
accrued and whether or not known or suspected to exist in its favor.
      Section 14.8 CHOICE OF LAW. THIS AGREEMENT SHALL BE GOVERNED AND
CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK.
       Section 14.9 CONSENT TO JURISDICTION.   EACH SELLER PARTY HEREBY
IRREVOCABLY SUBMITS TO THE NONEXCLUSIVE JURISDICTION OF ANY UNITED STATES
FEDERAL OR NEW YORK STATE COURT SITTING IN THE COUNTY OF NEW YORK, NEW
YORK IN ANY ACTION OR PROCEEDING ARISING OUT OF OR RELATING TO THIS
AGREEMENT OR ANY DOCUMENT EXECUTED BY SUCH PERSON PURSUANT TO THIS
AGREEMENT AND EACH SELLER PARTY HEREBY IRREVOCABLY AGREES THAT ALL
CLAIMS IN RESPECT OF SUCH ACTION OR PROCEEDING MAY BE HEARD AND
DETERMINED IN ANY SUCH COURT AND IRREVOCABLY WAIVES ANY OBJECTION IT
MAY NOW OR HEREAFTER HAVE AS TO THE VENUE OF ANY SUCH SUIT, ACTION OR
PROCEEDING BROUGHT IN SUCH A COURT OR THAT SUCH COURT IS AN INCONVENIENT
FORUM; PROVIDED THAT WITH RESPECT TO ANY LEGAL ACTION OR PROCEEDING
RELATING TO ANY SERVICER OR ANY ORIGINATOR, EACH OF THE PARTIES HERETO
CONSENTS, FOR ITSELF AND IN RESPECT OF ITS PROPERTY TO THE EXCLUSIVE
JURISDICTION OF THE BANKRUPTCY COURT. NOTHING HEREIN SHALL LIMIT THE RIGHT
OF THE AGENT OR ANY PURCHASER TO BRING PROCEEDINGS AGAINST ANY SELLER
PARTY IN THE COURTS OF ANY OTHER JURISDICTION. ANY JUDICIAL PROCEEDING BY
ANY SELLER PARTY AGAINST THE AGENT OR ANY PURCHASER OR ANY AFFILIATE OF
THE AGENT OR ANY PURCHASER INVOLVING, DIRECTLY OR INDIRECTLY, ANY MATTER
IN ANY WAY ARISING OUT OF, RELATED TO, OR CONNECTED WITH THIS AGREEMENT OR
ANY DOCUMENT EXECUTED BY SUCH SELLER PARTY PURSUANT TO THIS AGREEMENT
SHALL BE BROUGHT ONLY IN A COURT IN THE COUNTY OF NEW YORK, NEW YORK.
       Section 14.10 WAIVER OF JURY TRIAL. EACH PARTY HERETO HEREBY WAIVES
TRIAL BY JURY IN ANY JUDICIAL PROCEEDING INVOLVING, DIRECTLY OR INDIRECTLY,
ANY MATTER (WHETHER SOUNDING IN TORT, CONTRACT OR OTHERWISE) IN ANY WAY
ARISING OUT OF, RELATED TO, OR CONNECTED WITH THIS AGREEMENT, ANY
DOCUMENT EXECUTED BY ANY SELLER PARTY PURSUANT TO THIS AGREEMENT OR THE
RELATIONSHIP ESTABLISHED HEREUNDER OR THEREUNDER.
         Section 14.11 Integration; Binding Effect; Survival of Terms.
                 (a)      This Agreement and each other Transaction Document contain the final and
complete integration of all prior expressions by the parties hereto with respect to the subject matter hereof
and shall constitute the entire agreement among the parties hereto with respect to the subject matter hereof
superseding all prior oral or written understandings.
                (b)      This Agreement shall be binding upon and inure to the benefit of the parties
hereto and their respective successors and permitted assigns (including any trustee in bankruptcy). This
Agreement shall create and constitute the continuing obligations of the parties hereto in accordance with


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its terms and shall remain in full force and effect until terminated in accordance with its terms; provided,
however, that the rights and remedies with respect to (i) any breach of any representation and warranty
made by any Seller Party pursuant to ‎Article V, (ii) the indemnification and payment provisions of ‎Article
X, and Sections ‎14.5, ‎14.6, ‎14.7 and ‎14.18 shall be continuing and shall survive any termination of this
Agreement.
          Section 14.12 Counterparts; Severability; Section References; Mutual Negotiations. This
Agreement may be executed in any number of counterparts and by different parties hereto in separate
counterparts, each of which when so executed shall be deemed to be an original and all of which when
taken together shall constitute one and the same Agreement. Delivery of an executed counterpart of a
signature page to this Agreement by electronic transmission (including via e-mail or other facsimile
transmission) shall be as effective as delivery of an original executed counterpart of this Agreement. Any
provisions of this Agreement that are prohibited or unenforceable in any jurisdiction shall, as to such
jurisdiction, be ineffective to the extent of such prohibition or unenforceability without invalidating the
remaining provisions hereof, and any such prohibition or unenforceability in any jurisdiction shall not
invalidate or render unenforceable such provision in any other jurisdiction. Unless otherwise expressly
indicated, all references herein to “Article,” “Section,” “Schedule” or “Exhibit” shall mean articles and
sections of, and schedules and exhibits to, this Agreement. This Agreement and the other Transaction
Documents are the product of mutual negotiations by the parties thereto and their counsel, and no party
shall be deemed the draftsperson of this Agreement or any other Transaction Document or any provision
hereof or thereof or to have provided the same. Accordingly, in the event of any inconsistency or
ambiguity of any provision of this Agreement or any other Transaction Document, such inconsistency or
ambiguity shall not be interpreted against any party because of such party’s involvement in the drafting
thereof.
           Section 14.13 Rabobank Roles. The LC Bank and each of the Purchasers acknowledges that
Coöperatieve Rabobank U.A., New York Branch acts as Agent hereunder and that Rabobank acts, or may
in the future act, (i) as administrative agent for the Rabobank Company or any Financial Institution in the
Rabobank Company’s Purchaser Group, (ii) as issuing and paying agent for certain Commercial Paper,
(iii) to provide credit or liquidity enhancement for the timely payment for certain Commercial Paper and
(iv) to provide other services from time to time for the Rabobank Company or any Financial Institution in
the Rabobank Company’s Purchaser Group (collectively, the “Rabobank Roles”). Without limiting the
generality of this ‎Section 14.13, the LC Bank and each Purchaser hereby acknowledges and consents to
any and all Rabobank Roles and agrees that in connection with any Rabobank Role, Rabobank and
Coöperatieve Rabobank U.A., New York Branch may take, or refrain from taking, any action that it, in its
discretion, deems appropriate, including, without limitation, in its role as administrative agent for the
Rabobank Company.
          Section 14.14 Characterization. (a) It is the intention of the parties hereto that each Purchase
hereunder shall constitute and be treated as an absolute and irrevocable sale, which Purchase shall provide
the applicable Purchaser (or the LC Bank, if applicable) with the full benefits of ownership of the
applicable Purchaser Interest. Except as specifically provided in this Agreement, each sale of a Purchaser
Interest hereunder is made without recourse to any Seller; provided, however, that (i) each Seller shall be
liable to each Purchaser, the LC Bank and the Agent for all representations, warranties, covenants and
indemnities made by such Seller pursuant to the terms of this Agreement, and (ii) such sale does not
constitute and is not intended to result in an assumption by any Purchaser, the LC Bank or the Agent or
any assignee thereof of any obligation of any Seller or any Originator or any other Person arising in
connection with the Receivables, the Related Security, or the related Writings or Contracts, or any other
obligations of any Seller or any Originator.
               (b)      In addition to any ownership interest that the Agent may from time to time
acquire pursuant hereto, each Seller hereby grants to the Agent for the ratable benefit of the Purchasers


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(including in their capacities as LC Participants) and the LC Bank a valid and perfected security interest
in all of such Seller’s right, title and interest in, to and under all Receivables now existing or hereafter
arising, the Collections, each Lock-Box, each Collection Account, the LC Collateral Account, all Related
Security, all other rights and payments relating to such Receivables, and all proceeds of any thereof prior
to all other liens on and security interests therein to secure the prompt and complete payment of the
Aggregate Unpaids (collectively, the “Pool Assets”). The Agent, the LC Bank and the Purchasers shall
have, in addition to the rights and remedies that they may have under this Agreement, all other rights and
remedies provided to a secured creditor under the UCC and other Applicable Law, which rights and
remedies shall be cumulative. Each Seller hereby acknowledges and agrees that pursuant to the Existing
Agreement, each such Seller granted to the Agent a security interest in all of such Seller’s right, title and
interest in, to and under all Receivables then existing or thereafter arising, the Collections, each Lock-
Box, each Collection Account, the LC Collateral Account, all Related Security, all other rights and
payments relating to such Receivables, and all proceeds of any thereof prior to all other liens on and
security interests therein to secure the prompt and complete payment of the Aggregate Unpaids (each
such term as defined in the Existing Agreement). Each such Seller hereby confirms such security interest
and acknowledges and agrees that such security interest is continuing and is supplemented and restated by
the security interest granted by each such Seller pursuant to this ‎Section 14.14(b).
          Section 14.15 USA PATRIOT Act. Each Purchaser, the Agent and the LC Bank that is subject
to the requirements of the USA Patriot Act (Title III of Pub. L. 107 56 (signed into law October 26,
2001)) (the “Act”) hereby notifies each Seller Party that pursuant to the requirements of the Act, it is
required to obtain, verify and record information that identifies such Seller Party, which information
includes the name and address of such Seller Party and other information that will allow such Purchaser
to identify such Seller Party in accordance with the Act. Each Seller Party hereby agrees to provide, and
cause each other Seller Party to provide, such information promptly upon the reasonable request of the
Agent or any Purchaser. Each Purchaser subject to the Act acknowledges and agrees that neither such
Purchaser, nor any of its Affiliates, participants or assignees, may rely on the Agent to carry out such
Purchaser’s, Affiliate’s, participant’s or assignee’s customer identification program, or other obligations
required or imposed under or pursuant to the USA Patriot Act or the regulations thereunder, including the
regulations contained in 31 CFR 103.121 (as hereafter amended or replaced, the “CIP Regulations”), or
any other Anti-Terrorism Law, including any programs involving any of the following items relating to or
in connection with any Seller Party, its Affiliates or its agents, this Agreement, the Transaction
Documents or the transactions hereunder or contemplated hereby: (a) any identity verification
procedures, (b) any record-keeping, (c) comparisons with government lists, (d) customer notices, or (e)
other procedures required under the CIP Regulations or such other law.
         Section 14.16 [Intentionally Omitted]
         Section 14.17 Confirmation and Ratification of Terms.
                (a)    Upon the effectiveness of this Agreement, each reference to the Existing
Agreement in any other Transaction Document, and any document, instrument or agreement executed
and/or delivered in connection with the Existing Agreement or any other Transaction Document, shall
mean and be a reference to this Agreement.
                (b)    The other Transaction Documents and all agreements, instruments and
documents executed or delivered in connection with the Existing Agreement or any other Transaction
Document shall each be deemed to be amended to the extent necessary, if any, to give effect to the
provisions of this Agreement, as the same may be amended, modified, supplemented or restated from
time to time.




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                  (c)      The effect of this Agreement is to amend and restate the Existing Agreement in
its entirety, and to the extent that any rights, benefits or provisions in favor of the Agent or any Purchaser
existed in the Existing Agreement and continue to exist in this Agreement without any written waiver of
any such rights, benefits or provisions prior to the date hereof, then such rights, benefits or provisions are
acknowledged to be and to continue to be effective from and after June 30, 2000. This Agreement is not a
novation.
                (d)     The parties hereto agree and acknowledge that any and all rights, remedies and
payment provisions under the Existing Agreement, including, without limitation, any and all rights,
remedies and payment provisions with respect to (i) any representation and warranty made or deemed to
be made pursuant to the Existing Agreement, or (ii) any indemnification provision, shall continue and
survive the execution and delivery of this Agreement.
                 (e)     The parties hereto agree and acknowledge that any and all amounts owing as or
for Capital, Yield, CP Costs, fees, expenses or otherwise under or pursuant to the Existing Agreement,
immediately prior to the effectiveness of this Agreement shall be owing as or for Capital, Yield, CP
Costs, fees, expenses or otherwise, respectively, under or pursuant to this Agreement.
          Section 14.18 Excess Funds. Each of the Sellers, each Servicer, each Purchaser, the LC Bank
and the Agent agrees that any Company shall be liable for any claims that such party may have against
such Company only to the extent that such Company has funds in excess of those funds necessary to pay
matured and maturing Commercial Paper of such Company and to the extent such excess funds are
insufficient to satisfy the obligations of such Company hereunder, such Company shall have no liability
with respect to any amount of such obligations remaining unpaid and such unpaid amount shall not
constitute a claim against such Company. Any and all claims against any Company shall be subordinate
to the claims against such Company of the holders of such Company’s Commercial Paper and any Person
providing liquidity support to such Company.
          Section 14.19 Administrative Seller. Each Seller hereby irrevocably appoints Dairy Group as
its agent and attorney-in-fact (the “Administrative Seller”) which appointment shall remain in full force
and effect unless and until the Agent shall have received prior written notice signed by each of the Sellers
that such appointment has been revoked and that another Seller has been appointed the Administrative
Seller. Each Seller hereby irrevocably appoints and authorizes the Administrative Seller (i) to provide the
Agent with all Purchase Notices and Letter of Credit Applications for the benefit of any Seller and all
other notices and instructions under this Agreement or any Letter of Credit, (ii) to receive all notices and
instructions from the Agent or any Purchaser hereunder or pursuant to any Letter of Credit and (iii) to
exercise such other powers as are reasonably incidental thereto to carry out the purposes of this
Agreement or any Letter of Credit.
         Section 14.20 Joint and Several.
                (a)     Each of the Sellers is accepting joint and several liability hereunder and under the
other Transaction Documents in consideration of the financial accommodations to be provided by the
Purchasers under this Agreement, for the mutual benefit, directly and indirectly, of each of the Sellers and
in consideration of the undertakings of the other Seller to accept joint and several liability for the
Aggregate Unpaids and all other obligations of the Sellers under this Agreement and the other
Transaction Documents.
                 (b)      Each of the Sellers, jointly and severally, hereby irrevocably and unconditionally
accepts, not merely as a surety but also as a co-debtor, joint and several liability with the other Seller,
with respect to the payment and performance of all of the Aggregate Unpaids, it being the intention of the
parties hereto that all the Aggregate Unpaids shall be the joint and several obligations of each of the
Sellers without preferences or distinction between them.


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                 (c)      Except as otherwise expressly provided in this Agreement, each Seller hereby
waives notice of acceptance of its joint and several liability, notice of the occurrence of any Amortization
Event or Potential Amortization Event, or of any demand for any payment under this Agreement, notice
of any action at any time taken or omitted by the Agent or any Purchaser under or in respect of the
Aggregate Unpaids, any requirement of diligence or to mitigate damages and, generally, to the extent
permitted by Applicable Law, all demands, notices and other formalities of every kind in connection with
this Agreement (except as otherwise provided in this Agreement). Each Seller hereby assents to, and
waives notice of, any extension or postponement of the time for the payment of any of the Aggregate
Unpaids, the acceptance of any payment of any of the Aggregate Unpaids, the acceptance of any partial
payment thereon, any waiver, consent or other action or acquiescence by the Agent or any Purchaser at
any time or times in respect of any default by any Seller in the performance or satisfaction of any term,
covenant, condition or provision of this Agreement, any and all other indulgences whatsoever by the
Agent or any Purchaser in respect of any of the Aggregate Unpaids, and the taking, addition, substitution
or release, in whole or in part, at any time or times, of any security for any of the Aggregate Unpaids or
the addition, substitution or release, in whole or in part, of any Seller. Without limiting the generality of
the foregoing, each Seller assents to any other action or delay in acting or failure to act on the part of the
Agent or any Purchaser with respect to the failure by any Seller to comply with any of its respective
obligations, it being the intention of each Seller that, so long as any of the Aggregate Unpaids hereunder
remain unsatisfied, the obligations of such Seller under this ‎Section 14.19 shall not be discharged except
by performance and then only to the extent of such performance. The obligations of each Seller under
this ‎Section 14.19 shall not be diminished or rendered unenforceable by any winding up, reorganization,
arrangement, liquidation, reconstruction or similar proceeding with respect to any Seller or the Agent or
any Purchaser.
                 (d)     Each Seller represents and warrants to the Agent and the Purchasers that such
Seller is currently informed of the financial condition of the other Seller and of all other circumstances
which a diligent inquiry would reveal and which bear upon the risk of nonpayment of the Aggregate
Unpaids. Each Seller hereby covenants that such Seller will continue to keep informed of the other
Seller’s financial condition, the financial condition of other guarantors, if any, and of all other
circumstances which bear upon the risk of nonpayment or nonperformance of the Aggregate Unpaids.
                (e)     Each Seller agrees that the Agent and the Purchasers may, in their sole and
absolute discretion, select the Receivables of any one of the Sellers for sale or application to the
Aggregate Unpaids, without regard to the ownership of such Receivables, and shall not be required to
make such selection ratably from the Receivables owned by any of the Sellers.
                 (f)      The provisions of this ‎Section 14.19 are made for the benefit of the Agent, the
Purchasers and their respective successors and assigns, and may be enforced by it or them from time to
time against any or all of the Sellers as often as occasion therefor may arise and without requirement on
the part of the Agent, any Purchasers or any such successor or assign first to marshal any of its or their
claims or to exercise any of its or their rights against any of the other Sellers or to exhaust any remedies
available to it or them against any of the other Sellers or to resort to any other source or means of
obtaining payment of any of the Aggregate Unpaids hereunder or to elect any other remedy. The
provisions of this ‎Section 14.19 shall remain in effect until all of the Aggregate Unpaids shall have been
paid in full or otherwise fully satisfied, the Commitments have terminated and no Letters of Credit shall
be outstanding. If at any time, any payment, or any part thereof, made in respect of any of the Aggregate
Unpaids, is rescinded or must otherwise be restored or returned by the Agent or any Purchaser upon the
insolvency, bankruptcy or reorganization of any of the Sellers, or otherwise, the provisions of this ‎Section
14.19 will forthwith be reinstated in effect, as though such payment had not been made.
                (g)     Each Seller hereby agrees that it will not enforce any of its rights of contribution
or subrogation against the other Seller with respect to any liability incurred by it hereunder or under any


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of the other Transaction Documents, any payments made by it to the Agent or any Purchaser with respect
to any of the Aggregate Unpaids or any collateral security therefor until such time as all of the Aggregate
Unpaids have been paid in full in cash, the Commitments have terminated and no Letters of Credit shall
be outstanding. Any claim which any Seller may have against any other Seller with respect to any
payments to the Agent or any Purchaser hereunder or under any other Transaction Documents are hereby
expressly made subordinate and junior in right of payment, without limitation as to any increases in the
Aggregate Unpaids arising hereunder or thereunder, to the prior payment in full in cash of the Aggregate
Unpaids and, in the event of any insolvency, bankruptcy, receivership, liquidation, reorganization or other
similar proceeding under the laws of any jurisdiction relating to any Seller, its debts or its assets, whether
voluntary or involuntary, all such Aggregate Unpaids shall be paid in full in cash before any payment or
distribution of any character, whether in cash, securities or other property, shall be made to any other
Seller therefor.
                 (h)     Each of the Sellers hereby agrees that, after the occurrence and during the
continuance of any Amortization Event or Potential Amortization Event, the payment of any amounts due
with respect to the indebtedness owing by any Seller to any other Seller is hereby subordinated to the
prior payment in full in cash of the Aggregate Unpaids. Each Seller hereby agrees that after the
occurrence and during the continuance of any Amortization Event or Potential Amortization Event, such
Seller will not demand, sue for or otherwise attempt to collect any indebtedness of any other Seller owing
to such Seller until the Aggregate Unpaids shall have been paid in full in cash. If, notwithstanding the
foregoing sentence, such Seller shall collect, enforce or receive any amounts in respect of such
indebtedness, such amounts shall be collected, enforced and received by such Seller as trustee for the
Agent and the Purchasers, and such Seller shall deliver any such amounts to the Agent for application to
the Aggregate Unpaids in accordance with ‎Article II.
          Section 14.21 Acknowledgement and Consent to Bail-In of EEA Financial Institutions. Solely
to the extent that any Financial Institution that is an EEA Financial Institution is a party to this Agreement
and notwithstanding anything to the contrary in any Transaction Document or in any other agreement,
arrangement or understanding among any such parties, each party hereto acknowledges that any liability
of any EEA Financial Institution arising under any Transaction Document, to the extent such liability is
unsecured, may be subject to the write-down and conversion powers of an EEA Resolution Authority and
agrees and consents to, and acknowledges and agrees to be bound by:
                  (a)   the application of any Write-Down and Conversion Powers by an EEA
Resolution Authority to any such liabilities arising hereunder which may be payable to it by any party
hereto that is an EEA Financial Institution; and
                (b)      the effects of any Bail-in Action on any such liability, including, if applicable:
                         (i)     a reduction in full or in part or cancellation of any such liability;
                          (ii)    a conversion of all, or a portion of, such liability into shares or other
        instruments of ownership in such EEA Financial Institution, its parent undertaking, or a bridge
        institution that may be issued to it or otherwise conferred on it, and that such shares or other
        instruments of ownership will be accepted by it in lieu of any rights with respect to any such
        liability under this Agreement or any other Transaction Document; or
                        (iii)   the variation of the terms of such liability in connection with the exercise
        of the write-down and conversion powers of any EEA Resolution Authority.




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         Section 14.22 Orders. Each Seller Party, each Financial Institution, each Company, the LC
Bank, and the Agent hereby expressly agree that in the event of any conflict between this Agreement and
the Financing Orders, the Financing Orders shall control.
                                  (SIGNATURE PAGES FOLLOW)




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        IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed and
delivered by their duly authorized officers as of the date hereof.


                                               DAIRY GROUP RECEIVABLES, L.P.,
                                               as Seller

                                               By:     Dairy Group Receivables GP, LLC,
                                               Its:    General Partner
                                                       By:     ______________________________
                                                       Name: [Kristy N. Waterman]
                                                       Title: [Vice President, Deputy General
                                                              Counsel and Secretary]
                                               DAIRY GROUP RECEIVABLES II, L.P.,
                                               as Seller

                                               By:     Dairy Group Receivables GP II, LLC,
                                               Its:    General Partner
                                                       By:     ______________________________
                                                       Name: [Kristy N. Waterman]
                                                       Title: [Vice President, Deputy General
                                                              Counsel and Secretary]




             [Signature Page to Ninth Amended and Restated Receivables Purchase Agreement]
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                                        NIEUW AMSTERDAM RECEIVABLES
                                        CORPORATION B.V., as a Company

                                        By:    ________________________________
                                        Name:
                                        Title:




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                                        COÖPERATIEVE RABOBANK U.A.,
                                        NEW YORK BRANCH, as Agent, LC Bank, a
                                        Company, a Financial Institution, and an LC Participant

                                        By:    ________________________________
                                        Name:
                                        Title:


                                        By:    ________________________________
                                        Name:
                                        Title:




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                                        COÖPERATIEVE RABOBANK U.A.,
                                        as a Financial Institution and LC Participant

                                        By:    ________________________________
                                        Name:
                                        Title:


                                        By:    ________________________________
                                        Name:
                                        Title:
                                        Title:




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                                        DEAN FOODS COMPANY, as a Provider

                                        By:    ________________________________
                                        Name: [Kristy N. Waterman]
                                        Title: [Vice-President, Deputy General Counsel
                                               and Deputy Corporate Secretary]


                                        DEAN DAIRY HOLDINGS, LLC, as a Servicer
                                        SUIZA DAIRY GROUP, LLC, as a Servicer

                                        By:    ________________________________
                                        Name: [Kristy N. Waterman]
                                        Title: [Vice-President, Deputy General Counsel
                                               and Deputy Corporate Secretary]




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                                        ALTA-DENA CERTIFIED DAIRY, LLC, as a Servicer
                                        BERKELEY FARMS, LLC, as a Servicer
                                        COUNTRY FRESH, LLC, as a Servicer
                                        DEAN EAST, LLC as a Servicer
                                        DEAN EAST II, LLC as a Servicer
                                        DEAN FOODS NORTH CENTRAL, LLC, as a Servicer
                                        DEAN FOODS OF WISCONSIN, LLC, as a Servicer
                                        DEAN WEST, LLC, as a Servicer
                                        DEAN WEST II, LLC, as a Servicer
                                        FRIENDLY’S ICE CREAM HOLDINGS CORP., as a
                                        Servicer
                                        FRIENDLY’S MANUFACTURING AND RETAIL,
                                        LLC, as a Servicer
                                        GARELICK FARMS, LLC, as a Servicer
                                        MAYFIELD DAIRY FARMS, LLC, as a Servicer
                                        MIDWEST ICE CREAM COMPANY, LLC, as a
                                        Servicer
                                        MODEL DAIRY, LLC, as a Servicer
                                        REITER DAIRY, LLC, as a Servicer
                                        SHENANDOAH’S PRIDE, LLC, as a Servicer
                                        SOUTHERN FOODS GROUP, LLC, as a Servicer
                                        TUSCAN/LEHIGH DAIRIES, INC., as a Servicer
                                        VERIFINE DAIRY PRODUCTS OF SHEBOYGAN,
                                        LLC, as a Servicer

                                        By:    ________________________________
                                        Name: [Kristy N. Waterman]
                                        Title: [Vice-President, Deputy General Counsel
                                               and Secretary]




      [Signature Page to Ninth Amended and Restated Receivables Purchase Agreement]
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                                                EXHIBIT I

                                              DEFINITIONS

                As used in this Agreement, the following terms shall have the following meanings (such
meanings to be equally applicable to both the singular and plural forms of the terms defined):
                “Adjusted LC Participation Amount” means, at any time, the excess, if any, of the LC
Participation Amount over the amount of cash collateral held in the LC Collateral Account at such time.
For the avoidance of doubt, the Adjusted LC Participation Amount shall never be less than zero.
                “Administrative Seller” has the meaning set forth in Section 14.19.
                  “Adverse Claim” means any ownership interest or claim, mortgage, deed of trust, pledge,
lien, security interest, hypothecation, charge or other encumbrance or security arrangement of any nature
whatsoever, whether voluntarily or involuntarily given, including, but not limited to, any conditional sale
or title retention arrangement, and any assignment, deposit arrangement or lease intended as, or having
the effect of, security and any filed financing statement or other notice of any of the foregoing (whether or
not a lien or other encumbrance is created or exists at the time of the filing); it being understood that any
thereof in favor of the Agent (for the benefit of the Purchasers) or any Seller contemplated by the
applicable Receivables Sale Agreement shall not constitute an Adverse Claim.
                “Affected Financial Institution” has the meaning set forth in Section 12.1(c).
                “Affected Person” has the meaning set forth in Section 10.2(a).
                 “Affiliate” means, with respect to any Person, any other Person directly or indirectly
controlling, controlled by, or under direct or indirect common control with, such Person or any Subsidiary
of such Person. A Person shall be deemed to control another Person if the controlling Person owns 10%
or more of any class of voting securities of the controlled Person or possesses, directly or indirectly, the
power to direct or cause the direction of the management or policies of the controlled Person, whether
through ownership of stock, by contract or otherwise.
                “Agent” has the meaning set forth in the preamble to this Agreement.
                “Agent Ratings Request” has the meaning set forth in Section 10.6.
                “Agent Required Rating” has the meaning set forth in Section 10.6.
                 “Aggregate Capital” means, on any date of determination, the aggregate amount of
Capital of all Purchaser Interests outstanding on such date.
                “Aggregate Reduction” has the meaning set forth in Section 1.3.
                 “Aggregate Reserves” means, on any date of determination, the sum of (a) the greater of
(i) the sum of the Loss Reserve and the Dilution Reserve and (ii) the Floor Reserve and (b) the Yield and
Servicer Reserve.
                 “Aggregate Unpaids” means, at any time, an amount equal to the sum of all Aggregate
Capital and all other unpaid Obligations (whether due or accrued) at such time.
                “Agreement” means this Ninth Amended and Restated Receivables Purchase Agreement,
as it may be amended, restated, supplemented or otherwise modified and in effect from time to time.



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                 “Alternate Base Rate” means, for any day, a rate per annum equal to the greatest of (a)
the Prime Rate in effect on such day, (b) the Federal Funds Effective Rate in effect on such day plus ½ of
1% and (c) the LIBO Rate for a one month period or, if a Weekly Settlement Notice shall have been
delivered, a one week period on such day (or if such day is not a Business Day, the immediately
preceding Business Day) plus 1%; provided that, for the avoidance of doubt, the LIBO Rate for any day
shall be based on the rate appearing on the Reuters BBA Libor Rates Page 3750 (or on any successor or
substitute page of such page) at approximately 11:00 a.m. London time on such day. Any change in the
Alternate Base Rate due to a change in the Prime Rate, the Federal Funds Effective Rate or the LIBO
Rate shall be effective from and including the effective date of such change in the Prime Rate, the Federal
Funds Effective Rate or the LIBO Rate, respectively.
                “Amortization Date” means the earliest to occur of (i) the day on which any of the
conditions precedent set forth in Section 6.1(c) are not satisfied, (ii) the Business Day immediately prior
to the occurrence of an Amortization Event set forth in Section 9.1(d)(ii), (iii) the Business Day specified
in a written notice from the Agent following the occurrence of any other Amortization Event, (iv) the
Business Day specified in a written notice from the Agent following the failure to obtain the Agent
Required Rating within 60 days following delivery of an Agent Ratings Request to the Sellers and the
Servicer in accordance with Section 10.6, which date shall not be less than 60 days following the failure
to obtain such Required Rating and (v) the date which is 15 Business Days after the Agent’s receipt of
written notice from Administrative Seller that it wishes to terminate the facility evidenced by this
Agreement.
                “Amortization Event” has the meaning set forth in Article IX.
                “Anti-Corruption Laws” has the meaning set forth in Error! Reference source not
found..
                 “Anti-Terrorism Laws” means any laws, regulations, or orders of any Governmental
Authority of the United States, the United Nations, European Union or the Netherlands relating to
terrorism financing or money laundering, including, but not limited to, the International Emergency
Economic Powers Act (50 U.S.C. § 1701 et seq.), the Trading With the Enemy Act (50 U.S.C. § 5 et
seq.), the International Security Development and Cooperation Act (22 U.S.C. § 2349aa-9 et seq.), the
Act, and any applicable rules or regulations promulgated pursuant to or under the authority of any of the
foregoing.
                  “Applicable Law” means, with respect to any Person, (x) all provisions of law, statute,
treaty, constitution, ordinance, rule, regulation, ordinance, requirement, restriction, permit, executive
order, certificate, decision, directive or order of any Governmental Authority applicable to such Person or
any of its property and (y) all judgments, injunctions, orders, writs, decrees and awards of all courts and
arbitrators in proceedings or actions in which such Person is a party or by which any of its property is
bound.
                “Assignment Agreement” has the meaning set forth in Section 12.1(b).
                  “Authorized Officer” means, with respect to any Person, its president, corporate
controller, treasurer or chief financial officer.
               “Bail-In Action” means the exercise of any Write-Down and Conversion Powers by the
applicable EEA Resolution Authority in respect of any liability of an EEA Financial Institution.
               “Bail-In Legislation” means, with respect to any EEA Member Country implementing
Article 55 of Directive 2014/59/EU of the European Parliament and of the Council of the European



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Union, the implementing law for such EEA Member Country from time to time which is described in the
EU Bail-In Legislation Schedule.
              “Bankruptcy Code” means Title 11 of the United States Code entitled “Bankruptcy,” as
amended and any successor statute thereto.
                “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District
of Texas, Houston Division or such other court as shall have jurisdiction over the Chapter 11 Cases.
              “Benefit Plan” means any employee benefit pension plan as defined in Section 3(2) of
ERISA including a multi-employer plan as defined in Section 3(37) of ERISA.
                  “Broken Funding Costs” means for any Purchaser Interest that: (i) has its Capital
reduced (A) without compliance by the Administrative Seller with the notice requirements hereunder or
(B) in the case of any Purchaser Interest of any Pool Company other than any Purchaser Interest funded
substantially with Pooled Commercial Paper, on any date other than a Settlement Date hereunder or (ii)
does not become subject to an Aggregate Reduction in the amount and on the date proposed in the related
Reduction Notice or (iii) is assigned or funded pursuant to a Funding Agreement or otherwise transferred
or terminated prior to the date on which the related Tranche Period, CP (Pool) Accrual Period or
CP(Tranche) Accrual Period was originally scheduled to end; an amount equal to the excess, if any, of
(A) the CP Costs or Yield (as applicable) that would have accrued during the remainder of the Tranche
Periods or the tranche periods for Commercial Paper determined by the applicable Purchaser to relate to
such Purchaser Interest (as applicable) subsequent to the date of such reduction, assignment or
termination (or in respect of clause (ii) above, the date such Aggregate Reduction was designated to occur
pursuant to the Reduction Notice) of the Capital of such Purchaser Interest if such reduction, assignment
or termination had not occurred or such Reduction Notice had not been delivered, over (B) the sum of (x)
to the extent all or a portion of such Capital is allocated to another Purchaser Interest, the amount of CP
Costs or Yield actually accrued during the remainder of such period on such Capital for the new
Purchaser Interest, and (y) to the extent such Capital is not allocated to another Purchaser Interest of the
same Purchaser, the income, if any, actually received net of any costs of redeployment of funds during the
remainder of such period by the holder of such Purchaser Interest from investing the portion of such
Capital not so allocated. In the event that the amount referred to in clause (B) exceeds the amount
referred to in clause (A), the relevant Purchaser or Purchasers agree to pay to the Sellers the amount of
such excess. All Broken Funding Costs shall be due and payable hereunder upon demand.
                 “Business Day” means any day on which banks are not authorized or required to close in
New York, New York, Atlanta, Georgia, Pittsburgh, Pennsylvania, or Cincinnati, Ohio or any other city
specified in writing by a Purchaser to the Agent, each other Purchaser and the Administrative Seller, and
The Depository Trust Company of New York and the commercial paper markets are open for business,
and, if the applicable Business Day relates to any computation or payment to be made with respect to the
LIBO Rate, any day on which dealings in dollar deposits are carried on in the London interbank market.
                “Buyer” has the meaning set forth in the applicable Receivables Sale Agreement.
                “Capital” of any Purchaser Interest means, at any time, (A) without duplication, (i) the
Purchase Price of such Purchaser Interest, plus (ii) with respect to any Purchaser that is an LC Participant,
any amounts paid by such LC Participant to the LC Bank in respect of a Participation Advance made by
such LC Participant to the LC Bank pursuant to Section 1.9 of this Agreement, plus (iii) with respect to
the Purchaser that is the LC Bank, any amounts paid by the LC Bank with respect to all drawings under
the Letter of Credit to the extent such drawings have not been reimbursed by the Seller or funded by
Participation Advances, minus (B) the sum of the aggregate amount of Collections and other payments
received by the Agent or the applicable Purchaser that in each case are applied to reduce such Capital in
accordance with the terms and conditions of this Agreement; provided that such Capital shall be restored


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(in accordance with Section 2.5) in the amount of any Collections or other payments so received and
applied if at any time the distribution of such Collections or payments are rescinded, returned or refunded
for any reason.
                “Capital Requirements” means the EU Securitization Regulation which comprises
Regulations (EU) No 2017/2401 and 2017/2402 of the European Parliament and of the Council of 12
December 2017 laying down a general framework for securitization and creating a specific framework for
simple, transparent and standardized securitization, and amending Directives 2009/138/EC and
2011/61/EU and Regulations (EC) No 1060/2009 and (EU) No 648/2012 on prudential requirements.
References herein to the EU Securitization Regulation or to any Article or other provision thereof include
the regulatory or implementing technical standards published by the European Commission in relation
thereto from time to time in effect, any guidance published by the European Banking Authority or by the
European Securities and Markets Authority in relation thereto and any corresponding law or rule in effect
in any country in the European Economic Area and applicable (directly or indirectly) to any Purchaser
(and, for the avoidance of doubt, references thereto shall also include any related directive given by an
applicable Governmental Authority to any Purchaser or any Affiliate of such Purchaser or in relation to
such Purchaser’s share of Purchaser Interests or Reinvestments).
                 “Change of Control” means the acquisition by any Person, or two or more Persons acting
in concert, of beneficial ownership (within the meaning of Rule 13d-3 of the Securities and Exchange
Commission under the Securities Exchange Act of 1934) of 35% or more of the outstanding shares of
voting stock or other equity interest of any Seller Party; provided that the foregoing shall not prohibit the
disposition of equity interests in any Immaterial Originator to the extent (x) after giving effect to such
disposition, the Person so sold is no longer party to any Receivables Sale Agreement and (y) such
disposition is expressly permitted pursuant to Section 1.7 of the applicable Receivables Sale Agreement
and otherwise pursuant to the Transaction Documents.
                 “Chapter 11 Cases” means the Chapter 11 cases of Provider and certain of its
Subsidiaries jointly administered under the same case number in the Bankruptcy Court.
                 “Charged-Off Receivable” means a Receivable: (i) as to which the Obligor thereof has
taken any action, or suffered any event to occur, of the type described in Section 9.1(d) (as if references to
Seller Party therein refer to such Obligor); (ii) as to which the Obligor thereof, if a natural person, is
deceased, (iii) that has been written off a Seller’s books as uncollectible, (iv) that, consistent with the
applicable Originator’s Credit and Collection Policy, would be written off a Seller’s books as
uncollectible, (v) that has been identified by a Seller or Servicer as uncollectible or (vi) as to which any
payment, or part thereof, remains unpaid for 90 days or more from the original invoice date for such
payment.
                “Code” means the Internal Revenue Code of 1986, as amended from time to time.
                “Collateral Agent” means Coöperatieve Rabobank U.A., New York Branch, in its
capacity as administrative agent under the Dean Credit Agreement.
                “Collection Account” means each concentration account, depositary account, lock-box
account or similar account in which any Collections are collected or deposited and that is listed on Exhibit
VI.
                 “Collection Account Agreement” means each agreement substantially in the form
of Exhibit VI, or such other form as may be acceptable to the Agent, among the applicable Originator, a
Seller, Collection Bank and the Agent, as it may be amended, restated, supplemented or otherwise
modified and in effect from time to time.



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                “Collection Bank” means, at any time, any of the banks holding one or more Collection
Accounts.
               “Collection Notice” means a notice, in substantially the form of Annex A to Exhibit VI,
from the Agent to a Collection Bank or any similar or analogous notice from the Agent to a Collection
Bank.
                “Collections” means, with respect to any Receivable, all cash collections and other cash
proceeds in respect of such Receivable, including, without limitation, all yield, Finance Charges or other
related amounts accruing in respect thereof and all cash proceeds of Related Security with respect to such
Receivable.
               “Commercial Paper” means promissory notes of any Company issued by such Company
in the commercial paper market.
                 “Commitment” means, for each Financial Institution, the commitment of such Financial
Institution to purchase Purchaser Interests from the Sellers to the extent that the Company in such
Financial Institution’s Purchaser Group declines to purchase such Purchaser Interest, in an amount not to
exceed (i) in the aggregate, the amount set forth opposite such Financial Institution’s name on Schedule A
to this Agreement, as such amount may be modified in accordance with the terms hereof (including,
without limitation, any termination of Commitments pursuant to Section 4.6 hereof) and (ii) with respect
to any individual Purchase hereunder, its Pro Rata Share of the Purchase Price therefor. If the context so
requires, “Commitment” also refers to a Purchaser’s obligation to make Participation Advances and/or
issue Letters of Credit hereunder.
                “Company” has the meaning set forth in the preamble to this Agreement.
                “Company Costs” means:
                  (i)     for any Purchaser Interest purchased by any Pool Company and funded by such
Pool Company through the issuance of Commercial Paper other than Pooled Commercial Paper, an
amount equal to the Capital of such Purchaser Interest multiplied by a per annum rate equivalent to the
“weighted average cost” (as defined below) related to the issuance of Commercial Paper of such Pool
Company that is allocated, in whole or in part, to fund such Pool Company’s Pro Rata Share of Aggregate
Capital (and which may also be allocated in part to the funding of other assets of such Pool Company);
provided, however, that if any component of such rate is a Discount Rate, in calculating such rate for such
Pool Company’s Pro Rata Share of the Aggregate Capital for such date, the rate used to calculate such
component of such rate shall be a rate resulting from converting such Discount Rate to an interest bearing
equivalent rate per annum. As used in this definition, the “weighted average cost” shall consist of (x) the
actual interest rate paid to purchasers of Commercial Paper issued by such Pool Company, (y) the costs
associated with the issuance of such Commercial Paper (including dealer fees and commissions to
placement agents), and (z) interest on other borrowing or funding sources by such Pool Company,
including to fund small or odd dollar amounts that are not easily accommodated in the commercial paper
market;
                 (ii)    for any Purchaser Interest purchased by the Rabo Company and funded
substantially with Pooled Commercial Paper, for any day, an amount equal to the Capital of such
Purchaser Interest multiplied by a rate per annum equal to the weighted average of the per annum rates
paid or payable by the Rabo Company from time to time as interest on Commercial Paper (by means of
interest rate hedges or otherwise and taking into consideration any incremental carrying costs associated
with Commercial Paper issued by the Rabo Company maturing on dates other than those certain dates on
which the Rabo Company is to receive funds) in respect of Commercial Paper issued by the Rabo
Company that are allocated, in whole or in part, by Rabobank (or other agent of the Rabo Company) on


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behalf of the Rabo Company to fund or maintain the Capital of the Rabo Company during such period, as
determined by Rabobank (or other agent of the Rabo Company) on behalf of the Rabo Company, which
rates shall reflect and give effect to (i) the commissions of placement agents and dealers in respect of such
Commercial Paper, to the extent such commissions are reasonably allocated, in whole or in part, to such
Commercial Paper by Rabobank (or other agent of the Rabo Company) on behalf of the Rabo Company
and (ii) other borrowings by the Rabo Company, including, without limitation, borrowings to fund small
or odd dollar amounts that are not easily accommodated in the commercial paper market; provided that if
any component of such rate is a Discount Rate, in calculating the Company Costs, Rabobank (or other
agent of the Rabo Company) shall for such component use the rate resulting from converting such
Discount Rate to an interest bearing equivalent rate per annum. In addition to the foregoing costs, if the
Administrative Seller shall request any Purchaser Interest during any period of time determined by the
Rabo Company in its sole discretion to result in incrementally higher Company Costs with respect to the
Rabo Company applicable to such Purchaser Interest, the Capital associated with any such Purchaser
Interest shall, during such period, be deemed to be funded by the Rabo Company in a special pool (which
may include capital associated with other receivable purchase or financing facilities) for purposes of
determining such additional Company Costs applicable only to such special pool and charged each day
during such period against such Capital. Each Purchaser Interest funded substantially with Pooled
Commercial Paper will accrue Company Costs with respect to the Rabo Company each day on a pro rata
basis, based upon the percentage share the Capital in respect of such Purchaser Interest represents in
relation to all assets held by the Rabo Company and funded substantially with Pooled Commercial Paper.
For each Settlement Period, the Rabo Company shall calculate its aggregate Company Costs for such
Settlement Period and report such Company Costs to the Administrative Seller pursuant to Section 3.3 of
this Agreement; and
                (iii)  in all other cases, for any Purchaser Interest purchased by any Pool Company, the
applicable Discount Rate for each Purchaser Interest.
                  “Company Purchase Limit” means, for each Company, the Purchase Limit of such
Company with respect to the purchase of Purchaser Interests from the Sellers, in an amount not to exceed
(i) in the aggregate, the amount set forth opposite such Company’s name on Schedule A to this
Agreement, as such amount may be modified in accordance with the terms hereof (including Section
4.6(a)) and (ii) with respect to any individual Purchase hereunder, its Pro Rata Share of the Purchase Price
therefor.
                  “Concentration Limit” means, at any time, (a) for any Level 1 Rated Obligor, 9%, (b) for
any Level 2 Rated Obligor, 7%, (c) for any Level 3 Rated Obligor, 5%, (d) for any Unrated Obligor, the
Unrated Obligor Concentration Limit, (e) for Saputo Inc., 7.50%, (f) for Wal-Mart Stores, Inc., 17.5%, for
so long as its short-term credit rating is at least “A-1” from S&P and at least “P1” from Moody’s and its
long-term credit rating is at least “A” from S&P and at least “A2” from Moody’s, and otherwise in
accordance with the other Concentration Limits set forth herein (including clauses (a) through (d) of this
definition), (g) for Dollar General Corporation, 5.0%, (h) for C&S Wholesale Grocers, Inc., 2.0%, (i) for
any other Obligor designated by Agent, such other percentage as Agent may designate (each of (e), (f),
(g), (h) and (i), a “Special Concentration Limit”), (j) for all Obligors which are local municipalities, 10%
in the aggregate, and (k) for all Obligors which are federal or state governments or federal or state
governmental subdivisions or agencies, 3.0% in the aggregate; provided, that in the case of an Obligor
and any Affiliate of such Obligor, the Concentration Limit shall be calculated as if such Obligor and such
Affiliate are one Obligor; and provided, further, that the Required Purchasers may, upon not less than five
Business Days’ notice to Seller, cancel any Special Concentration Limit.
               “Connection Income Taxes” means Other Connection Taxes that are imposed on or
measured by net income (however denominated) or that are franchise Taxes or branch profits Taxes.



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                “Consent Notice” has the meaning set forth in Section 4.6(a).
                “Consent Period” has the meaning set forth in Section 4.6(a).
                “Contingent Obligation” of a Person means any agreement, undertaking or arrangement
by which such Person assumes, guarantees, endorses, contingently agrees to purchase or provide funds for
the payment of, or otherwise becomes or is contingently liable upon, the obligation or liability of any
other Person, or agrees to maintain the net worth or working capital or other financial condition of any
other Person, or otherwise assures any creditor of such other Person against loss, including, without
limitation, any comfort letter, operating agreement, take-or-pay contract or application for a letter of
credit.
                “Contract” means, with respect to any Receivable, any and all written or oral agreements
pursuant to which such Receivable arises or that evidences such Receivable.
                 “Control” means the possession, directly or indirectly, of the power to direct or cause the
direction of the management or policies of a Person, whether through the ability to exercise voting power,
by contract or otherwise, and the terms “Controlling” and “Controlled” have meanings correlative thereto.
              “CP (Pool) Accrual Period” means, with respect to any Purchaser Interest held by any
Pool Company and funded substantially with Pooled Commercial Paper, each calendar month or, if a
Weekly Settlement Notice shall have been delivered, each calendar week.
                “CP (Tranche) Accrual Period” means with respect to any Purchaser Interest held by any
Pool Company other than any Purchaser Interest funded substantially with Pooled Commercial Paper, a
period of at least 1 day and not to exceed 90 days as selected by Seller pursuant to Section 3.4 and
approved by the Agent; provided, however, that (i) any CP (Tranche) Accrual Period (other than of one
day) that would otherwise end on a day that is not a Business Day shall be extended to the next
succeeding Business Day, (ii) in the case of CP (Tranche) Accrual Periods of one day, (A) the initial CP
(Tranche) Accrual Period shall be the day of the related Incremental Purchase; and (B) any subsequently
occurring CP (Tranche) Accrual Period that is one day shall, if the immediately preceding CP (Tranche)
Accrual Period is more than one day, be the last day of such immediately preceding CP (Tranche) Accrual
Period, and if the immediately preceding CP (Tranche) Accrual Period is one day, be the day next
following such immediately preceding CP (Tranche) Accrual Period; and (iii) in the case of any CP
(Tranche) Accrual Period that commences before the Amortization Date and would otherwise end on a
date occurring after the Amortization Date, such CP (Tranche) Accrual Period shall end on the
Amortization Date. The duration of each CP (Tranche) Accrual Period that commences after the
Amortization Date shall be of such duration as selected by the applicable Pool Company.
                “CP Costs” means, for each day, the aggregate discount or yield accrued with respect to
the Purchaser Interests of each respective Company as determined in accordance with the definition of
“Company Costs.”
                  “Credit and Collection Policy” means each Originator’s credit and collection policies and
practices relating to Writings, Contracts and Receivables existing on the date such Originator became
party to the related Receivables Sale Agreement and summarized in Exhibit VIII hereto, as modified from
time to time in accordance with this Agreement.
                 “Days Sales Outstanding” means for each month an amount equal to the product of (a)
the quotient of (i) the Outstanding Balance of all Receivables calculated on the first day of such month as
the beginning balance for such month divided by (ii) the aggregate amount of Collections of all
Receivables received during such month, multiplied by (b) 30.



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                 “Dean Credit Agreement” means that certain Senior Secured Superpriority Debtor-In-
Possession Credit Agreement, dated as of the Effective Date, by and among Provider, the lenders from
time to time party thereto, and Coöperatieve Rabobank U.A., New York Branch., as administrative agent,
lead arranger and bookrunner, without giving effect to any amendment, restatement, modification, waiver,
refinancing or replacement thereof.
              “Dean Dairy Holdings” means Dean Dairy Holdings, LLC, a Delaware limited liability
company and a debtor and debtor-in-possession under Chapter 11 of the Bankruptcy Code.
                “Dean Receivables Sale Agreement” means the Second Amended and Restated Dean
Receivables Sale Agreement, dated as of the Effective Date, and effective for all purposes as of March 31,
2002, by and among Alta-Dena Certified Dairy, LLC, Berkeley Farms, Inc., Dean Dairy Holdings, LLC,
Dean East II, LLC, Dean Foods North Central, LLC, Dean West II, LLC, Mayfield Dairy Farms, LLC,
Midwest Ice Cream Company, LLC, Reiter Dairy, LLC, Verifine Dairy Products Corporation of
Sheboygan, LLC and Dairy Group II, as the same may be amended, restated, supplemented or otherwise
modified from time to time.
                  “Deemed Collections” means the aggregate of all amounts the Sellers shall have been
deemed to have received as a Collection of a Receivable. The Sellers shall be deemed to have received a
Collection of a Receivable at any time (i) to the extent that the Outstanding Balance of any such
Receivable is either (x) reduced as a result of any defective or rejected goods or services, any discount,
rebate or any adjustment or otherwise by any Seller Party (other than cash Collections on account of the
Receivables and other than Receivables that, consistent with the applicable Originator’s Credit and
Collection Policy, have been written off a Seller’s books as uncollectible other than as a result of any of
the other conditions or events set forth in this definition) or (y) reduced or canceled as a result of a setoff
in respect of any claim by any Person (whether such claim arises out of the same or a related transaction
or an unrelated transaction) or (ii) any of the representations or warranties in Article V are no longer true
with respect to such Receivable or (iii) the failure of any Contract with respect to such Receivable to
create a legal, valid and binding obligation of the related Obligor to pay the Outstanding Balance of the
Receivable created thereunder and any accrued interest thereon or (iv) the failure of any Writing to give
rise to a valid and enforceable Receivable in the amount of the Outstanding Balance thereof.
               “Default Fee” means with respect to any amount due and payable by any Seller in respect
of any Aggregate Unpaids, an amount equal to interest on any such unpaid Aggregate Unpaids at a rate
per annum equal to 4% above the Alternate Base Rate.
                “Default Ratio” means, as at the end of any calendar month, a percentage equal to (A) the
sum of (i) the Outstanding Balance of all Receivables as to which any payment, or part thereof, remains
unpaid for 90 days or more from the original invoice date for such payment plus, without duplication, (ii)
the Outstanding Balance of all Receivables that were written off each Seller’s books as uncollectible
during such calendar month, divided by (B) the aggregate Outstanding Balance of all Receivables as at
the end of such calendar month.
                 “Defaulted Receivable” means a Receivable
                (i)      as to which any payment, or part thereof, remains unpaid for 90 days or more
from the original invoice date for such payment; or
                 (ii)     without duplication (i) as to which an Insolvency Proceeding shall have occurred
with respect to the Obligor thereof or any other Person obligated thereon or owning any Related Security
with respect thereto, (ii) that has been written off the applicable Originator’s or Seller’s books as
uncollectible or (iii) that, consistent with the Credit and Collection Policy, should be written off the
applicable Originator’s or Seller’s books as uncollectible;


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               provided, however, that for purposes of calculating the Default Ratio, no Receivable will
be deemed to have become a Defaulted Receivable more than once.
                “Delinquency Ratio” means, for a calendar month, a percentage equal to (a) the
Outstanding Balance of all Delinquent Receivables as at the end of such calendar month divided by (b)
the Outstanding Balance of all Receivables as at the end of such calendar month.
               “Delinquent Receivable” means a Receivable as to which any payment, or part thereof,
remains unpaid for at least 60 days but not more than 90 days from the original invoice date for such
payment.
                  “Demand Notes” means each of (i) that certain promissory note, dated as of December
21, 2001, by Dean Foods Company (as successor-in-interest to Suiza Foods Corporation) in favor of
Dairy Group, in the maximum principal sum of $21,325,653, as amended, renewed, supplemented or
otherwise modified from time to time and (ii) that certain promissory note, dated as of May 15, 2002 and
effective for all purposes as of March 31, 2002, by Dean Foods Company in favor of Dairy Group II, in
the maximum principal sum of $13,181,876, as amended, renewed, supplemented or otherwise modified
from time to time.
                 “Designated Jurisdiction” means any country or territory to the extent that such country
or territory that is the subject of any Sanctions, including, without limitation, currently the Region of
Crimea, Cuba, Iran, North Korea and Syria.
                “Dilution Ratio” means, for any calendar month, a percentage equal to (i) the aggregate
amount of all Dilutions arising during such calendar month (other than Rebate/Billbacks) with respect to
all Receivables divided by (ii) the aggregate amount of sales by all Originators for the calendar month
ending two months prior to such calendar month.
                “Dilution Reserve” means, for any date of determination, an amount equal to the result of
multiplying the Net Receivables Balance as of such date by the following:
                ((Stress Factor x ED + ((DS-ED) x (DS/ED))) x DHR) + MRA
                Where:
                ED        =     the average of the Dilution Ratios for the twelve most recently completed
                                calendar months
                DS        =     the highest of the average Dilution Ratios for any two-calendar month
                                period occurring during the twelve most recently completed calendar
                                months
                DHR       =     the ratio, expressed as a percentage, of (A) the aggregate amount of all
                                sales by all Originators during the one and a half calendar months
                                immediately preceding the most recently completed calendar month, to
                                (B) the Net Receivables Balance as of the last day of the most recently
                                completed calendar month.
                MRA       =     3.00%, at any time when the Servicers shall have failed to deliver a
                                consolidating Monthly Report pursuant to Section 8.5 that is in form and
                                substance satisfactory to the Agent in its sole discretion and, at all other
                                times and at any time when the Agent in its sole discretion shall
                                otherwise determine, 0.00%.



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                “Dilutions” means, for each calendar month, the aggregate amount of reductions or
cancellations described in clause (i) of the definition of “Deemed Collections” during such month (other
than Rebate/Billbacks).
                “DIP Facility” means a secured superpriority debtor-in-possession credit facility entered
into by one or more members of the Provider Group (excluding each Seller), it being understood and
agreed that this Agreement together with the other Transaction Documents shall not constitute a DIP
Facility.
                 “Discount Rate” means the LIBO Rate or the Alternate Base Rate, as applicable, with
respect to each Purchaser Interest of the Financial Institutions or the Pool Company, as applicable.
                “Drawing Date” shall have the meaning set forth in Section 1.9.
                “Drawn Liquidity Spread” means 3.50%.
                “EEA Financial Institution” means (a) any credit institution or investment firm
established in any EEA Member Country which is subject to the supervision of an EEA Resolution
Authority, (b) any entity established in an EEA Member Country which is a parent of an institution
described in clause (a) of this definition, or (c) any financial institution established in an EEA Member
Country which is a Subsidiary of an institution described in clauses (a) or (b) of this definition and is
subject to consolidated supervision with its parent;
                “EEA Member Country” means any of the member states of the European Union,
Iceland, Liechtenstein, and Norway.
               “EEA Resolution Authority” means any public administrative authority or any person
entrusted with public administrative authority of any EEA Member Country (including any delegee)
having responsibility for the resolution of any EEA Financial Institution.
                “Effective Date” means November [●], 2019.
                 “Eligible DIP Facility” means a DIP Facility that satisfies each of the following criteria:
(a) the DIP Facility is not secured by Adverse Claims on any Pool Assets, (b) the superpriority
administrative expense claims arising under or in connection with the DIP Facility shall rank pari passu
with or, solely in the case of the “Carve Out” (as defined in the Financing Orders), senior to, the
Superpriority Claims granted to the Purchasers under the Transaction Documents and (c) the Agent (in its
sole discretion) has confirmed in writing that such DIP Facility (including the interim order and, to the
extent then entered, the final order, approving such DIP Facility) is otherwise in form and substance
reasonably satisfactory to the Agent (it being understood and agreed that the “DIP Facility” as defined in
the Financing Orders constitutes an “Eligible DIP Facility”).
                “Eligible Receivable” means, at any time, a Receivable:
                 (i)     the Obligor of which (a) if a natural person, is a resident of the United States or,
if a corporation or other business organization, is organized under the laws of the United States or any
political subdivision thereof and has its chief executive office in the United States; (b) is not an Affiliate
of any of the parties hereto; and (c) is not a federal or state government or a federal or state governmental
subdivision or agency, except as permitted by clause (xxi) of this definition,
               (ii)     in the case of any Receivable the Obligor of which is a Top Twenty-Five
Obligor, such Obligor is not the Obligor of Defaulted Receivables the aggregate Outstanding Balance of
which constitutes more than 25% of the aggregate Outstanding Balance of all Receivables of such
Obligor,


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                (iii)    that is not a Charged-Off Receivable,
                 (iv)    that (a) by its terms is due and payable within 30 days of the original billing date
therefor and has not had its payment terms extended or (B) that by its terms is due and payable within 90
days of the original billing date therefor and has not had its payment terms extended, the Outstanding
Balance of which, when combined with all other Eligible Receivables that are due and payable within 90
days of the original billing date therefor, does not exceed an amount equal to 5% of the Outstanding
Balance of all Receivables; provided, however, that in the case of the foregoing clauses (a) and (b), no
such Receivable shall be considered an Eligible Receivable to the extent of the Outstanding Balance
relating to any goods giving rise to such Receivable that are provided on a “bill and hold” basis (i.e., are
billed but held or stored at a warehouse prior to shipment to the Obligor of such Receivable) for so long
as such goods are so held are stored;
                 (v)      that is an “account” or “chattel paper” within the meaning of the UCC of all
applicable jurisdictions,
                (vi)     that is denominated and payable only in United States dollars in the United
States,
                (vii)    that arises either (A) under a Contract that, together with such Receivable, is in
full force and effect and constitutes the legal, valid and binding obligation of the related Obligor
enforceable against such Obligor in accordance with its terms or (B) under a Writing to the extent that
such Receivable is the legal, valid and binding obligation of the related Obligor,
                 (viii) that arises under a Writing or Contract that (A) does not require the Obligor
under such Writing or Contract to consent to the transfer, sale or assignment of the rights and duties of the
applicable Originator or any of its assignees under such Writing or Contract and (B) does not contain a
confidentiality provision that purports to restrict the ability of any Purchaser to exercise its rights under
this Agreement, including, without limitation, its right to review the Writing or Contract,
                (ix)     that arises under a Contract that contains an obligation to pay a specified sum of
money, contingent only upon the sale of goods or the provision of services by the applicable Originator or
pursuant to a Writing that evidences the amount to be paid,
                  (x)      that, together with the Writing or Contract related thereto, does not contravene
any law, rule or regulation applicable thereto (including, without limitation, any law, rule and regulation
relating to truth in lending, fair credit billing, fair credit reporting, equal credit opportunity, fair debt
collection practices and privacy) and with respect to which no part of the Writing or Contract related
thereto is in violation of any such law, rule or regulation,
                (xi)     that satisfies all applicable requirements of the applicable Credit and Collection
Policy,
                (xii)    that was generated in the ordinary course of the applicable Originator’s business,
                (xiii) that arises solely from the sale of goods or the provision of services to the related
Obligor by the applicable Originator, and not by any other Person (in whole or in part),
                 (xiv) as to which the Agent has not notified the Administrative Seller that the Agent
has determined that such Receivable or class of Receivables is not acceptable as an Eligible Receivable,
including, without limitation, because such Receivable arises under a Writing or Contract that is not
acceptable to the Agent,




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                (xv)     that is not subject to any right of rescission, setoff, counterclaim, any other
defense (including defenses arising out of violations of usury laws) of the applicable Obligor against the
applicable Originator or any other Adverse Claim, and the Obligor thereon holds no right as against such
Originator to cause such Originator to repurchase the goods or merchandise the sale of which shall have
given rise to such Receivable (except with respect to sale discounts effected pursuant to the Writing or
Contract, or defective goods returned in accordance with the terms of the Writing or Contract); provided,
however, that only that portion of such Receivable that is subject to any such right of rescission, set-off,
counterclaim, other defense or Adverse Claim shall be considered to be ineligible pursuant to this
clause (xv),
                 (xvi) that is not the subject of a Rebate/Billback; provided, however, that only that
portion of such Receivable that is subject to such Rebate/Billback shall be considered to be ineligible
pursuant to this clause (xvi),
                 (xvii) as to which the applicable Originators has satisfied and fully performed all
obligations on its part with respect to such Receivable required to be fulfilled by it, and no further action
is required to be performed by any Person with respect thereto other than payment thereon by the
applicable Obligor,
                (xviii) all right, title and interest to and in which has been validly transferred by the
applicable Originators directly to a Seller under and in accordance with a Receivables Sale Agreement,
and such Seller has good and marketable title thereto free and clear of any Adverse Claim,
                 (xix) that represents all or part of the sales price of merchandise, insurance and
services within the meaning of Section 3(c)(5) of the Investment Company Act of 1940, as amended, and
                (xx)  which is an “ eligible asset” under and as defined in Rule 3a-7 under the United
States Investment Company Act of 1940, as amended (17 CFR 270.3a-7).
                “ERISA” means the Employee Retirement Income Security Act of 1974, as amended
from time to time.
                 “ERISA Affiliate” means: (a) any corporation that is a member of the same controlled
group of corporations (within the meaning of Section 414(b) of the Code) as the Seller, any Servicer,
Originator or Provider, (b) a trade or business (whether or not incorporated) under common control
(within the meaning of Section 414(c) of the Code) with the Seller, any Servicer, Originator or Provider,
or (c) a member of the same affiliated service group (within the meaning of Section 414(m) of the Code)
as the Seller, any Servicer, Originator or Provider, any corporation described in clause (a) or any trade or
business described in clause (b).
               “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule published
by the Loan Market Association (or any successor person), as in effect from time to time.
                 “Excluded Taxes” means any of the following Taxes imposed on or with respect to a
Recipient or required to be withheld or deducted from a payment to a Recipient, (a) Taxes imposed on or
measured by net income (however denominated), franchise Taxes, and branch profits Taxes, in each case,
(i) imposed as a result of such Recipient being organized under the laws of, or having its principal office
or, in the case of any Purchaser, its applicable lending office located in, the jurisdiction imposing such
Tax (or any political subdivision thereof) or (ii) that are Other Connection Taxes, (b) in the case of a
Purchaser, U.S. Federal withholding Taxes imposed on amounts payable to or for the account of such
Purchaser with respect to an applicable interest in a Purchaser Interest or Commitment pursuant to a law
in effect on the date on which (i) such Purchaser acquires such interest in the Purchaser Interest or
Commitment (other than pursuant to an assignment request by the Sellers under Section 12.4) or (ii) such


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Purchaser changes its lending office, except in each case to the extent that, pursuant to Section 10.7,
amounts with respect to such Taxes were payable either to such Purchaser’s assignor immediately before
such Purchaser acquired the applicable interest in a Purchaser Interest or Commitment or to such
Purchaser immediately before it changed its lending office, (c) Taxes attributable to such Recipient’s
failure to comply with Section 10.7(f) and (d) any U.S. Federal withholding Taxes imposed under
FATCA.
                “Existing Agreement” has the meaning set forth in the Preliminary Statements to this
Agreement.
                “Existing Letters of Credit” has the meaning set forth in Section 1.6.
                “Extension Notice” has the meaning set forth in Section 4.6(a).
               “Facility Account” means Dairy Group’s Account No. 2000013850892 at Wachovia
Bank, National Association (formerly known as First Union National Bank), ABA No. 053000219.
                  “Facility Termination Date” means the earlier of (i) the Liquidity Termination Date, (ii)
the Amortization Date, (iii) the substantial consummation of a plan of reorganization filed in the Chapter
11 Cases that is confirmed pursuant to an order entered by the Bankruptcy Court or the consummation of
a sale of all or substantially all of Provider Group’s assets, and (iv) the Maturity Date (as defined under
the Dean Credit Agreement).
                “FATCA” means (a) Sections 1471 through 1474 of the Code, as of the date of this
Agreement (or any amended or successor version that is substantively comparable and not materially
more onerous to comply with), any current or future regulations or official interpretations thereof and any
agreement entered into pursuant to Section 1471(b)(1) of the Code, (b) any treaty, law, regulation or other
official guidance enacted in any jurisdiction, or relating to an intergovernmental agreement between the
United States and any other jurisdiction, with the purpose (in either case) of facilitating the
implementation of clause (a) above, or (c) any agreement pursuant to the implementation of clauses (a) or
(b) above with the United States Internal Revenue Service, the United States government or any
governmental or taxation authority.
                 “Federal Funds Effective Rate” means for any day, the weighted average (rounded
upwards, if necessary, to the next 1/100 of 1%) of the rates on overnight Federal funds transactions with
members of the Federal Reserve System arranged by Federal funds brokers, as published on the next
succeeding Business Day by the Federal Reserve Bank of New York, or, if such rate is not so published
for any day that is a Business Day, the average (rounded upwards, if necessary, to the next 1/100 of 1%)
of the quotations for such day for such transactions received by the Agent from three Federal funds
brokers of recognized standing selected by it. Notwithstanding the foregoing, if any Financial Institution
is borrowing overnight funds on any day from a Federal Reserve Bank to make or maintain such
Financial Institution’s funding of all or any portion of a Purchaser Interest hereunder, the Federal Funds
Effective Rate, at the option of such Financial Institution, for such Financial Institution shall be the
average rate per annum at which such overnight borrowings are made on any such day. Each
determination of the Federal Funds Effective Rate shall be conclusive and binding on the Administrative
Seller and the Seller Parties, except in the case of manifest error.
                  “Fee Letter” means, collectively, (i) the Eighth Amended and Restated Master Fee Letter,
dated as of the Effective Date, by and among each Seller, the Agent and the LC Bank, as the same may be
amended, restated, supplemented or otherwise modified and in effect from time to time and (ii) any other
fee letter or agreement that may be entered into among Sellers, or Provider, and Agent from time to time
in connection with this Agreement.



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                “Filing Date” means November [●], 2019.
                “Filing Debtor” has the meaning set forth in the Preliminary Statements to this
Agreement.
                  “Final Order” means a final order of the Bankruptcy Court authorizing and approving this
Agreement and each of the other Transaction Documents pursuant to Sections 105, 362(d), 363(b)(1),
363(f), 363(m), 364(c), 364(d), 364(e) and 365 of the Bankruptcy Code and Bankruptcy Rule 4001 and
providing other relief, in substantially the form of the Interim Order (with only such modifications thereto
as are necessary to convert the Interim Order to a final order and such other modifications as are
reasonably satisfactory to the Agent) providing for, among other things, (i) assumption of the Receivables
Sale Agreements and continued sale and contribution of Receivables to the Buyer pursuant thereto and
(ii) superpriority administrative status for all claims of the Seller and the Secured Parties against each
member of the Provider Group (excluding each Seller) under the Transaction Documents, which order
shall not have been (a) vacated, reversed, or stayed, or (b) amended or modified, except as otherwise
agreed to in writing by the Agent in its respective sole and absolute discretion.
                “Final Payout Date” means the latest of (i) the Facility Termination Date and (ii) the date
on which (A) no Capital of or Discount Rate in respect of the Purchaser Interest shall be outstanding, (B)
the LC Participation Amount has been reduced to zero ($0) and no Letters of Credit issued hereunder
remain outstanding and undrawn (unless cash collateralized or backstopped in a manner agreed to in
writing by the LC Bank and the LC Participants in their sole and absolute discretion), (C) the date all
other amounts owing to the Purchasers, the Agent and the other Indemnified Parties and Affected Person
under this Agreement and each of the other Transaction Documents have been paid in full (other than
indemnification or other contingent obligations not yet due and owing) and (D) all accrued Servicing Fees
have been paid in full.
               “Finance Charges” means, with respect to a Writing or Contract, any finance, interest,
late payment charges or similar charges owing by an Obligor pursuant to such Writing or Contract.
                “Financial Institutions” has the meaning set forth in the preamble in this Agreement.
                “Financing Orders” means the Interim Order and the Final Order.
                “Floor Reserve” means, for any date, an amount equal to the result of multiplying the Net
Receivables Balance on such date by the Floor Reserve Percentage for the most recently completed
calendar month.
                  “Floor Reserve Percentage” means, for any calendar month, a percentage calculated as of
the last day of such calendar month, an amount equal to:
                LOSS FLOOR + (ED x DHR)
                where:
                LOSS FLOOR         =     10.5 %.
                ED                 =     the average of the Dilution Ratios during the preceding 12
                                         calendar months ending on the last day of the calendar month for
                                         which such Floor Reserve Percentage is established.
                DHR                =     the ratio, expressed as a percentage, computed as of such day by
                                         dividing (A) the aggregate amount of all sales by all Originators
                                         during the one and a half calendar months ending on the last day


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                                          of the calendar month for which such Floor Reserve Percentage
                                          is established, by (B) the Net Receivables Balance as of the last
                                          day of the calendar month for which such Floor Reserve
                                          Percentage is established.
                  “Foreign Purchaser” means any Purchaser that is organized under the laws of a
jurisdiction other than that in which the Sellers are located and any other Purchaser that is not a United
States person within the meaning of Section 7701(a)(30) of the Code. For purposes of this definition, the
United States of America, each State thereof and the District of Columbia shall be deemed to constitute a
single jurisdiction.
                 “Fronting Fees” has the meaning set forth in Section 1.7(e).
               “Funding Agreement” means this Agreement and any agreement or instrument executed
by any Funding Source with or for the benefit of a Company.
                 “Funding Source” means with respect to any Company (i) such Company’s Related
Financial Institution(s) or (ii) any insurance company, bank or other funding entity providing liquidity,
credit enhancement or back-up purchase support or facilities to such Company.
                “GAAP” means generally accepted accounting principles in effect in the United States of
America as of the date of this Agreement.
                 “Governmental Acts” shall have the meaning set forth in Section 1.15.
                 “Governmental Approval” means any action, order, authorization, consent, approval,
license, lease, ruling, permit, tariff, rate, certification, exemption, filing or registration from, by or with
any Governmental Authority.
                 “Governmental Authority” means the government of the United States of America, any
other nation or any political subdivision thereof, whether state or local, and any agency, authority,
instrumentality, regulatory body, court, central bank or other entity exercising executive, legislative,
judicial, taxing, regulatory or administrative powers or functions of or pertaining to government
(including any supra-national bodies such as the European Union or the European Central Bank) and any
group or body charged with setting regulatory capital rules or standards (including, without limitation, the
Basel Committee on Banking Supervision or any successor or similar authority thereto).
               “Group Capital” means, with respect to any Purchaser Group at any time, the aggregate
outstanding Capital of all Purchasers within such Purchaser Group.
               “Group Capital Limit” means, with respect to any Purchaser Group at any time, an
amount equal to (a) the sum of the Company Purchase Limits of the Companies in such Purchaser Group
minus (b) the sum of the LC Shares of the LC Participation Amounts of the LC Participants in such
Purchaser Group.
                “Immaterial Originator” means any Originator as to which the aggregate Outstanding
Balance of all Receivables sold by such Originator to the applicable Seller under the applicable
Receivables Sale Agreement as of any date of determination is less than 10% of the aggregate
Outstanding Balance of all Receivables sold by all Originators during the twelve (12) calendar months
preceding such date of determination.
                 “Incremental Purchase” means a purchase of one or more Purchaser Interests that
increases the total outstanding Aggregate Capital hereunder.



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                 “Indebtedness” of a Person means such Person’s (i) obligations for borrowed money, (ii)
obligations representing the deferred purchase price of property or services (other than accounts payable
arising in the ordinary course of such Person’s business payable on terms customary in the trade), (iii)
obligations, whether or not assumed, secured by Adverse Claims or payable out of the proceeds or
production from property now or hereafter owned or acquired by such Person, (iv) obligations that are
evidenced by bonds, debentures, notes, acceptances, or other instruments or facilities, (v) capitalized lease
obligations, (vi) net liabilities under interest rate swap, exchange or cap agreements, (vii) Contingent
Obligations and (viii) liabilities in respect of unfunded vested benefits under plans covered by Title IV of
ERISA.
                “Indemnified Party” has the meaning set forth in Section 10.1.
               “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with
respect to any payment made by or on account of any obligation of any Seller Party under any
Transaction Document and (b) to the extent not otherwise described in clause (a), Other Taxes.
                  “Independent Manager” shall mean a manager of the limited liability company that is the
general partner of any Seller who (i) shall not have been at the time of such Person’s appointment or at
any time during the preceding five years, and shall not be as long as such Person is a manager of the
Seller or a limited liability company that is the general partner of such Seller, (A) a director, officer,
employee, partner, shareholder, member, manager or Affiliate of any of the following Persons
(collectively, the “Independent Parties”): any Servicer, any Seller, any Originator, or any of their
respective Subsidiaries or Affiliates (other than an independent manager of a special purpose bankruptcy
remote entity organized for the purpose of providing financing to either Seller through the securitization
or other similar transfer, pledge or conveyance of accounts receivable), (B) the beneficial owner (at the
time of such Person’s appointment as an Independent Manager or at any time thereafter while serving as
an Independent Manager) of any partnership interest, membership interest or capital stock of either Seller,
any Originator, or any of their respective Subsidiaries or Affiliates, having general voting rights, (C) a
supplier to any of the Independent Parties, (D) a Person controlled by, controlling or under common
control with any partner, shareholder, member, manager, Affiliate or supplier of any of the Independent
Parties, or (E) a member of the immediate family of any director, officer, employee, partner, shareholder,
member, manager, Affiliate or supplier of any of the Independent Parties; (ii) has prior experience as an
independent director or independent manager for a corporation or limited liability company whose charter
documents required the unanimous consent of all independent directors or independent managers thereof
before such corporation or limited liability company could consent to the institution of bankruptcy or
Insolvency Proceeding against it or could file a petition seeking relief under any applicable federal or
state law relating to bankruptcy and (iii) has at least three years of employment experience with one or
more entities that provide, in the ordinary course of their respective businesses, advisory, management or
placement services to issuers of securitization or structured finance instruments, agreements or securities.
                 “Insolvency Proceeding” means: (a) any case, action or proceeding before any court or
other Governmental Authority relating to bankruptcy, reorganization, insolvency, liquidation,
receivership, dissolution, winding-up or relief of debtors, or (b) any general assignment for the benefit of
creditors of a Person or any composition, marshalling of assets for creditors of a Person, or other similar
arrangement in respect of its creditors generally or any substantial portion of its creditors, in each case,
undertaken under U.S. Federal, state or foreign law, including the Bankruptcy Code.
                “Intercreditor Agreement” means the Amended and Restated Intercreditor Agreement,
dated as of the Effective Date, by and between the Agent and Coöperatieve Rabobank U.A., New York
Branch, as administrative agent under the Dean Credit Agreement, as amended, restated, supplemented or
otherwise modified from time to time.



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                “Interim Order” means an order of the Bankruptcy Court in substantially the form of
Exhibit XIII, with changes to such form as are reasonably satisfactory to the Agent authorizing and
approving this Agreement and each of the other Transaction Documents pursuant to Sections 105, 362(d),
363(b)(1), 363(f), 363(m), 364(c), 364(d), 364(e) and 365 of the Bankruptcy Code and Bankruptcy Rule
4001 providing other relief, in form and substance satisfactory to the Agent in their sole and absolute
discretion, providing for, among other things, (i) assumption of the Receivables Sale Agreements and
continued sale and contribution of Receivables to the Buyer pursuant thereto and (ii) superpriority
administrative status for all claims of the Seller and the Secured Parties against each member of the
Provider Group (excluding each Seller) under the Transaction Documents.
                “Interim Report” means a report, in substantially the form of Exhibit X-A hereto
(appropriately completed), furnished by the Servicers to the Agent pursuant to Section 8.5(b) on any
Business Day as of the date that is one Business Day prior to such date.
                “LC Adjustment Percentage” means, as of any date of determination, the percentage
equal to (i) Aggregate Capital, divided by (ii) the sum of Aggregate Capital and the Adjusted LC
Participation Amount.
               “LC Amount” means the dollar amount set forth next to each LC Participant’s name
on Schedule A to this Agreement.
                “LC Bank” has the meaning set forth in the preamble in this Agreement.
                 “LC Collateral Account” means the account designated as the LC Collateral Account by
the Agent, which account shall (x) have the wiring instructions notified by the LC Bank to the Seller from
to time and (y) be maintained for the benefit of the Agent, the LC Bank and the LC Participants.
                “LC Fees” means, collectively, Fronting Fees and Other LC Fees.
                 “LC Participant” means each Financial Institution and its permitted successors and
assigns in such capacity.
               “LC Participation Amount” means at any time, the sum of the amounts then available to
be drawn under all outstanding Letters of Credit.
               “Letter of Credit Backstop Agreement” means that certain Letter of Credit Backstop
Agreement dated as of the Effective Date by and among the Provider, Sellers, the Servicers party thereto,
and PNC, and acknowledged by Agent, Nieuw Amsterdam, and Rabobank.
                “LC Share” means for each LC Participant, a percentage equal to (i) the Commitment of
such LC Participant at such time, divided by (ii) the aggregate of the Commitments of all LC Participants
at such time.
                 “Letter of Credit” means any stand-by letter of credit issued by the LC Bank for the
account of any Seller or Originator or Originator’s designee (which designee shall be an Affiliate of the
Sellers and the Originators) pursuant to this Agreement. For the avoidance of doubt, the Replacement
Letter of Credit issued in connection with the Letter of Credit Backstop Agreement shall be deemed to be
a Letter of Credit issued under this Agreement.
                “Letter of Credit Application” shall have the meaning set forth in Section 1.7(a).
                 “Level 1 Rated Obligor” shall mean each Obligor rated by either S&P or Moody’s that is
rated at least A+ by S&P, if rated by S&P, and at least A1 by Moody’s, if rated by Moody’s.




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                “Level 2 Rated Obligor” shall mean each Obligor rated by either S&P or Moody’s, other
than a Level 1 Rated Obligor, that is rated at least A by S&P, if rated by S&P, and at least A2 by
Moody’s, if rated by Moody’s.
                 “Level 3 Rated Obligor” shall mean each Obligor rated by either S&P or Moody’s, other
than a Level 1 Rated Obligor or a Level 2 Rated Obligor, that (x) is rated at least BBB- by S&P, if rated
by S&P, and at least Baa3 by Moody’s, if rated by Moody’s, or (y) if such Obligor is not rated by S&P, is
rated at least Baa2 by Moody’s.
                 “LIBO” means, for any Tranche Period, the greater of (a) 0.00% and (b) the rate
appearing on Reuters Page LIBOR01 (or on any successor or substitute page of such page providing rate
quotations comparable to those currently provided on such page), as determined by the Agent; provided,
that in the event that such rate is not available at such time for any reason, then the “LIBO” with respect
to such Tranche Period shall be the rate, rounded upwards, if necessary, to the next 1/16 of 1%, at which
dollar deposits of $5,000,000 and for a maturity comparable to such Tranche Period are offered by the
principal London office of the Agent.
                “LIBO Rate” means for any Tranche Period an interest rate per annum (rounded upwards,
if necessary, to the next 1/100 of 1%) equal to (a) applicable LIBO multiplied by (b) the Statutory
Reserve Rate.
                “LIBO Successor Rate” has the meaning assigned to such term in Section 4.5(c).
                  “LIBO Successor Rate Conforming Changes” shall mean, with respect to any proposed
LIBO Successor Rate, any conforming changes to the definition of LIBO, LIBO Rate, Alternate Base
Rate, Tranche Period, timing and frequency of determining rates and making payments of interest and
other administrative matters in each case as may be appropriate, in the reasonable discretion of the Agent,
to reflect the adoption of such LIBO Successor Rate and to permit the administration thereof by the Agent
in a manner substantially consistent with market practice (or, if the Agent determines that adoption of any
portion of such market practice is not administratively feasible or that no market practice for the
administration of such LIBO Successor Rate exists, in such other manner of administration as the Agent
reasonably determines in consultation with the Sellers).
                [“Liquidity Termination Date” means the earliest to occur of:
               (i)      the effective date of a plan of reorganization filed in the Chapter 11 Cases that is
confirmed pursuant to an order of the Bankruptcy Court;
               (ii)      the date of consummation of a sale, pursuant to section 363 of the Bankruptcy
Code or otherwise, of all or substantially all of the Provider Group’s assets;
                (iii)  the date that is thirty-five (35) days after the Filing Date if a Final Order has not
been entered by the Bankruptcy Court by such date;
                 (iv)    the Interim Order or the Final Order, as applicable, ceasing to be in full force and
effect for any reason;
                 (v)    the termination of the Commitments or the repayment, satisfaction or discharge
of all obligations under any Transaction Document including, without limitation, as the result of the
occurrence of an Amortization Event; and
                (vi)     the Scheduled Liquidity Termination Date.
                 “Liquidity Termination Date Extension Conditions” shall mean:


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                (i)     any Seller shall provide written notice (an “Extension Election Notice”) to the
Agent and the Purchasers of the exercise of such Extension Election not more than thirty (30) days and
not fewer than fifteen (15) days prior to the Scheduled Liquidity Termination Date of the Extended
Liquidity Termination Date, which notice shall be irrevocable when delivered and shall be confirmed
promptly by telephonic notice to the Agent and shall certify, represent and warrant that on the date of
delivery of such Extension Election Notice, both immediately before and after such delivery:
                      (a)      the representations and warranties of each Seller Party set forth in this
                Agreement shall be true and correct; and
                        (b)     no Amortization Event or Potential Amortization Event shall have
                occurred and be continuing or result therefrom;
                (ii)   the applicable Seller shall have paid to the Agent for the account of each
Purchaser a fee equal to 0.50% of the Aggregate Capital at the time of delivery of the applicable
Extension Election Notice; and
                (iii)    on the original Scheduled Liquidity Termination Date:
                      (a)      the representations and warranties of each Seller Party set forth in this
                Agreement shall be true and correct; and
                        (b)    no Amortization Event or Potential Amortization Event shall have
                occurred and be continuing or result from the extension of the Scheduled Liquidity
                Termination Date; and
                 (iv)     the Provider shall have filed a disclosure statement and plan of reorganization
(but not liquidation) in the Chapter 11 Cases and/or a motion for the disposition of all or substantially all
of the Provider Group’s assets either through a sale under section 363 of the Bankruptcy Code (with
proposed bidding procedures), in each case, in form and substance satisfactory to the Agent and the
Required Purchasers.
                “Local Originator” means each of Mayfield Dairy Farms, LLC, Reiter Dairy, LLC and
Verifine Dairy Products of Sheboygan, LLC.
                “Lock-Box” means each locked postal box with respect to which a bank who has
executed a Collection Account Agreement has been granted exclusive access for the purpose of retrieving
and processing payments made on the Receivables and that is listed on Exhibit IV.
                 “Loss Reserve” means, for any date, the product of (i) the Net Receivables Balance on
such date and (ii) the greater of (a) the Loss Reserve Percentage for the most recently completed calendar
month and (b) 10.5%.
                “Loss Reserve Percentage” means, for any calendar month, an amount equal to the Stress
Factor multiplied by the Loss Ratio for such calendar month multiplied by the Loss Horizon Ratio for
such calendar month,
                where:

                Loss Ratio                           =       For any calendar month, the highest three
                                                             month rolling average Loss Proxy Ratio in
                                                             the most recent twelve months prior to such
                                                             month.




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                Loss Proxy Ratio                    =       For any calendar month, (x) the sum of (i)
                                                            the Outstanding Balance of all Receivables
                                                            originated by Loss Proxy Reporting
                                                            Originators as to which any payment, or part
                                                            thereof, remains unpaid for more than 90 but
                                                            less than 121 days from the original invoice
                                                            date for such payment as of the last day of
                                                            such calendar month, (ii) the Outstanding
                                                            Balance of all Receivables originated by
                                                            Non-Loss Proxy Reporting Originators as to
                                                            which any payment, or part thereof, remains
                                                            unpaid for more than 90 days from the
                                                            original invoice date for such payment as of
                                                            the last day of such calendar month, and (iii)
                                                            the Outstanding Balance of all Receivables
                                                            that have been written off a Seller’s book as
                                                            uncollectible during such month that were
                                                            less than 91 days from the original invoice
                                                            date, divided by (y) the aggregate sales for
                                                            the calendar month occurring three months
                                                            immediately prior to such month.

                Loss Proxy Reporting                =       All Originators for which any Monthly
                Originators                                 Report lists the Outstanding Balance of all
                                                            Receivables of such Originators as to which
                                                            any payment, or part thereof, remains unpaid
                                                            for more than 90 but less than 121 days from
                                                            the original invoice date for such payment as
                                                            of the last day of such calendar month.

                Loss Horizon Ratio                  =       For any calendar month, (x) the aggregate
                                                            amount of sales for all of the Originators for
                                                            the three calendar months most recently
                                                            ended, divided by (y) the Net Receivables
                                                            Balance as of the last day of such calendar
                                                            month.

                Non-Loss Proxy Reporting            =       All Originators other than the Loss Proxy
                Originators                                 Reporting Originators.


                  “Material Adverse Effect” means a material adverse change in, or a material adverse
effect on (i) the operations, business, assets, properties, liabilities (actual or contingent) or financial
condition of any Seller Party and its Subsidiaries taken as a whole ((i) other than (x) the filing of the
Chapter 11 Cases, (y) those events, conditions and circumstances related and/or leading up to and
customarily resulting from the commencement of the Chapter 11 Cases (including defaults under
agreements that have no effect under the terms of the Bankruptcy Code as a result of the commencement
of the Chapter 11 Cases) and (z) any reduction in payment terms by suppliers and vendors relating to or
resulting from the commencement of the Chapter 11 Cases and (ii) taking into account the effect of the
automatic stay under the Bankruptcy Code), (ii) the ability of any Seller Party to perform its obligations
under this Agreement or Provider to perform its obligations under any Performance Undertaking, (iii) the
legality, validity or enforceability of this Agreement or any other Transaction Document, (iv) Agent’s or


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any Secured Party’s interest in the Receivables generally or in any significant portion of the Receivables,
the Related Security or the Collections with respect thereto, (v) the validity, enforceability, value or
collectibility of the Receivables generally or of any material portion of the Receivables, or (vi) the rights
and remedies of any Secured Party under the Transaction Documents.
                 “Maximum Available LC Commitment” means, with respect to any LC Participant at
any time, an amount equal to (a) the sum of the Company Purchase Limits of the Companies in such LC
Participant’s Purchaser Group minus (b) the Group Capital of such LC Participant’s Purchaser Group.
               “Maximum LC Amount” means the aggregate of each LC Amount in an amount not to
exceed $450 million.
                “Maximum Purchaser Interest Percentage” has the meaning set forth in Section 2.6.
                “Monthly Report” means a report, in substantially the form of Exhibit X hereto
(appropriately completed), furnished by the Servicers to the Agent pursuant to Section 8.5.
                “Moody’s” means Moody’s Investors Service, Inc. or any successor thereof.
                 “Net Receivables Balance” means, at any time, the aggregate Outstanding Balance of all
Eligible Receivables at such time reduced by the sum of (i) the aggregate amount by which the
Outstanding Balance of all Eligible Receivables of each Obligor and its Affiliates exceeds the
Concentration Limit for such Obligor and (ii) any past due amounts of Raw Milk Accounts Payable. For
the avoidance of doubt and notwithstanding any other provision hereof, the failure of any Seller Party to
make any payments owed by such Seller Party on account of raw milk purchased by such Seller Party at
any of its plants outside of the State of Texas shall not reduce the Net Receivables Balance or otherwise
have the effect of reducing the availability of Commitments hereunder nor shall result in, or be deemed to
result in, an Amortization Event or a Potential Amortization Event hereunder; provided that upon
notification by the Agent, such deduction in this clause (ii) shall be the aggregate outstanding accrued
balance (including amount already billed but unpaid, without duplication) of Raw Milk Payable Amount.
                 “Nonrenewing Financial Institution” has the meaning set forth in Section 4.6(a).
                “Notice Date” shall have the meaning set forth in Section 1.7(b).
                “Obligations” shall have the meaning set forth in Section 2.1.
                “Obligor” means a Person obligated to make payments pursuant to a Writing or Contract.
                “OFAC” means the Office of Foreign Assets Control of the United States Department of
the Treasury.
                “Order” shall have the meaning set forth in Section 1.16.
                  “Originator” means each of the entities listed on Schedule D hereto, in their respective
capacities as sellers under the Receivables Sale Agreements.
                 “Other Connection Taxes” means, with respect to any Recipient, Taxes imposed as a
result of a present or former connection between such Recipient and the jurisdiction imposing such Tax
(other than connections arising from such Recipient having executed, delivered, become a party to,
performed its obligations under, received payments under, received or perfected a security interest under,
engaged in any other transaction pursuant to or enforced any Transaction Document, or sold or assigned
an interest in any Purchaser Interest or Transaction Document).
                “Other LC Fees” has the meaning set forth in Section 1.7(e).


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                 “Other Taxes” means all present or future stamp, court or documentary, recording, filing
or similar Taxes that arise from any payment made under, from the execution, delivery, performance,
enforcement or registration of, from the receipt or perfection of a security interest under, or otherwise
with respect to, any Transaction Document, except any such Taxes that are Other Connection Taxes
imposed with respect to an assignment (other than an assignment made pursuant to Section 12.4), grant of
a participation, or transfer or designation of a new applicable lending office for receiving payments under
any Transaction Document and Excluded Taxes.
                “Outstanding Balance” of any Receivable at any time means the then outstanding
principal balance thereof.
                “Participant” has the meaning set forth in Section 12.2.
                “Participant Register” has the meaning set forth in Section 12.2.
                “Participation Advance” shall have the meaning set forth in Section 1.9(c).
               “Patriot Act” means the Uniting and Strengthening America by Providing Appropriate
Tools Required to Intercept and Obstruct Terrorism Act of 2001, Public Law 107-56.
                 “Performance Undertaking” means each of (i) that certain Fifth Amended and Restated
Performance Undertaking, dated as of the Effective Date, by Provider in favor of Dairy Group and (ii)
that certain Fourth Amended and Restated Dean Performance Undertaking, dated as of the Effective Date,
by Provider in favor of Dairy Group II, each substantially in the form of Error! Reference source not
found. and as each may be further amended, restated or otherwise modified from time to time.
                “Periodic Report” means each Monthly Report and Weekly Report.
                  “Person” means an individual, partnership, corporation (including a business trust),
limited liability company, joint stock company, trust, unincorporated association, joint venture or other
entity, or a government or any political subdivision or agency thereof.
                “PNC” means PNC Bank, National Association, a national banking association.
                “Pool Assets” has the meaning set forth in Section 14.14(b).
                “Pool Company” means the Rabo Company.
                “Pooled Commercial Paper” means Commercial Paper notes of any Pool Company
subject to any particular pooling arrangement by such Pool Company, but excluding Commercial Paper
issued by such Pool Company for a tenor and in an amount specifically requested by any Person in
connection with any agreement effected by such Pool Company.
                 “Potential Amortization Event” means an event that, with the passage of time or the
giving of notice, or both, would constitute an Amortization Event.
                 “Prime Rate” means a fluctuating interest rate per annum as shall be in effect from time
to time, which rate per annum shall be equal to the rate of interest published in The Wall Street Journal as
the “Prime Rate” on such day or, if such day is not a day on which The Wall Street Journal is published,
subject to the following sentence, the immediately preceding day on which The Wall Street Journal was
published. In the event that The Wall Street Journal should cease or temporarily interrupt publication,
then the rate to be used for purposes of the preceding sentence shall be the daily average prime rate
published in another business newspaper, or business section of a newspaper, of national standing chosen
by Coöperatieve Rabobank U.A., New York Branch, and if The Wall Street Journal thereafter resumes
publication, the substitute index will immediately be replaced by the “Prime Rate” published in The Wall


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Street Journal. Coöperatieve Rabobank U.A., New York Branch shall deliver notice of any such
substitution of indices to the Sellers and the Purchasers.
                 “Pro Rata Share” means, (a) for each Financial Institution, a percentage equal to (i) the
Commitment of such Financial Institution, divided by (ii) the aggregate amount of all Commitments of all
Financial Institutions in such Financial Institution’s Purchaser Group adjusted as necessary to give effect
to the application of the terms of Section 4.6, and (b) for each Company, a percentage equal to (i) the
Company Purchase Limit of such Company, divided by (ii) the aggregate amount of all Company
Purchase Limits of all Companies hereunder.
                “Proposed Reduction Date” has the meaning set forth in Section 1.3.
                “Provider” means Dean Foods Company, a Delaware corporation and a debtor and
debtor-in-possession under Chapter 11 of the Bankruptcy Code, together with its successors and assigns.
                “Provider Group” means Provider, any Seller, any Originator that is a Subsidiary of
Provider or any of their respective Subsidiaries.
               “Provider’s Rating” means the long-term senior unsecured debt rating of the Provider
from each of Moody’s and S&P, as applicable.
                “Purchase” has the meaning set forth in Section 1.1.
                “Purchase Limit” means $425,000,000, as such amount may be modified in accordance
with the terms of Section 4.6(a).
                “Purchase Notice” has the meaning set forth in Section 1.2.
                 “Purchase Price” means, with respect to any Incremental Purchase of a Purchaser
Interest, the amount paid to the applicable Seller for such Purchaser Interest that shall not exceed the least
of (i) the amount requested by the Administrative Seller in the applicable Purchase Notice, (ii) the unused
portion of the Purchase Limit on the applicable purchase date and (iii) the excess, if any, of the Net
Receivables Balance (less the Aggregate Reserves) on the applicable purchase date over the aggregate
outstanding amount of Aggregate Capital and LC Participation Amount on the applicable purchase date,
immediately prior to such proposed Incremental Purchase.
                 “Purchaser Group” means with respect to (i) each Company, a group consisting of such
Company and its Related Financial Institutions and (ii) each Financial Institution, a group consisting of
such Financial Institution, the Company, if any, for which such Financial Institution is a Related Financial
Institution and each other Financial Institution that is a Related Financial Institution for such Company.
                “Purchaser Interest” means, at any time, an undivided percentage ownership interest
(computed as set forth below) associated with a designated amount of Capital, selected pursuant to the
terms and conditions hereof in (i) each Receivable arising prior to the time of the most recent computation
or recomputation of such undivided interest, (ii) all Related Security with respect to each such
Receivable, and (iii) all Collections with respect to, and other proceeds of, each such Receivable. Each
such undivided percentage interest shall equal:
                                                    C
                                                 NRB − AR
                where:
                C          =     the Capital of such Purchaser Interest.



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                AR        =     the Aggregate Reserves.
                NRB       =     the Net Receivables Balance.
                 Such undivided percentage ownership interest shall be initially computed on its date of
purchase. Thereafter, until the Amortization Date, each Purchaser Interest shall be automatically
recomputed (or deemed to be recomputed) on each day prior to the Amortization Date. From and after
the Amortization Date, the sum of all Purchaser Interests shall equal 100%, and shall remain constant at
all times thereafter until all Aggregate Unpaids shall have been paid and all Letters of Credit shall have
terminated or expired.
                “Purchasers” means each Company and each Financial Institution.
                “Purchasing Financial Institution” has the meaning set forth in Section 12.1(b).
                “Qualifying Interim Report” has the meaning set forth in Section 8.5(b).
                 “Rabo Company” means Nieuw Amsterdam Receivables Corporation B.V., together with
its successors and assigns.
                “Rabobank” means Coöperatieve Rabobank U.A.
               “Rating Agency” means, collectively, the nationally recognized rating agency or agencies
chosen by any Company to rate its respective Commercial Paper notes at any time, including, as of the
date hereof, Moody’s, Fitch Ratings and S&P.
                “Ratings Request” has the meaning set forth in Section 10.2.
                 “Raw Milk Accounts Payable Amount” means, at any time, the aggregate amount
overdue and payable at such time by the Originators for raw milk purchased by the Originators at any of
their plants located in the State of Texas. The Servicers shall report the Raw Milk Accounts Payable
Amount in each Interim Report, Monthly Report, and Weekly Report, as applicable. For the avoidance of
doubt, the Raw Milk Accounts Payable Amount reported in each Monthly Report and Weekly Report
shall be determined as of the same date as the Net Receivables Balance reported in such report.
                “Rebate/Billback” means, with respect to any Receivable, any incentives provided to the
Obligor thereof related to volume rebates or price incentives, the dollar amount of which is known at the
time of invoice of such Receivable.
                 “Receivable” means all indebtedness and other obligations owed to the applicable
Originator (at the time it arises, and before giving effect to any transfer or conveyance under any
Receivables Sale Agreement or hereunder) or owed to any Seller (after giving effect to any transfer or
conveyance under any Receivables Sale Agreement or hereunder) or in which any Seller or such
Originator has a security interest or other interest, including, without limitation, any indebtedness,
obligation or interest constituting an account, chattel paper, instrument or general intangible, arising in
connection with the sale of goods or the rendering of services by such Originator and further includes,
without limitation, the obligation to pay any Finance Charges with respect thereto. Indebtedness and
other rights and obligations arising from any one transaction, including, without limitation, indebtedness
and other rights and obligations represented by an individual invoice, shall constitute a Receivable
separate from a Receivable consisting of the indebtedness and other rights and obligations arising from
any other transaction; provided that any indebtedness, rights or obligations referred to in the immediately
preceding sentence shall be a Receivable regardless of whether the account debtor or any Seller treats
such indebtedness, rights or obligations as a separate payment obligation.



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               “Receivables Sale Agreement” means each of the Suiza Receivables Sale Agreement and
the Dean Receivables Sale Agreement.
                “Recipient” means (a) the Agent, (b) any Purchaser and (c) the LC Bank, as applicable.
                “Records” means, with respect to any Receivable, all Writings or Contracts and other
documents, books, records and other information (including, without limitation, computer programs,
tapes, disks, punch cards, data processing software and related property and rights) relating to such
Receivable, any Related Security therefor and the related Obligor.
                “Reduction Notice” has the meaning set forth in Section 1.3.
                “Regulatory Requirement” has the meaning set forth in Section 10.2(a).
                “Reimbursement Obligation” shall have the meaning set forth in Section 1.9.
                “Reinvestment” has the meaning set forth in Section 2.2.
                  “Related Financial Institution” means with respect to each Company, each Financial
Institution set forth opposite such Company’s name in Schedule A to this Agreement and/or, in the case
of an assignment pursuant to Section 12.1, set forth in the applicable Assignment Agreement.
                “Related Security” means, with respect to any Receivable:
                (i)      all security interests or liens and property subject thereto from time to time, if
any, purporting to secure payment of such Receivable, whether pursuant to the Writing or Contract
related to such Receivable or otherwise, together with all financing statements and security agreements
describing any collateral securing such Receivable,
               (ii)     all guaranties, letters of credit, insurance, “supporting obligations” (within the
meaning of Section 9-102(a) of the UCC of all applicable jurisdictions) and other agreements or
arrangements of whatever character from time to time supporting or securing payment of such Receivable
whether pursuant to the Writing or Contract related to such Receivable or otherwise,
                (iii)   all service contracts and other contracts and agreements associated with such
Receivable,
                (iv)    all Records related to such Receivable,
                   (v)      all of the applicable Seller’s right, title and interest in, to and under the
Receivables Sale Agreement to which it is a party in respect of such Receivable and all of the applicable
Seller’s right, title and interest in, to and under the applicable Performance Undertaking,
                (vi)    all of the applicable Seller’s right, title and interest in, to and under each Demand
Note, and
                (vii)   all proceeds of any of the foregoing.
                “Replacement Letter of Credit” has the meaning set forth in Section 1.6.
               “Required Purchasers” means, at any time, collectively, the Financial Institutions with
Commitments in excess of 66-2/3% of the aggregate Commitments and the Companies with Company
Purchase Limits in excess of 66-2/3% of the aggregate amount of all Company Purchase Limits of all
Companies hereunder.
                “Required Rating” has the meaning set forth in Section 10.2.


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                 “Restricted Junior Payment” means (i) any dividend or other distribution, direct or
indirect, on account of any shares of any class of capital stock or other equity interest of any Seller now or
hereafter outstanding, except a dividend or distribution payable solely in shares of that class of stock or
equity interest or in any junior class of stock or other junior equity interest of such Seller, (ii) any
redemption, retirement, sinking fund or similar payment, purchase or other acquisition for value, direct or
indirect, of any shares of any class of capital stock or other equity interest of any Seller now or hereafter
outstanding, (iii) any payment or prepayment of principal of, premium, if any, or interest, fees or other
charges on or with respect to, and any redemption, purchase, retirement, defeasance, sinking fund or
similar payment and any claim for rescission with respect to the Subordinated Loans (as defined in the
Receivables Sale Agreements), (iv) any payment made to redeem, purchase, repurchase or retire, or to
obtain the surrender of, any outstanding warrants, options or other rights to acquire shares of any class of
capital stock or other equity interest of any Seller now or hereafter outstanding, and (v) any payment of
management fees by any Seller (except for reasonable management fees to the Originators or their
respective Affiliates in reimbursement of actual management services performed).
               “S&P” means Standard & Poor’s Ratings Services, a division of The McGraw Hill
Companies, Inc. or any successor thereof.
                “Sanctions” means sanctions or trade embargoes imposed, administered or enforced by
OFAC, the United States Department of State, the United Nations Security Council, the European Union,
the Netherlands, or to the extent applicable to any Seller Party, any other sanctions authority.
                “Scheduled Liquidity Termination Date” means the date that is 9 months after the
Effective Date; provided that, at the election of any Seller (an “Extension Election”), and subject to
compliance by such Seller with each of the Liquidity Termination Date Extension Conditions, such date
shall be extended (on not more than one occasion) to a date not later than the date that is 12 months after
the Effective Date (such date, the “Extended Liquidity Termination Date”).
               “Secured Parties” means the Agent, each Purchaser, each Indemnified Party and each
Affected Person.
                “Seller” has the meaning set forth in the preamble to this Agreement.
                “Seller Parties” has the meaning set forth in the preamble to this Agreement.
                “Servicer” means at any time any Person or Persons (which may be the Agent) then
authorized pursuant to Article VIII to service, administer and collect Receivables.
                “Servicing Fee” has the meaning set forth in Section 8.6.
                “Servicing Fee Rate” has the meaning set forth in Section 8.6.
                 “Settlement Date” means (A) the 5th Business Day of each month or, if a Weekly
Settlement Notice shall have been delivered, each Weekly Settlement Date, (B) the last day of the
relevant CP (Tranche) Accrual Period in respect of each Purchaser Interest held by the any Pool Company
(other than any Purchaser Interest funded substantially with Pooled Commercial Paper) and (C) the last
day of the relevant Tranche Period in respect of each Purchaser Interest of the Financial Institutions.
                “Settlement Period” means, with respect to any Settlement Date, (A) in respect of each
Purchaser Interest of each Pool Company that is funded substantially with Pooled Commercial Paper, the
CP (Pool) Accrual Period ending on such Settlement Date, (B) in respect of each other Purchaser Interest
of any Pool Company, the CP (Tranche) Accrual Period of such Purchaser Interest ending on such
Settlement Date and (C) in respect of each Purchaser Interest of the Financial Institutions, the Tranche
Period of such Purchaser Interest ending on or immediately prior to such Settlement Date.


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                 “Statutory Reserve Rate” means a fraction (expressed as a decimal), the numerator of
which is the number one and the denominator of which is the number one minus the aggregate of the
maximum reserve percentages (including any marginal, special, emergency or supplemental reserves)
expressed as a decimal established by the Board of Governors of the Federal Reserve System to which the
Agent is subject with respect to the LIBO Rate, for eurocurrency funding (currently referred to as
“Eurocurrency Liabilities” in Regulation D of the Board of Governors of the Federal Reserve System).
Such reserve percentages shall include those imposed pursuant to such Regulation D. Any Tranche
Period funded based upon the LIBO Rate shall be deemed to constitute eurocurrency funding and to be
subject to such reserve requirements without benefit of or credit for proration, exemptions or offsets that
may be available from time to time for any Financial Institution or its assignee under such Regulation D
or any comparable regulation. The Statutory Reserve Rate shall be adjusted automatically on and as of
the effective date of any change in any reserve percentage.
                “Stress Factor” means a factor of 2.25 times.
                  “Subsidiary” of a Person means (i) any corporation more than 50% of the outstanding
securities having ordinary voting power of which shall at the time be owned or controlled, directly or
indirectly, by such Person or by one or more of its Subsidiaries or by such Person and one or more of its
Subsidiaries, or (ii) any partnership, association, limited liability company, joint venture or similar
business organization more than 50% of the ownership interests having ordinary voting power of which
shall at the time be so owned or controlled.
                “Suiza Dairy” means Suiza Dairy Group, LLC, a Delaware limited liability company and
a debtor and debtor-in-possession under Chapter 11 of the Bankruptcy Code.
               “Suiza Receivables Sale Agreement” means that certain Third Amended and Restated
Receivables Sale Agreement, dated as of the Effective Date, among Country Fresh, LLC, Dean East,
LLC, Dean Foods of Wisconsin, LLC, Dean West, LLC, Friendly’s Ice Cream Holdings Corp., Friendly’s
Manufacturing and Retail, LLC, Garelick Farms, LLC, Model Dairy, LLC, Shenandoah’s Pride, LLC,
Southern Foods Group, LLC, Suiza Dairy Group, LLC, Tuscan/Lehigh Dairies, Inc. and Dairy Group, as
the same may be amended, restated, supplemented or otherwise modified from time to time.
                “Superpriority Claim” means a claim against any member of the Provider Group
(excluding each Seller) in any of the Chapter 11 Cases, which is an administrative expense claim having
priority over any or all administrative expenses of the kind specified in Section 503(b) or 507(b) of the
Bankruptcy Code.
               “Taxes” means all present or future taxes, levies, imposts, duties, deductions,
withholdings (including backup withholding), assessments, fees or other charges imposed by any
Governmental Authority, including any interest, additions to tax or penalties applicable thereto.
                “Terminating Commitment Amount” means, with respect to any Terminating Financial
Institution, an amount equal to the Commitment (without giving effect to any reduction to such
Commitment pursuant to Section 4.6(a)) of such Terminating Financial Institution.
                 “Terminating Commitment Availability” means, with respect to any Terminating
Financial Institution, the positive difference (if any) between (a) an amount equal to the Commitment
(without giving effect to any reduction to such Commitment pursuant to Section 4.6(a)) of such
Terminating Financial Institution, minus (b) the sum of the Capital of the Purchaser Interests funded by
such Terminating Financial Institution and such Terminating Financial Institution’s LC Share of the LC
Participation Amount.
                “Terminating CP Tranche” has the meaning set forth in Section 3.4(b).


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                “Terminating Financial Institution” has the meaning set forth in Section 4.6(a).
                “Terminating Tranche” has the meaning set forth in Section 4.3(b).
                 “Termination Date” means, with respect to a Terminating Financial Institution and, if
applicable, each Company in such Terminating Financial Institution’s Purchaser Group, the date on which
such Terminating Financial Institution became a NonRenewing Financial Institution or, in the case of
Section 9.2, the date such Financial Institution terminates its Commitment in accordance therewith.
                “Termination Percentage” has the meaning set forth in Section 2.2.
                “Top Twenty-Five Obligors” means, of all Obligors of Receivables, the twenty-five
Obligors having the highest aggregate outstanding balances of all Receivables as of April 2 and October 2
of each calendar year, provided that until the first occurrence of such date after the date hereof, the Top
Twenty-Five Obligors shall be those Obligors listed on Schedule F.
                 “Tranche Period” means:
                (i)     if Yield for such Purchaser Interest is calculated on the basis of the LIBO Rate, a
period of one week, one, two, three or six months, or such other period as may be mutually agreeable to
the applicable Financial Institution and the Administrative Seller, commencing on a Business Day
selected by the Administrative Seller or the applicable Financial Institution pursuant to this Agreement. If
such Tranche Period is one month or longer, then such Tranche Period shall end on the day in the
applicable succeeding calendar month that corresponds numerically to the beginning day of such Tranche
Period, provided, however, that if there is no such numerically corresponding day in such succeeding
month, such Tranche Period shall end on the last Business Day of such succeeding month; or
                (ii)    if Yield for such Purchaser Interest or is calculated on the basis of the Alternate
Base Rate, a period commencing on a Business Day selected by the Administrative Seller and agreed to
by the applicable Financial Institution, provided no such period shall exceed one month.
If any Tranche Period would end on a day that is not a Business Day, such Tranche Period shall end on
the next succeeding Business Day, provided, however, that in the case of Tranche Periods corresponding
to the LIBO Rate and which is or are one month or longer, if such next succeeding Business Day falls in a
new month, such Tranche Period shall end on the immediately preceding Business Day. In the case of
any Tranche Period for any Purchaser Interest that commences before the Amortization Date and would
otherwise end on a date occurring after the Amortization Date, such Tranche Period shall end on the
Amortization Date. The duration of each Tranche Period that commences after the Amortization Date
shall be of such duration as selected by the applicable Financial Institution.
                 “Transaction Documents” means, collectively, this Agreement, each Purchase Notice,
each Receivables Sale Agreement, each Collection Account Agreement, each Performance Undertaking,
the Intercreditor Agreement, the Fee Letter, the Demand Notes, the Periodic Reports, the Interim Reports,
the Subordinated Notes (as defined in each Receivables Sale Agreement), each Letter of Credit and all
other instruments, documents and agreements executed and delivered in connection herewith.
                 “UCC” means the Uniform Commercial Code as from time to time in effect in the
specified jurisdiction.
               “Unrated Obligor” means each Obligor other than a Level 1 Rated Obligor, Level 2
Rated Obligor or a Level 3 Rated Obligor.
                “Unrated Obligor Concentration Limit” means 2%.



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                “U.S. Person” means a “United States person” within the meaning of Section 7701(a)(30)
of the Code.
                 “U.S. Tax Compliance Certificate” has the meaning assigned to such term in Section
10.7(f)(ii)(B)(3).
                “Weekly Report” means (i) prior to delivery of a Weekly Settlement Notice, an
abbreviated servicing report, containing only weekly aging information and Raw Milk Accounts Payable
Amount information, in a form reasonably acceptable to the Agent with respect to and as of the end of the
immediately preceding calendar week, and (ii) thereafter, a servicing report in form reasonably acceptable
to the Agent.
                “Weekly Settlement Date” means the 3rd Business Day of each calendar week.
                “Weekly Settlement Notice” means a notice delivered by the Agent or the Required
Purchasers to the Sellers requiring settlements under this Agreement on Weekly Settlement Dates.
                 “Wells Fargo Collection Account” means each concentration account, depositary
account, lock-box account or similar account, held at Wells Fargo Bank or Wells Payment Express as
listed on Exhibit VI, in which any Collections are collected or deposited.
                “Wells Fargo Termination Letter” means that certain Termination of Deposit Account
Control Agreement letter dated as of November 6, 2019 from Wells Fargo Bank, National Association
(“Wells Fargo”) to Provider and Agent in respect of that certain Deposit Account Control Agreement
dated as of December 22, 2016, by and among Wells Fargo Bank, National Association, Agent, and the
Originators party thereto.
                “Withholding Agent” means any Seller and the Agent.
                “Write-Down and Conversion Powers” means, with respect to any EEA Resolution
Authority, the write-down and conversion powers of such EEA Resolution Authority from time to time
under the Bail-In Legislation for the applicable EEA Member Country, which write-down and conversion
powers are described in the EU Bail-In Legislation Schedule.
                “Writing” means, with respect to any Receivable, any and all instruments, invoices,
purchase orders or other writings (which may be electronic) (other than Contracts) pursuant to which such
Receivable arises or that evidences such Receivable.
                 “Yield” means for each respective Tranche Period relating to Purchaser Interests of the
Financial Institutions, an amount equal to the product of (a) the sum of (i) the applicable Discount Rate
for each Purchaser Interest and (ii) the Drawn Liquidity Spread, multiplied by (B) the Capital of such
Purchaser Interest for each day elapsed during such Tranche Period, annualized on a 360 day basis.
                 “Yield and Servicer Reserve” means, on any date of determination, an amount equal to
the product of (i) the Net Receivables Balance as of such date and (ii) the sum of (x) (LIBO plus the
Drawn Liquidity Spread on such date multiplied by the ADSO Reserve on such date) divided by 360 and
(y) (the Servicing Fee Rate multiplied by ADSO Reserve) divided by 360
                Where:
                ADSO                =      As of any date, the highest three consecutive month average
                                           Days Sales Outstanding during the most recent twelve
                                           calendar months preceding such date




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               ADSO Reserve        =      For any date of determination, ADSO as of such date
                                          multiplied by the Stress Factor
                 All accounting terms not specifically defined herein shall be construed in accordance
with GAAP. All terms used in Article 9 of the UCC in the State of New York, and not specifically
defined herein, are used herein as defined in such Article 9.




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                              EXHIBIT II

                      FORM OF PURCHASE NOTICE

                            [To be attached]




                              Exh. II-1
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                             EXHIBIT III

     JURISDICTION OF ORGANIZATION; PRINCIPAL PLACES OF BUSINESS;
       LOCATIONS OF RECORDS; FEIN; STATE ORG. NO.; OTHER NAMES

                            [To be attached]




                              Exh. III-1
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                             EXHIBIT IV

         NAMES OF COLLECTION BANKS; COLLECTION ACCOUNTS



                            [To be attached]




                             Exh. IV-1
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                              EXHIBIT V

                  FORM OF COMPLIANCE CERTIFICATE

                            [To be attached]




                              Exh. V-1
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                             EXHIBIT VI

              FORM OF COLLECTION ACCOUNT AGREEMENT

                            [To be attached]




                             Exh. VI-1
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                              ANNEX A

                           FORM OF NOTICE

                           [To be attached]




                             Exh. VI-2
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                             EXHIBIT VII

                  FORM OF ASSIGNMENT AGREEMENT

                            [To be attached]




                             Exh. VII-1
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                                 EXHIBIT VIII

                    CREDIT AND COLLECTION POLICIES

             See Exhibit V to each of the Receivables Sale Agreements




                                  Exh. VIII-1
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                             EXHIBIT IX

                FORM OF LETTER OF CREDIT APPLICATION

                            [To be Attached]
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                              EXHIBIT X

                      FORM OF MONTHLY REPORT

                            [To be attached]




                              Exh. X-1
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                             EXHIBIT X-A

                      FORM OF INTERIM REPORT


                            [To be Attached]




                              Exh. XI-1
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                                 EXHIBIT XI
                   [FORM OF PERFORMANCE UNDERTAKING]
                              [To be attached]




                             Exh. XI-1
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                            EXHIBIT XII-1

              FORM OF U.S. TAX COMPLIANCE CERTIFICATE


                            [To be attached]




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                            EXHIBIT XII-2
              FORM OF U.S. TAX COMPLIANCE CERTIFICATE
                            [To be attached]




                             Exh. XII-2
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                            EXHIBIT XII-3
              FORM OF U.S. TAX COMPLIANCE CERTIFICATE
                            [To be attached]




                             Exh. XII-3
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                            EXHIBIT XII-4
              FORM OF U.S. TAX COMPLIANCE CERTIFICATE
                            [To be attached]




                             Exh. XII-4
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                             EXHIBIT XIII

                           INTERIM ORDER

                            [To be Attached]




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                               SCHEDULE A
    COMMITMENTS, COMPANY PURCHASE LIMITS, PAYMENT ADDRESSES
      AND RELATED FINANCIAL INSTITUTIONS AND LC PARTICIPANTS
           Commitments and Payment Addresses of Financial Institutions


                              [To be attached]




                                Sch. A-1
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                                            SCHEDULE B

                               LIST OF CLOSING DOCUMENTS
               Except as noted below, each document is dated as of the Effective Date.



I.         Principal Documents


     1.    Ninth Amended and Restated Receivables Purchase Agreement among Dairy Group
           Receivables, L.P., a Delaware limited partnership (“Dairy Group”), Dairy Group Receivables
           II, L.P., a Delaware limited partnership (“Dairy Group II” and, together with Dairy Group,
           the “Sellers”), each of the parties listed on Schedule I as a Servicer (the Servicers, together
           with the Sellers, the “Seller Parties”), Nieuw Amsterdam Receivables Corporation B.V.
           (“Nieuw Amsterdam”), as a Company, Coöperatieve Rabobank U.A. (“Rabobank”), as a
           Financial Institution, other Companies and Financial Institutions (the “Purchasers”), LC
           Bank, as issuer of Letters of Credit (the “LC Bank”), and Coöperatieve Rabobank U.A., New
           York Branch, as Agent (the “Agent”), to which are attached:
           Exhibit I       Definitions
           Exhibit II      Form of Purchase Notice
           Exhibit III     Places of Business of the Seller Parties; Locations of Records
           Exhibit IV      Names of Collection Banks; Collection Accounts
           Exhibit V       Form of Compliance Certificate
           Exhibit VI      Form of Collection Account Agreement
           Exhibit VII     Form of Assignment Agreement
           Exhibit VIII    Credit and Collection Policies
           Exhibit IX      Form of Letter of Credit Application
           Exhibit X       Form of Monthly Report
           Exhibit X-A     Form of Interim Report
           Exhibit XI      Form of Performance Undertaking
           Exhibit XII     Forms of U.S. Tax Compliance Certificates
           Exhibit XIII    Form of Interim Order


           Schedule A      Commitments
           Schedule B      Closing Documents
           Schedule C      Servicers
           Schedule D      Originators
           Schedule E      Notice Addresses
           Schedule F      Top Twenty-Five Obligors


                                              Sch. B-1
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2.    Eighth Amended and Restated Master Fee Letter between each Seller, each Purchaser, the
      Agent and the LC Bank


3.    Third Amended and Restated Receivables Sale Agreement between the Originators party
      thereto and Dairy Group


4.    Second Amended and Restated Receivables Sale Agreement between the Originators party
      thereto and Dairy Group II


5.    Amended and Restated Performance Undertakings by Dean Foods Company (“Provider”)


6.    Amended and Restated Intercreditor Agreement


7.    Secretary’s Certificate of Dairy Group and Dairy Group II (and Resolutions thereto)


8.    Letter of Credit Backstop Agreement among the Provider, Sellers, the Servicers party thereto,
      and PNC, and acknowledged by Agent, Nieuw Amsterdam, and Rabobank




                                        Sch. B-2
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                      SCHEDULE I TO SCHEDULE B
                             SERVICERS
                            [To be attached]




                              Sch. B-3
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                            SCHEDULE C

                             SERVICERS

                            [To be attached]




                              Sch. C-1
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                            SCHEDULE D

                            ORIGINATORS



                            [To be attached]




                              Sch. D-1
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                             SCHEDULE E

                         NOTICE ADDRESSES

                            [To be attached]




                              Sch. E-1
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                             SCHEDULE F

                     TOP TWENTY-FIVE OBLIGORS

                            [To be attached]




                              Sch. F-1
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                            SCHEDULE G

                     EXISTING LETTERS OF CREDIT

                             [See Attached]




                              Sch. G-1
